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                                                  Filed and Attested by the
                                                 Office of Judicial Records
                                                     10 MAY 2024 11:20 am
                                                           C. SMITH




               EXHIBIT
                  A




                                                               Case ID: 240501357
                                                                        RISK
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                                          Allied World
                                          Lawyers Professional Liability
                                          Dear Policyholder,
                                          Thank you for choosing Allied World as your Lawyers Professional Liability
                                          insurance carrier. In addition to the coverage provided in the attached policy,
                                          AWAC Services Company, a member company of Allied World, partners with
                                          the law firm of Hinshaw & Culbertson LLP to provide the following value added
                                          risk management services at no additional charge.


Allied World Lawyers Professional         RISK MANAGEMENT CONSULTATIONS                                       RISK M ANAGEMENT WEBSITE
Liability policyholders can access         Up to two hours free per year, per firm                           This interactive website contains the
the interactive risk management              of live risk management hotline support                          following information, documents,
website at:                                  with an experienced senior attorney from                         and forms:
                                             the law firm of Hinshaw & Culbertson LLP                          Articles on topics related to legal
awac.lawyeringlaw.com
                                           Helpline partners have years of experience                           malpractice
Enter your policy number                     specializing in professional liability and                        Sample engagement agreements, non-
and create your password.                    legal ethics                                                        engagement & disengagement letters,
                                           All helpline consultations form an                                   litigation hold letters and more
                                             attorney-client privileged relationship                           Checklists to assist in client screening,
                                          For a risk management consultation, call                               opening new files, conflicts checks,
                                          866-639-2309 and identify yourself as a                                and suing clients for fees
                                          lawyer insured by Allied World. You can                              Summaries of recent and archived
                                          also request a consultation by going to                                decisions concerning lawyers’
                                          the Risk Management Consultation link                                  professional liability
                                          on awac.lawyeringlaw.com.
                                                                                                               Considerations for adopting law firm
                                                                                                                 policies on issues such as records
                                          CONTINUING LEGAL EDUCATION (CLE)                                       retention, disaster planning, etc.
CONTACTS                                   Up to five hours free CLE for                                      Rules of professional conduct & ethics
                                             each insured attorney                                               opinions
If you have any questions on these risk
                                           You may access the free CLE courses                                Self-audit forms to help evaluate practice
management services, please contact:
                                             by going to awac.lawyeringlaw.com                                   management systems
riskmanagement@awacservices.com
                                                                                                               The Hinshaw & Culbertson LLP “Lawyers’
                                          EDUCATIONAL PORTAL                                                     Lawyer” Newsletter is published
Thank you for choosing Allied World.                                                                             approximately six times per year
                                          Designed to be a forum for risk management
                                          education, our online portal contains monthly                        “Client Alerts” notify lawyers of recent
                                          advisories on topical issues. To create your                           decisions involving issues pertaining to
                                          unique access to the portal, go to https://                            practice management, legal ethics and
                                          alliedworldrisk.management/policy_holders/                             professional liability
                                          sign _in and enter your Allied World policy
                                          number, inception and expiration date.




                                          This information is provided as a general overview for agents and brokers. Coverage will be underwritten by an insurance subsidiary
                                          of Allied World Assurance Company Holdings, GmbH, a Fairfax company (“Allied World”). Such subsidiaries currently carry an A.M.
                                          Best rating of “A” (Excellent), a Moody’s rating of “A3” (Good) and a Standard & Poor’s rating of “A-” (Strong), as applicable. Coverage
                                          is offered only through licensed agents and brokers. Actual coverage may vary and is subject to policy language as issued. Coverage
www.alliedworldinsurance.com              member company of Allied World. © 2019 Allied World Assurance Company Holdings, GmbH.
                                                                                                                                               Case ID: 240501357
                                          may not be available in all jurisdictions. Risk management services are provided or arranged through AWAC Services Company, a

                                          All rights reserved.                                                                                                                0319
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                      ALLIED WORLD INSURANCE COMPANY
  1690 New Britain Ave., Suite 101, Farmington, CT 06032 Tel. (860) 284-1300 Fax (860)
                                        284-1301
                                  A Non-Participating Insurer
                 ALLIED WORLD LPL ASSURE
      LAWYERS PROFESSIONAL LIABILITY INSURANCE POLICY
POLICY NUMBER: :0310-8385                             RENEWAL OF:0310-8385


THIS IS A CLAIMS MADE POLICY WHICH APPLIES ONLY TO CLAIMS FIRST MADE
DURING THE POLICY PERIOD OR ANY EXTENDED REPORTING PERIOD, AND
REPORTED IN ACCORDANCE WITH SECTION V.E. OF THE POLICY. THE LIMIT OF
LIABILITY AVAILABLE TO PAY DAMAGES WILL BE REDUCED AND MAY BE
EXHAUSTED BY CLAIMS EXPENSES AND CLAIMS EXPENSES WILL BE APPLIED
AGAINST THE RETENTION AMOUNT. IN NO EVENT WILL THE INSURER BE LIABLE
FOR CLAIMS EXPENSES OR DAMAGES IN EXCESS OF THE APPLICABLE LIMIT OF
LIABILITY. PLEASE READ THE ENTIRE POLICY CAREFULLY.


                                       DECLARATIONS
Item 1. Name and Mailing Address of Named Insured:
        Feldman, Shepherd, Wohlgelernter, Tanner, Weinstock & Dodig, LLP
        1845 Walnut Street, 21st Floor
        Philadelphia, PA 19103

Item 2. Policy Period:

        (a) Inception Date:    July 24, 2023
        (b) Expiration Date:   July 24, 2024
                               At 12:01 a.m. Standard Time at the Mailing Address Shown Above

Item 3. Limits of Liability:

         I.    Limits of Liability for Insuring Agreements

               $5,000,000 Limit of Liability for each and every Claim under Insuring Agreement I.


         II.   Limits of Liability for Additional Coverages

               (a)     $25,000 Shared Aggregate Limit of Liability for all amounts payable under
                              Additional Coverage A., Supplemental Privacy Coverage.

               (b)     $500,000 Limit of Liability for each and every Claim under Additional
                       Coverage B., Non-Profit Directors & Officers Coverage.




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                        $500,000 Limit of Liability for all Claims under Additional Coverage B.,
                               Non-Profit Directors & Officers Coverage.

                 (c)    $30,000 Limit of Liability for all personal earnings, under Additional
                        Coverage C.; provided that this Limit of Liability is further limited as
                        follows:

                        (i)     $500 for personal earnings lost each day

                        (ii)    $15,000 for personal earnings per Claim

                 (d)    $20,000 Limit of Liability for all fees, costs and expenses incurred from
                        each and every Disciplinary Proceeding under Additional Coverage D.

                        $60,000 Limit of Liability for all fees, costs and expenses incurred from all
                        Disciplinary Proceedings under Additional Coverage D.

                 (e)    $10,000 Limit of Liability for all fees and costs incurred from the Insured
                        receiving a Subpoena arising out of Legal Services under Additional
                        Coverage E.

          III.   Policy Aggregate Limit of Liability

           $5,000,000 Aggregate Limit of Liability for all amounts payable under Insuring
           Agreement I. and Additional Coverages A. and B. The Aggregate Limit of Liability does
           not apply to the Additional Coverages C., D. and E.

Item 4. Retentions:
          (a)    $50,000 each and every Claim under Insuring Agreement I.
          (b)    $5,000 each and every Material Event; each and every Privacy Wrongful Act; and
                 each and every Data Breach under Additional Coverage A.
          (c)    $5,000 each and every Claim under Additional Coverage B.


          No Retention shall apply to Additional Coverages C., D. and E.


Item 5. Address of Insurer For Notices Under This Policy:

          Claim-Related Notices:
          noticeofloss@awac.com

          All Other Notices:
          1690 New Britain Avenue, Suite 101
          Farmington, CT 06032



Item 6.    Premium:




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Item 7. Retroactive Date:           None - Prior Acts Coverage Provided


Item 8. Prior Knowledge Date: July 24, 2017


Item 9. Endorsements Attached at Issuance:
1. LPL 00032 37 (02/2021) Pennsylvania Amendatory
2. LPL 00060 00 (11/2013) Amend Selection of Defense Counsel
3. LPL 00062 00 (11/2013) Specific Entities Excluded from Coverage
4. LPL 00132 00 (12/2020) Amendatory Endorsement


In Witness Whereof, the Insurer has caused this Policy to be executed and attested. This Policy
shall not be valid unless countersigned by a duly authorized representative of the Insurer.




                     President                                          Asst. Secretary




                                                               AUTHORIZED REPRESENTATIVE




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                                       ENDORSEMENT NO. 1

                              PENNSYLVANIA STATE AMENDATORY

This Endorsement, effective at 12:01 a.m. on July 24, 2023, forms part of

      Policy No.        0310-8385
      Issued to         Feldman, Shepherd, Wohlgelernter, Tanner, Weinstock & Dodig, LLP
      Issued by         Allied World Insurance Company

To be attached to and form a part of all Lawyers Professional Liability Policies written in the State of
Pennsylvania.

In consideration of the premium charged, it is understood and agreed that:

1.      Section V. CONDITIONS, Subsection F. EXTENDED REPORTING PERIOD OPTIONS,
        clause 5. CONDITIONS APPLICABLE TO ALL EXPRNDED REPORTING PERIOD
        OPTIONS, is amended by deleting paragraph (a) therefrom.

2.      Section V. CONDITIONS, Subsection J. CANCELLATION; NO OBLIGATION TO RENEW,
        is amended to read as follows:

        J.      CANCELLATION; NO OBLIGATION TO RENEW

                1.      This Policy shall terminate upon the Expiration Date set forth in Item 2. of the
                        Declarations, or upon any earlier cancellation.

                2.      This Policy may be canceled by the Named Insured by mailing advance written
                        notice to the Insurer stating when such cancellation shall take effect. If canceled
                        by the Named Insured, the Insurer shall retain the earned premium, which shall
                        be computed in accordance with the customary short rate table and procedure.
                        Any unearned premium shall be returned to the Named Insured no later than
                        thirty (30) days after the effective date of cancellation by the Named Insured.

                3.      This Policy may be canceled by the Insurer by delivering or mailing written
                        notice to the Named Insured, at its last known address, at least sixty (60) days
                        prior to the effective date of such cancellation, for the following reasons:

                        (a)     a condition, factor or loss experience material to insurability has changed
                                substantially or a substantial condition, factor or loss experience material
                                to insurability has become known during the Policy Period;
                        (b)     loss of reinsurance or a substantial decrease in reinsurance, which loss or
                                decrease shall, at the time of cancellation, be certified to the Insurance
                                Commissioner of Pennsylvania as directly affecting in-force policies;
                        (c)     the Policy was obtained through fraudulent statements, omissions or
                                concealment of fact material to the acceptance of the risk or to the hazard
                                assumed by the Insurer;
                        (d)     material failure to comply with the policy terms, conditions or
                                contractual duties;
                        (e)     any other reason that the Insurance Commissioner of Pennsylvania may



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                                 approve.

                        Such notice shall include the reason(s) for cancellation and shall also state that, at
                        the Named Insured’s written request, the Insurer shall provide loss information
                        to the Named Insured. The Named Insured’s written request must be made
                        within ten (10) days from the Named Insured’s receipt of notice.

                4.      This Policy may be canceled by the Insurer by delivering or mailing written
                        notice to the Named Insured, at its last known address, at least fifteen (15) days
                        prior to the effective date of such cancellation, for the following reasons:

                        (a)      the Insured has made a material misrepresentation which affects the
                                 insurability of the risk; or
                        (b)      the Insured failed to pay a premium when due.

                        Such notice shall include the reason(s) for cancellation and shall also state that, at
                        the Named Insured’s written request, the Insurer shall provide loss information
                        to the Named Insured. The Named Insured’s written request must be made
                        within ten (10) days from the Named Insured’s receipt of notice.

                5.      If the Policy is canceled by the Insurer, the Insurer shall retain the earned
                        premium, which shall be computed on a pro rata basis. Any unearned premium
                        shall be returned to the Named Insured no later than ten (10) days after the
                        effective date of cancellation by the Insurer. Failure to pay any premium
                        adjustment at, on, or around the time of the effective date of cancellation shall
                        not alter the effectiveness of cancellation.

                6.      The Insurer will not be required to renew this Policy upon its expiration. If the
                        Insurer elects not to renew this Policy, the Insurer will deliver or mail by first-
                        class or certified mail written notice, to the Named Insured, at its last known
                        address, to that effect, at least sixty (60) days before the Expiration Date set forth
                        in Item 2. of the Declarations. Such notice shall state the specific reason(s) for
                        non-renewal.

                7.      If the Insurer increases the premium upon renewal, the Insurer will deliver or
                        mail to the Named Insured, at its last known address, written notice to that
                        effect at least thirty (30) days before the Expiration Date set forth in Item 2. of
                        the Declarations.


All other terms, conditions and limitations of this Policy shall remain unchanged.




                                                                          Authorized Representative




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                                        ENDORSEMENT NO. 2

                          AMEND SELECTION OF DEFENSE COUNSEL

This Endorsement, effective at 12:01 a.m. on July 24, 2023, forms part of

      Policy No.        0310-8385
      Issued to         Feldman, Shepherd, Wohlgelernter, Tanner, Weinstock & Dodig, LLP
      Issued by         Allied World Insurance Company

In consideration of the premium charged, it is hereby agreed that Section V. CONDITIONS, Subsection
C.1. is amended to read as follows:

1.      The Insurer shall have the right and duty to defend any Claim seeking Damages covered
        under this Policy. The Insurer shall select defense counsel for the investigation, defense or
        settlement of any Claim and the Insurer shall pay all reasonable Claim Expenses arising
        from the Claim. However, the Insurer shall not select defense counsel without the consent of
        the Named Insured, such consent not to be unreasonably withheld.


All other terms, conditions and limitations of this Policy shall remain unchanged.




                                                                        Authorized Representative




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                                        ENDORSEMENT NO. 3

                      SPECIFIC ENTITIES EXCLUDED FROM COVERAGE

This Endorsement, effective at 12:01 a.m. on July 24, 2023, forms part of

      Policy No.        0310-8385
      Issued to         Feldman, Shepherd, Wohlgelernter, Tanner, Weinstock & Dodig, LLP
      Issued by         Allied World Insurance Company

In consideration of the premium charged, it is hereby agreed:

No entity listed below is an Insured under this Policy. Accordingly, this Policy does not cover any
Claim or Disciplinary Proceeding brought by or against, or arising out of the acts, errors, omissions or
Wrongful Acts of the following entities, or any related or affiliated entities:

Full Armor Sports, Inc; Powerhouse Entertainment Group, Robertson, LLC


All other terms, conditions and limitations of this Policy shall remain unchanged.




                                                                        Authorized Representative




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                                         ENDORSEMENT NO. 4

                                   AMENDATORY ENDORSEMENT

This Endorsement, effective at 12:01 a.m. on July 24, 2023, forms part of

        Policy No.       0310-8385
        Issued to        Feldman, Shepherd, Wohlgelernter, Tanner, Weinstock & Dodig, LLP
        Issued by        Allied World Insurance Company

In consideration of the premium charged, it is hereby agreed that:

1.      Item 3.II.(c) of the Declarations is deleted in its entirety and replaced as follows:

        (c)     $50,000         Limit of Liability for all personal earnings, under Additional Coverage
                C.; provided that this Limit of Liability is further limited as follows:

                (i)      $500 for personal earnings lost each day

                (ii)     $30,000 for personal earnings per Claim

2.      Item 3.II.(d) of the Declarations is deleted in its entirety and replaced as follows:

        (d)     $20,000         Limit of Liability for all fees, costs and expenses incurred from each
                and every Disciplinary Proceeding under Additional Coverage D.

                $100,000        Limit of Liability for all fees, costs and expenses incurred from all
                Disciplinary Proceedings under Additional Coverage D.

3.      Section 3.II.(e) of the Declarations is deleted in its entirety and replaced as follows:

        (e)     $25,000         Limit of Liability for all fees and costs incurred from the Insured
                receiving a Subpoena arising out of Legal Services under Additional Coverage E.

4.      Section III. DEFINITIONS, Subsection G. “Damages” is deleted in its entirety and replaced as
        follows:

        G.      DAMAGES means the monetary portion of any judgment, award or settlement,
                including pre- and post- judgment interest. Damages shall include punitive or
                exemplary damages, or the multiple portion of multiplied damages, where insurable
                by law.

                Damages shall not include:

                1.       criminal or civil fines, taxes, penalties (statutory or otherwise), fees or sanctions;

                2.       amounts deemed uninsurable by law;

                3.       the return or restitution of legal fees, costs and expenses, no matter how claimed;

                4.       amounts paid or incurred by an Insured to comply with a judgment or settlement

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                        for any form of equitable or non-monetary relief; or

                5.      amounts incurred by an individual or entity providing support services to the
                        Insured resulting from an interruption of such individual or entity’s business
                        operations.

                In determining the insurability of punitive or exemplary damages, or the multiple portion
                of multiplied damages, the laws of the state or jurisdiction most favorable to the Insured
                shall apply, provided such state or jurisdiction is:

                (a)     where such punitive or exemplary damages, or the multiple portion of multiplied
                        damages were awarded;

                (b)     where any act, error or omission underlying the Claim took place;

                (c)     where either the Named Insured or the Insurer is incorporated, has its principal
                        place of business, or resides; or

                (d)     where this Policy was issued and became effective.


All other terms, conditions and limitations of this Policy shall remain unchanged.




                                                                        Authorized Representative




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                          ALLIED WORLD INSURANCE COMPANY
      1690 New Britain Ave., Suite 101, Farmington, CT 06032 Tel. (860) 284-1300 Fax (860)
                                            284-1301

                    ALLIED WORLD LPL ASSURE
         LAWYERS PROFESSIONAL LIABILITY INSURANCE POLICY
_____________________________________________________________________________________

I.        INSURING AGREEMENT

          The Insurer will pay on behalf of an Insured, all amounts in excess of the Retention shown in
          the Declarations, that an Insured becomes legally obligated to pay as Damages and Claim
          Expenses because of a Claim first made during the Policy Period or any applicable Extended
          Reporting Period and reported in accordance with the terms of this Policy, for a Wrongful Act.

          It is a condition precedent to coverage under this Policy that any Wrongful Act upon which a
          Claim is based occurred:

          1.     during the Policy Period; or

          2.     on or after the Retroactive Date and prior to the Policy Period, provided that all of the
                 following three conditions are met:

                 (a)     the Insured did not notify any prior insurer of such Wrongful Act or Related
                         Act or Omission;

                 (b)     prior to the date listed in Item 8. of the Declarations, no Insured had any basis:
                         (1) to believe that any Insured had breached a professional duty; or (2) to foresee
                         that any fact, circumstance, situation, transaction, event or Wrongful Act might
                         reasonably be expected to be the basis of a Claim against any Insured; and

                 (c)     there is no policy that provides insurance to the Insured for such liability or
                         Claim.

          The Insurer shall have the right and duty to defend any Claim seeking Damages that are covered
          by this Policy and made against an Insured even if any of the allegations of the Claim are
          groundless, false or fraudulent.

II.       ADDITIONAL COVERAGES

          A.     Supplemental Privacy Coverage

                 1.      Crisis Management Coverage

                         The Insurer shall reimburse the Named Insured, in excess of the applicable
                         Retention, for Crisis Management Expenses incurred by the Named Insured in
                         connection with Material Events which first take place or are reasonably
                         anticipated to first take place during the Policy Period.



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             2.      Notification and Credit Monitoring Costs Coverage

                     The Insurer shall reimburse the Named Insured, in excess of the applicable
                     Retention, for Notification Costs incurred by the Named Insured arising from a
                     Network Security and Privacy Wrongful Act, which takes place during the
                     Policy Period. Notification Costs are not eligible for coverage under this
                     Additional Coverage A.2. in the event such costs are covered as Damages under
                     Insuring Agreement I.

             3.      Data Forensics Coverage

                     The Insurer shall reimburse the Named Insured in excess of the applicable
                     Retention, for Data Forensic Expenses incurred by the Named Insured in
                     connection with a Data Breach which first occurs during the Policy Period and
                     which the Insured reasonably believes might result in a Claim for a Network
                     Security and Privacy Wrongful Act.

                     Such costs are not eligible for coverage under this Additional Coverage A.3. in
                     the event such costs are covered as Damages under Insuring Agreement I.

             As a condition precedent to coverage under Additional Coverages A.1., A.2., and A.3.:

             (a)     The actual or anticipated Material Event, the Network Security and Privacy
                     Wrongful Act, and/or Data Breach must be reported to the Insurer as soon as
                     practicable, but in no event later than thirty (30) days after the expiration of the
                     Policy Period; and

             (b)     The Crisis Management Expenses, Notification Costs, and/or Data Forensic
                     Expenses must be reported to the Insurer as soon as practicable, but in no event
                     later than thirty (30) days after the Named Insured first incurs such Crisis
                     Management Expenses, Notification Costs, and/or Data Forensic Expenses.

      B.     Non-Profit Director and Officer Coverage

             The Insurer will reimburse an individual Insured lawyer, subject to the applicable
             Retention, all amounts that such Insured becomes legally obligated to pay as Damages
             and Claim Expenses because of a Claim first made during the Policy Period or any
             applicable Extended Reporting Period for a Non-Profit Director or Officer Wrongful
             Act.

             The coverage provided under this Additional Coverage B. is specifically excess of, and
             shall not contribute with, any other insurance plan or program of insurance or self-
             insurance carried by the Non-Profit Organization, or any contribution and
             indemnification to which the individual Insured lawyer is entitled to from such Non-
             Profit Organization.

             The most the Insurer shall pay for all Claims for which coverage is provided under this
             Additional Coverage B. shall be an amount equal to the lesser of:

             (a)     The per Claim Limit of Liability under the Non-Profit Organization’s Directors
                     and Officers Liability Insurance; or


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             (b)     The Limit of Liability set forth in Item 3.I. of the Declarations;

             up to a maximum amount of $500,000 per Claim and in the aggregate for all such
             Claims. Any payment made under this Additional Coverage B. shall be part of, and not
             in addition to, the applicable Limit of Liability set forth in Item 3.I. of the Declarations.

             As a condition precedent to coverage under this Additional Coverage B.:

             (a)     any Non-Profit Director or Officer Wrongful Act upon which a Claim is
                     based occurred:

                     1. during to the Policy Period; or

                     2. on or after the Retroactive Date and prior to the Policy Period, provided
                        that the following conditions are met:

                         a.       the Insured did not notify any prior insurer of such Non-Profit
                                  Director or Officer Wrongful Act or Related Act or Omission;
                                  and

                         b.       prior to the date listed in Item 8. of the Declarations, no Insured had
                                  any basis to foresee that any fact, circumstance, situation,
                                  transaction, event or Non-Profit Director or Officer Wrongful Act
                                  might reasonably be expected to be the basis of a Claim against any
                                  Insured;

             (b)     The individual Insured lawyer serving as a director, officer or committee
                     member of the Non-Profit Organization must do so with the express consent, or
                     at the request of, the Named Insured;

             (c)     The Non-Profit Organization will have, in full force and effect during the
                     Policy Period or any Extended Reporting Period, Directors and Officers
                     Liability Insurance with Limits of Liability of at least $500,000 per claim and in
                     the aggregate for all claims; and

             (d)     No more than ten percent (10%) of the Named Insured's annual gross revenues
                     are derived directly or indirectly from Legal Services performed by any Insured
                     for the Non-Profit Organization.

      C.     Lost Earnings Coverage

             The Insurer shall reimburse each Insured, for reasonable expenses incurred and
             personal earnings actually lost each day or part of a day such Insured, at the Insurer’s
             express request, attends a hearing, deposition, mediation, settlement conference,
             arbitration or trial arising from a Claim first made during the Policy Period and reported
             to the Insurer in accordance with Section V.E. of the Policy. Any payment made by the
             Insurer under this provision shall be in addition to the Aggregate Limit of Liability set
             forth in Item 3.III. of the Declarations and shall not be subject to any Retention.

             This coverage shall not apply in the event of a Disciplinary Proceeding.



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       D.    Disciplinary Proceedings Coverage

             The Insurer will pay on behalf of an Insured reasonable fees, costs and expenses
             incurred to defend or respond to a Disciplinary Proceeding initiated against the Insured
             and reported to the Insurer during the Policy Period. Any payment made by the
             Insurer under this provision shall be in addition to the Aggregate Limit of Liability set
             forth in Item 3.III. of the Declarations and shall not be subject to any Retention.

             There is no coverage for criminal or civil fines, penalties (statutory or otherwise), fees or
             sanctions assessed against an Insured, or for expenses, salaries, wages, benefits, or
             overhead of an Insured arising from a Disciplinary Proceeding.

       E.    Subpoena Coverage

             The Insurer will pay on behalf of an Insured Subpoena Expenses incurred in
             responding to a Subpoena.

             As a condition precedent to coverage under this Additional Coverage E.:

             (a)     The Subpoena must arise out of an Insured’s performance of or failure to
                     perform Legal Services on behalf of the Named Insured;

             (b)     The Subpoena must be reported to the Insurer as soon as practicable, but in no
                     event later than the expiration of the Policy Period;

             (c)     The Subpoena must arise out of a lawsuit to which the Insured is not a party;
                     and

             (d)     The Insured has not been engaged to provide advice or testimony in
                     connection with the lawsuit, nor has the Insured provided such advice or
                     testimony in the past.

             The Insurer shall retain an attorney for the Insured to provide advice regarding the
             production of documents, to prepare the Insured for sworn testimony, and to represent
             the Insured at the Insured’s deposition.

             Any payment made by the Insurer under this provision shall be in addition to the
             Aggregate Limit of Liability set forth in Item 3.III. of the Declarations and shall not be
             subject to any Retention.

             Any notice the Insured gives the Insurer of such Subpoena shall be deemed notification
             of a potential Claim under Section V.E.3. of this Policy.

III.   DEFINITIONS

       A.    APPLICATION means: (a) the application, including any competitor’s application,
             submitted to the Insurer, or any affiliate thereof, for this Policy or any other policy; (b)
             any attachments and other materials provided with any such application or incorporated
             into any such application; and (c) any other materials and information submitted by the
             Insured to the Insurer in connection with the underwriting of this Policy.



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      B.     BODILY INJURY means injury to the body, sickness or disease sustained by any
             person, including death resulting from such injuries; including any mental injury, mental
             anguish, mental tension, emotional distress, pain or suffering or shock sustained by any
             person, whether or not resulting from injury to the body, sickness, disease or death of any
             person.

      C.     CLAIM means:

             1.      any written notice or demand for monetary relief or Legal Services;

             2.      any civil proceeding in a court of law;

             3.      any written demand for mediation, arbitration or any other alternative dispute
                     resolution proceeding;

             4.      any administrative proceeding, other than a Disciplinary Proceeding; or

             5.      a request to toll or waive a statute of limitations;

             made to or against any Insured seeking to hold such Insured responsible for any
             Wrongful Act.

             A Claim does not include criminal proceedings of any type, or any proceeding that seeks
             injunctive, declaratory, equitable or non-pecuniary relief or remedies of any type.

             A Claim will be deemed to have been first made when an Insured receives written
             notice of the Claim.

      D.     CLAIM EXPENSES means:

              1.     reasonable fees, costs and expenses charged by attorneys retained or approved by
                     the Insurer for a Claim brought against an Insured;

              2.     reasonable and necessary fees, costs and expenses resulting from the
                     investigation, adjustment, defense and appeal of a Claim including, but not
                     limited to, premiums for any appeal bond, attachment bond or similar bond but
                     without any obligation of the Insurer to apply for or furnish such bond.

             Claim Expenses shall not include:

             (a)     salaries, loss of earnings, reimbursement for the Insured’s time or attendance
                     required in any investigation or defense;

             (b)     other remuneration by or to any Insured.

             The determination by the Insurer as to the reasonableness of Claim Expenses shall be
             conclusive on all Insureds.




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      E.     CONFIDENTIAL INFORMATION means any confidential information of a client or
             third party which is obtained by the Insured for the purpose of providing Legal
             Services, including but not limited to:

             1.      any information subject to the attorney-client privilege;

             2.      a natural person’s name, e-mail address, social security number, medical or
                     healthcare data, other protected health information, driver’s license number, state
                     identification number, credit card number, debit card number, address,
                     unpublished telephone number, account number, account histories, personally
                     identifiable photos, personally identifiable videos, Internet browsing history,
                     biometric or geolocation information, or passwords; or

             3.      any other non-public personal information as defined in any local, state, federal,
                     and foreign identity theft and privacy protection laws, legislation, statutes, or
                     regulations that require commercial entities that collect Confidential
                     Information to post privacy policies, adopt specific privacy or security controls,
                     or notify individuals in the event that Confidential Information has potentially
                     been compromised.

      F.     CRISIS MANAGEMENT EXPENSES means the following reasonable and necessary
             amounts when incurred during, or within ninety (90) days prior to a Material Event for
             which the Named Insured becomes legally liable for those services performed by a
             public relations firm, crisis management firm or law firm selected by the Named Insured
             and approved in advance in writing by the Insurer, to minimize potential harm to the
             Named Insured arising from a Material Event, including, without limitation,
             maintaining and restoring public confidence in the Named Insured, and providing advice
             to the Named Insured or any of its directors, officers, partners or employees.

             Crisis Management Expenses shall not include compensation, fees, benefits, overhead,
             or the charges or expenses of any Insured.

      G.     DAMAGES means the monetary portion of any judgment, award or settlement,
             including pre- and post- judgment interest and punitive or exemplary damages when
             insurable under the law pursuant to which this Policy shall be construed.

             For the purpose of determining the insurability of punitive or exemplary damages under
             this Policy, the laws of the jurisdiction most favorable to the insurability of such damages
             shall control if that jurisdiction:

             i.      is the location of the court that awarded or imposed such damages;

             ii.     is where the Insured is incorporated or otherwise organized or has a place of
                     business; or

             iii.    is where the Insurer is incorporated or otherwise organized or has its principal
                     place of business.

             Damages shall not include:

             1.      criminal or civil fines, taxes, penalties (statutory or otherwise), fees or sanctions;


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             2.      the multiplied portion of multiple damages;

             3.      amounts deemed uninsurable by law;

             4.      the return or restitution of legal fees, costs and expenses, no matter how claimed;

             5.      amounts paid or incurred by an Insured to comply with a judgment or settlement
                     for any form of equitable or non-monetary relief; or

             6.      amounts incurred by an individual or entity providing support services to the
                     Insured resulting from an interruption of such individual or entity’s business
                     operations.

      H.     DATA BREACH means the unauthorized misappropriation or disclosure of
             Confidential Information that is in the physical possession of the Insured or which is
             stored on, transmitted or received by, the Named Insured’s Network.

      I.     DATA FORENSIC EXPENSES means the reasonable and necessary costs incurred by
             the Named Insured to retain a qualified forensics firm to investigate, examine and
             analyze the Named Insured’s Network, to find the cause, source and extent of a Data
             Breach. The forensics firm selected by the Named Insured to perform data forensic
             services in connection with such Data Breach must be approved in writing by the
             Insurer, prior to the Named Insured incurring any Data Forensic Expenses.

      J.     DIGITAL ASSETS means software and electronic data that is stored on or within the
             Named Insured’s Network. Digital Assets shall include the capacity of the Named
             Insured’s Network to store and process data and information and electronically
             disseminate data and information over the Internet.

             Digital Assets shall not include Money, funds, debt, securities, bonds, equity
             instruments, credit, bills, accounts, valuable papers, trade secrets and intellectual
             property.

      K.     DISCIPLINARY PROCEEDING means any proceeding initiated by a regulatory,
             disciplinary or licensing official, board or agency to investigate charges made against an
             Insured alleging professional misconduct in the performance of or failure to perform
             Legal Services.

      L.     IDENTITY THEFT means the misappropriation of the Confidential Information that
             is in the Insured’s care, custody and control, which has resulted in the wrongful or
             fraudulent use of such Confidential Information, including but not limited to,
             fraudulently emulating the identity of an individual or corporation.

      M.     IMMEDIATE FAMILY means:

             1.      the Insured;

             2.      the Insured’s lawful spouse or domestic partner (whether such status is derived
                     by reason of statutory law, common law or otherwise of any applicable
                     jurisdiction in the world or any formal program established by the Named
                     Insured);


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             3.      the Insured’s parents, adoptive parents, or step-parents;

             4.      the Insured’s siblings or step-siblings;

             5.      the Insured’s children, adoptive children, or step-children.

      N.     INSURED means:

             1.      the Named Insured;

             2.      any Predecessor Firm;

             3.      any lawyer or professional corporation listed in the Application, on the day the
                     Policy Period incepts until such time as the lawyer or professional corporation
                     ceases to be a member of the Named Insured subject to paragraph 5. below, but
                     only in the performance of or failure to perform Legal Services on behalf of the
                     Named Insured;

             4.      any lawyer or professional corporation who becomes a partner, officer, director,
                     stockholder or shareholder or employee of the Named Insured during the Policy
                     Period until such time as the lawyer or professional corporation ceases to be a
                     member of the Named Insured subject to paragraph 5. below, but only in the
                     performance of or failure to perform Legal Services on behalf of the Named
                     Insured;

             5.      any lawyer or professional corporation who is a former partner, officer, director,
                     stockholder or shareholder or employee of the Named Insured or Predecessor
                     Firm but only in the performance of or failure to perform Legal Services on
                     behalf of the Named Insured or Predecessor Firm;

             6.      any person or entity who is designated by the Named Insured as counsel or of
                     counsel in the Application, but only in the performance of or failure to perform
                     Legal Services on behalf of the Named Insured;

             7.      any other person who is employed or retained by the Named Insured as a legal
                     secretary, paralegal, contract attorney or other legal office staff member, but only
                     in the performance of or failure to perform Legal Services on behalf of the
                     Named Insured and also only within the scope of such employment or retention
                     agreement; and

             8.      the estate, heirs, executors, administrators, assigns and legal representatives of
                     any Insured in the event of such Insured’s death, incapacity, insolvency or
                     bankruptcy, but only to the extent that such Insured would otherwise be
                     provided coverage under this Policy.

      O.     INSURER means the company identified in the Declarations.

      P.     LEGAL SERVICES means those services performed on behalf of the Named Insured
             for others by an Insured, whether or not performed for a fee or other consideration, as a
             licensed lawyer in good standing, arbitrator, mediator, title agent, notary public, lobbyist,
             administrator, conservator, receiver, executor, guardian, trustee, fiduciary or escrow


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             agent, but only where such services were performed in the ordinary course of an
             Insured’s activities as a lawyer. Legal Services also includes services rendered by an
             Insured as a: (a) member of a formal accreditation, ethics, peer review or licensing
             board, standards review board, bar association, or any similar board or committee; (b)
             expert witness in a legal malpractice proceeding; or (c) author, publisher or presenter of
             legal research or legal articles and papers, but only if the compensation received by the
             Insured annually from such services is less than $5,000. Legal Services does not
             include services rendered as a real estate agent or broker, as an insurance agent or broker
             or as a certified public accountant.

      Q.     LEGAL SERVICES WRONGFUL ACT means:

             1.      any actual or alleged act, error or omission committed by any Insured, solely in the
                     performance of or failure to perform Legal Services; or

             2.      any actual or alleged Personal Injury committed by any Insured, solely in the
                     performance of or failure to perform Legal Services.

      R.     MALICIOUS CODE means unauthorized and either corrupting or harmful software
             code, including but not limited to computer viruses, Trojan horses, worms, logic bombs,
             spyware or spiderware.

      S.     MATERIAL EVENT means the publication, in media of widespread distribution, of
             unfavorable information relating to a Data Breach or the Network Security and
             Privacy Wrongful Acts of an Insured, which can be reasonably considered to lessen
             public confidence in the competence, integrity or viability of the Named Insured to
             conduct business.

      T.     MONEY means currency, coins and bank notes in current use and having a face value,
             bullion, traveler’s checks, registered checks, money orders held for sale to the public,
             digital currency, virtual currency or cryptocurrency.

      U.     NAMED INSURED means the entity named in Item 1. of the Declarations.

      V.     NETWORK means computer hardware, software, firmware, and components thereof,
             including Digital Assets stored thereon, which are connected through two or more
             computers, including such networks accessible through the Internet, intranets, extranets
             or virtual private networks. Network shall not include the computer hardware, software,
             firmware, or components thereof, of any third-party provider of telephone,
             telecommunications, cable, Internet, or satellite services.

      W.     NETWORK SECURITY means the use of hardware, software and firmware, including,
             without limitation, firewalls, filters, routers, intrusion detection software, antivirus
             software, automated password management applications and other authentication
             mechanisms, which are designed to control or restrict the access to a Network, or parts
             thereof.

      X.     NETWORK SECURITY AND PRIVACY WRONGFUL ACT means any actual or
             alleged act, error, misstatement, misleading statement, omission, neglect or breach of
             duty committed by an Insured, solely in connection with the performance of or failure to
             perform Legal Services, which results in a breach of the Insured’s Network Security,
             the consequences of which are:


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             1.      the inability of a client or authorized third party to gain access to the Insured’s
                     website or Network in order to transmit or access documents or information;

             2.      Identity Theft;

             3.      the transmission of Malicious Code;

             4.      the unauthorized release of a client or third party’s confidential and proprietary
                     business information which is obtained by the Insured for the purpose of
                     providing Legal Services; or

             5.      the misappropriation or disclosure of Confidential Information; or a breach or
                     violation of U.S. federal or state law or regulations or any similar or related laws
                     or regulations of any foreign jurisdiction, arising out of the actual or potentially
                     unauthorized access to or disclosure of Confidential Information.

      Y.     NON-PROFIT DIRECTOR OR OFFICER WRONGFUL ACT means any actual or
             alleged act, error or omission committed by an individual Insured lawyer while serving
             in his or her capacity as a director, officer or committee member of a Non-Profit
             Organization.

      Z.     NON-PROFIT ORGANIZATION means a corporation or organization, other than an
             Insured entity, which is exempt from taxation under Section 501(c)(3) of the U.S.
             Internal Revenue Code, as the same may be amended from time to time.

      AA.    NOTIFICATION COSTS means the costs incurred by the Named Insured for
             notification and credit monitoring as a result of a Network Security and Privacy
             Wrongful Act. The Notification Costs for the Network Security and Privacy
             Wrongful Act must be approved in writing by the Insurer prior to the Named Insured
             incurring such costs.

      BB.    PERSONAL INJURY means libel, slander, violation of a right of privacy, false arrest,
             detention, imprisonment, wrongful entry, eviction, malicious prosecution or abuse of
             process, when insurable under the law pursuant to which this Policy shall be construed.

      CC.    POLICY PERIOD means the period from the Inception Date shown in Item 2. of the
             Declarations to the earlier of the Expiration Date shown in Item 2. of the Declarations, or
             the effective date of cancellation of this Policy.

      DD.    PREDECESSOR FIRM means any individual or entity engaged in Legal Services to
             whose financial assets and liabilities the Named Insured is the majority successor-in-
             interest.

      EE.    RELATED ACT OR OMISSION means all acts or omissions based on, arising out of,
             directly or indirectly resulting from, or in any way involving the same or related facts,
             circumstances, situations, transactions or events or the same or related series of facts,
             circumstances, situations, transactions or events.

      FF.    RETROACTIVE DATE means the applicable date specified in Item 7. of the
             Declarations.



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      GG.    SUBPOENA means a written judicial order issued to any Insured to provide testimony
             or to produce or allow the inspection of documents, records, notes, electronic
             information, tape recordings, photographs, taped footage or other related materials.

      HH.    SUBPOENA EXPENSES means the reasonable and necessary fees and expenses
             incurred by an attorney retained by the Insurer on the Insured’s behalf to assist in
             responding to a Subpoena.

      II.    TOTALLY AND PERMANENTLY DISABLED means a medically determinable
             impairment of the mind or body which wholly prevents an Insured from providing Legal
             Services, when such impairment is reasonably certain to continue throughout the lifetime
             of the Insured or to result in death.

      JJ.    WRONGFUL ACT means a Legal Services Wrongful Act or a Network Security and
             Privacy Wrongful Act.

IV.   EXCLUSIONS

      A.     This Policy does not cover any Claim or Disciplinary Proceeding:

             1.      based upon, involving or contributed to by any dishonest, fraudulent, criminal,
                     malicious, or intentional act or omission, or any willful violation of any statute,
                     rule or law, by an Insured.

                     This Exclusion A.1. shall not apply unless such conduct has been established by
                     an admission, final adjudication or finding in the proceeding constituting the
                     Claim or in a proceeding separate from or collateral to the Claim.

                     Whenever coverage under this Policy would be excluded, suspended or lost due
                     to this Exclusion A.1., the Insurer agrees that such insurance as would otherwise
                     be afforded under this Policy shall be applicable with respect to any Insured who
                     did not acquiesce in or remain passive after having knowledge of such conduct.

             2.      brought by or on behalf of, or in the name or right of, any Insured; provided,
                     however, that this Exclusion A.2. shall not apply to any Claim which arises out
                     of Legal Services rendered by one Insured to another where an attorney-client
                     relationship exists between such Insureds.

             3.      for any actual or alleged violation by an Insured of the Employment Retirement
                     Income Security Act of 1974, its amendments, or any regulation or orders
                     promulgated pursuant thereto, or of any similar provisions of federal, state or
                     local law or regulation.

             4.      alleging, arising out of, based upon or attributable to any actual or alleged act,
                     error or omission of any natural person who is not an Insured, if such Claim or
                     Disciplinary Proceeding is based upon office-sharing arrangements, theories of
                     partnership by estoppel, apparent partnership, apparent agency, ostensible
                     agency, vicarious liability, or any similar theory.

      B.     This Policy does not cover any Claim or Disciplinary Proceeding based upon, arising
             out of, directly or indirectly resulting from, in consequence of, or in any way involving,
             in whole or in part:


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             1.      any act whatsoever of an Insured in connection with a trust or estate when an
                     Insured is a beneficiary or distributee of the trust or estate.

             2.      any Insured’s capacity or status as an officer, director, partner, trustee, manager
                     or employee of any entity not listed as a Named Insured on Item 1. of the
                     Declarations; provided, however, that this Exclusion B.2. shall not apply to an
                     otherwise covered Claim for any Non-Profit Director or Officer Wrongful
                     Act.

             3.      any Insured’s capacity or status as a public official, or an employee of a
                     governmental body, subdivision, or agency unless the Insured is privately
                     retained solely to render Legal Services to the governmental body, subdivision
                     or agency and the remuneration for the Legal Services is paid directly or
                     indirectly to the Named Insured.

             4.      any actual or alleged Wrongful Acts of an Insured, whether or not such Legal
                     Services are performed with or without compensation, for any business
                     enterprise, whether for profit or not-for-profit, in which any Insured, or a
                     member of an Insured’s Immediate Family, has a “Material Interest.”

                     For purposes of this Exclusion B.4., a “Material Interest” shall mean the right of
                     an Insured or a member of an Insured’s Immediate Family directly or
                     indirectly to:

                     (a)     own 10% or more of an interest in an entity;
                     (b)     vote 10% or more of the issued and outstanding voting stock in an
                             incorporated entity;
                     (c)     elect 10% or more of the directors of an incorporated entity;
                     (d)     receive 10% or more of the profits of an unincorporated entity; or
                     (e)     act as general partner of a limited partnership, managing general partner
                             of a general partnership, or comparable positions in any other business
                             enterprise.

                     Provided, however, there is no coverage for any Claim for Legal Services for
                     any entity that, at the time of the Wrongful Act, any Insured, or any Immediate
                     Family, individually or collectively with one or more Insureds, manages,
                     controls or has an equity interest which exceeds 10%.

             5.      the alleged rendering of investment advice, including advice given by any
                     Insured to make any investment or to refrain from doing so;

             6.      liability assumed by an Insured under an indemnity, hold harmless or liquidated
                     damages provision or agreement, or similar provisions or agreements;

                     provided, however, that this Exclusion B.6. shall not apply if such liability would
                     have attached to the Insured by law in the absence of such provision or
                     agreement;

             7.      the notarized certification or acknowledgement of signature without the physical
                     appearance before such notary public of the person who is or claims to be the
                     person signing said instrument; provided, however, that such physical appearance


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                     shall not be required when remote signatures utilizing audio and/or video are
                     permissible under applicable state law, provided the Insured follows all
                     requirements established by such applicable law.

                     For purposes of this Exclusion B.7., applicable law shall be the law of the state
                     where the Named Insured is incorporated or otherwise organized.

             8.      Bodily Injury, and injury to, or destruction of, any tangible property,
                     including the loss of use resulting therefrom;

                     provided, however, that the exclusion of Bodily Injury does not apply to that
                     portion of a Claim for mental injury, mental anguish, mental tension, or
                     emotional distress caused by:

                     (a)       Personal Injury;
                     (b)       a Non-Profit Director and Officer Wrongful Act; or
                     (c)       a Network Security and Privacy Wrongful Act.

             9.      the loss or diminution of value of any asset, including funds, Money or
                     securities, in the Insured's care, custody or control, for any reason whether
                     negligent, fraudulent or otherwise, including the use, expenditure, transfer,
                     failure to transfer, misappropriation, conversion, embezzlement, failure to give
                     an accounting, or commingling, of such assets, funds, Money or securities.

             10.     unsolicited electronic dissemination of faxes, e-mails, text messages or similar
                     communications to actual or prospective customers of the Insured or to any
                     other third party, including but not limited to any violation of the Telephone
                     Consumer Protection Act, any federal or state anti-spam statute, or any other
                     federal or state statute, law or regulation relating to a person’s or entity’s right of
                     seclusion.

      C.     This Policy does not cover any Claim from a Network Security and Privacy Wrongful
             Act, Crisis Management Expenses from a Material Event, Notification Costs from a
             Network Security and Privacy Wrongful Act or Data Forensic Expenses from a Data
             Breach based upon, arising out of, directly or indirectly resulting from, in consequence
             of, or in any way involving any of the following:

             1.      failure, interruption or reduction in supply of utility service or infrastructure,
                     including, without limitation, electrical, gas, water, telephone, Internet, cable,
                     satellite, or telecommunications.

             2.      war, invasion, acts of foreign enemies, hostilities or warlike operations (whether
                     war is declared or not), strike, lock-out, riot, civil war, rebellion, revolution,
                     insurrection, civil commotion assuming the proportions of or amounting to an
                     uprising, military or usurped power.

             3.      the transfer or failure to transfer funds, Money or securities; the return,
                     reinvestment, reimbursement or replacement of funds, monies or securities or
                     anything of monetary value that an Insured holds, receives or transfers, or fails
                     to hold, receive or transfer, including any interest that accrued or failed to accrue.




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             4.      any wireless network that is not protected by either Wi-Fi Protected Access
                     (“WPA”) or any other security protocol that provides equal or greater
                     protection than WPA.

             5.      the use of a laptop computer, portable computer or other portable electronic
                     device which does not employ whole disc encryption.

             6.      back-up tapes, optical media, or any other form of portable back-up media which
                     are not encrypted.

             7.      expiration or withdrawal of technical support by a software vendor.

             8.      any actual or alleged violation of any law or statute protecting any patent, or any
                     rule or regulation promulgated thereunder or of any provision of the common law
                     imposing liability in connection therewith; or the misappropriation, misuse or
                     disclosure of confidential and proprietary business information or trade secrets,
                     other than a Network Security and Privacy Wrongful Act as specifically
                     described in Definition X., part 4.

V.    CONDITIONS

      A.     LIMIT OF LIABILITY

             Regardless of the number of Claims, Material Events, Network Security and Privacy
             Wrongful Acts, Data Breaches or other matters giving rise to coverage under this
             Policy, or the number of persons or entities included within the definition of Insured, the
             Insurer’s liability is limited as follows:

             1.      Limit of Liability for Insuring Agreements

                     The Limit of Liability set forth in Item 3.I. of the Declarations, is the Insurer’s
                     maximum liability under Insuring Agreement I. for all Damages and Claim
                     Expenses resulting from each Claim.

              2.     Limits of Liability for Additional Coverages

                     (a)     The Shared Aggregate Limit of Liability, as set forth in Item 3.II.(a) of
                             the Declarations, is the Insurer’s maximum liability for all amounts
                             payable under Additional Coverage A., Supplemental Privacy Coverage.

                     (b)     The Limits of Liability, as set forth in Item 3.II.(b) of the Declarations is
                             the Insurer’s maximum liability for all Damages and Claim
                             Expenses resulting from each and every Claim and all Claims for
                             Non-Profit Director or Officer Wrongful Acts.

                     (c)     The Limits of Liability, as set forth in Items 3.II.(c) – 3.II.(e) of the
                             Declarations, is the Insurer’s maximum liability for Additional
                             Coverages C, D and E.

             3.      Policy Aggregate Limit of Liability

                     The Policy Aggregate Limit of Liability for this Policy, as set forth in Item 3.III.

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                     of the Declarations, is the Insurer’s maximum liability under Insuring
                     Agreement I. and Section II., Additional Coverages A and B.

                     Any amounts paid under Additional Coverages C, D, and E are in addition to the
                     Policy Aggregate Limit of Liability set forth in Item 3.III. of the Declarations.

             4.      Claim Expenses

                     Claim Expenses are part of and not in addition to the Limit of Liability and shall
                     reduce and may exhaust the Limit of Liability. The Limit of Liability shall first
                     be applied to Claim Expenses with the remainder, if any, being the amount
                     available to pay as Damages.

             5.      Exhaustion of Limit of Liability

                     The Insurer shall not be obligated to pay any Damages, Claim Expenses or any
                     other amounts payable under this Policy or to defend or continue to defend any
                     Claim after the Limit of Liability set forth in Item 3.I. or Item 3.III. of the
                     Declarations has been exhausted. The Insurer shall have the right to withdraw
                     from the further investigation or defense of any pending Claim by tendering
                     control of such investigation or defense to the Named Insured and the Named
                     Insured agrees, as a condition to the issuance of this Policy, to accept such
                     tender and proceed solely at its own cost and expense. If the Insurer’s Policy
                     Aggregate Limit of Liability as set forth in Item 3.III. of the Declarations is
                     exhausted by the payment of Damages or Claim Expenses, the entire premium
                     will be deemed fully earned.

      B.     RETENTION

             1.      With respect to the coverage provided under Insuring Agreement I., the
                     Insurer’s obligation to pay Damages, including Claim Expenses, is in excess of
                     the Retention set forth in Item 4.(a) of the Declarations, which Retention shall
                     apply to each and every Claim.

             2.      With respect to the coverage provided under Section II. Additional Coverage A.,
                     the Insurer’s obligation to pay any amounts payable is in excess of the
                     Retention set forth in Item 4.(b) of the Declarations, which Retention shall
                     apply to each and every event giving rise to coverage under Section II.A.

             3.      With respect to the coverage provided under Section II. Additional Coverage B.,
                     the Insurer’s obligation to pay Damages, including Claim Expenses, is in
                     excess of the Retention set forth in Item 4.(c) of the Declarations, which
                     Retention shall apply to each and every Claim.

             4.      A Retention shall only apply to an Additional Coverage where so indicated on
                     the Declarations.

             5.      It is the Named Insured’s responsibility to pay Damages, Claim Expenses or
                     any other amounts payable under this Policy up to the amount of the
                     Retention. The Insurer shall only be liable to pay, subject to the Limit of
                     Liability provisions stated in this Section, for Damages, Claim Expenses or



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                     any other amounts payable under this Policy in excess of such Retention and
                     such Retention shall not be insured under this Policy.

             6.      Solely at the option of the Insurer, the Insurer may advance all or some portion
                     of the Retention amount in the event that the Named Insured fails to do so in a
                     timely manner. In such event, the Named Insured shall pay back the Retention
                     to the Insurer no later than fifteen (15) days after demand by the Insurer.

      C.     DEFENSE AND SETTLEMENT OF CLAIMS

             1.      The Insurer shall have the right and duty to defend any Claim seeking Damages
                     covered under this Policy. The Insurer shall select defense counsel for the
                     investigation, defense or settlement of any Claim and the Insurer shall pay all
                     reasonable Claim Expenses arising from the Claim.

             2.      The Insurer shall have the right to investigate and conduct negotiations and,
                     with the Insured’s consent, which shall not be unreasonably withheld, enter into
                     a settlement of any Claim that the Insurer deems appropriate.

                     If, however, the Insured refuses to consent to any settlement recommended by
                     the Insurer and acceptable to the claimant, then subject to the Limit of Liability
                     set forth in Item 3.I. of the Declarations, the Insurer’s liability for Damages and
                     Claim Expenses relating to that Claim shall not exceed:

                     (a)     the amount for which the Claim could have been settled by the Insurer,
                             plus all Claim Expenses incurred up to the date the Insured refused to
                             settle such Claim; plus

                     (b)     fifty (50) percent of any Damages and/or Claim Expenses in excess of
                             the amount in clause a. above, incurred in connection with such Claim.
                             The remaining Damages and/or Claim Expenses will be carried by the
                             Insured at its own risk and will be uninsured.

             3.      The Insurer, at its sole discretion, shall have the right and option to retain
                     counsel to investigate and defend any potential Claim and to pay for costs or
                     expenses incurred as a result of any such investigation or defense provided the
                     Insured has satisfied the notice requirements of Section V.E.3. Any such
                     payments shall be deemed Claim Expenses and shall be part of, and not in
                     addition to, the Limit of Liability set forth in Item 3. of the Declarations and
                     subject to the Retention set forth in Item 4. of the Declarations.

             4.      If the Named Insured has not paid any premiums due or satisfied any applicable
                     Retentions, the Insurer has the right, but not the obligation, to settle any Claims
                     without the consent of the Insured.

      D.     MULTIPLE POLICIES

             If this Policy and any other policy issued by the Insurer including any Extended
             Reporting Period coverage afforded by such policy or policies, provides coverage for the
             same Claim against the Insured, the maximum limit of liability under all the policies
             shall not exceed the highest remaining per Claim limit of liability under any one policy.



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      E.     NOTICE OF CLAIMS AND CIRCUMSTANCES

             1.      NOTICE ADDRESS

                     Notice of any actual or potential Claim shall be made to the Insurer at
                     noticeofloss@awac.com. All other notices shall be made to the Insurer at the
                     address shown in Item 5. of the Declarations.

             2.      NOTICE OF AN ACTUAL CLAIM

                     (a)     The Insured shall, as a condition precedent to the obligations of the
                             Insurer under this Policy, give written notice to the Insurer, of a Claim
                             made against an Insured during the Policy Period, as soon as
                             practicable, but in no event later than sixty (60) days after the
                             termination of the Policy Period.

                     (b)     The Insured shall, as a condition precedent to the obligations of the
                             Insurer under this Policy, give written notice to the Insurer, of a Claim
                             made against an Insured during any Extended Reporting Period, as soon
                             as practicable, but in no event later than the termination of the Extended
                             Reporting Period.

                     (c)     In the event suit is brought against the Insured, the Insured shall
                             immediately forward to the Insurer every demand, notice, summons or
                             other process received directly by an Insured’s representative.

             3.      NOTICE OF A POTENTIAL CLAIM

                     If, during the Policy Period, the Insured first becomes aware of a Wrongful Act
                     which may reasonably be expected to be the basis of a Claim against an Insured,
                     and the Insured, as soon as practicable, but in no event later than the termination
                     of the Policy Period, gives the Insurer written notice of the Wrongful Act
                     including a description of the Wrongful Act, allegations anticipated, and the
                     reasons for anticipating such a Claim, with full particulars as to dates, persons
                     and entities involved, then the Insurer will treat any subsequently resulting
                     Claim as if it had first been made during the Policy Period.

             4.      FRAUDULENT CLAIM

                     If any Insured shall commit fraud in proffering any Claim with regard to
                     amount or otherwise, this Policy shall become void from the inception as to such
                     Insured.

             5.      RELATED CLAIMS

                     All Claims based upon or arising out of the same Wrongful Act or Related Act
                     or Omission shall be considered a single Claim and shall be considered first
                     made at the time the earliest Claim arising out of such Related Act or Omission
                     was first made. In any such event, only one Limit of Liability and one Retention
                     shall apply.

      F.     EXTENDED REPORTING PERIOD OPTIONS


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             1.      AUTOMATIC EXTENDED REPORTING PERIOD

                     In the event of cancellation or refusal to renew this Policy by the Insurer or the
                     Named Insured, and if this Policy has been in force for at least six (6) months,
                     or if it has been in force for fewer than six (6) months and the Insurer consents,
                     the Named Insured shall have the right to a period of sixty (60) days
                     immediately following the effective date of such cancellation or non-renewal, in
                     which to give notice to the Insurer of Claims first made against the Insured
                     during such sixty (60) day period for any Wrongful Acts committed prior to the
                     effective date of such cancellation or non-renewal and otherwise covered by this
                     Policy.

             2.      OPTIONAL EXTENDED REPORTING PERIOD

                     In the event of cancellation or refusal to renew this Policy by the Insurer or the
                     Named Insured, the Named Insured has the right upon notification to the
                     Insurer of its intent to purchase an Optional Extended Reporting Period
                     Endorsement, and payment to the Insurer of an additional premium as set forth
                     below within sixty (60) days of the cancellation or non-renewal, to extend the
                     period for reporting Claims first made against an Insured after the termination
                     of the Policy Period for any Wrongful Acts committed prior to the termination
                     of the Policy Period and otherwise covered by this Policy. For purposes of
                     determining the availability of an Extended Reporting Period Endorsement, any
                     change in the premium or terms on renewal shall not constitute a refusal to
                     renew.

                     The Named Insured may select from the following Optional Extended
                     Reporting Period options:

                     (a)     a one-year Optional Extended Reporting Period for an additional
                             premium of 100% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (b)     a two-year Optional Extended Reporting Period for an additional
                             premium of 150% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (c)     a three-year Optional Extended Reporting Period for an additional
                             premium of 185% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (d)     a five-year Optional Extended Reporting Period for an additional
                             premium of 210% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (e)     an unlimited Optional Extended Reporting Period for an additional
                             premium of 300% of the Annual Premium set forth in Item 6. of the
                             Declarations.

             3.      NON-PRACTICING EXTENDED REPORTING PERIOD

                     If an individual Insured lawyer, other than a contract attorney, which is listed on
                     the Application for this Policy and insured hereunder as of the Inception Date of
                     this Policy, retires or otherwise ceases the performance of Legal Services in all
                     jurisdictions during the Policy Period, then such Insured has the right, upon


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                     notification to the Insurer, to purchase a Non-Practicing Extended Reporting
                     Period Endorsement. Unless the Insured qualifies for a waiver of premium
                     under Paragraph F.4. below, such Insured must make payment to the Insurer of
                     an additional premium as set forth below prior to the termination of the Policy
                     Period. The Non-Practicing Extended Reporting Period will extend the period
                     for reporting Claims first made against such Insured after the termination of the
                     Policy Period for any actual or alleged Wrongful Act occurring prior to the
                     Insured’s date of retirement or cessation of the performance of Legal Services
                     and otherwise covered by this Policy. If an individual Insured lawyer shall
                     resume the performance of Legal Services at any time, for any reason, in any
                     jurisdiction, the Non-Practicing Extended Reporting Period elected by such
                     Insured shall no longer be effective.

                     Coverage for any Claim first made during a Non-Practicing Extended Reporting
                     Period shall be excess over and shall not contribute with any other insurance in
                     effect on or after the effective date of the Non-Practicing Extended Reporting
                     Period, which covers the Insured for such Claim.

                     The additional premium for a Non-Practicing Extended Reported Period shall be
                     calculated using the per individual Insured lawyer rate in effect upon the
                     Inception Date of this Policy, based on the number of lawyers with the Named
                     Insured at the Inception Date of this Policy, as stated on the Application or most
                     recent Renewal Application, multiplied by the percentage set forth below which
                     corresponds to the number of years elected for the Non-Practicing Extended
                     Reporting Period.

                     The Insured may select from the following Non-Practicing Extended Reporting
                     Period options:

                     (a)     a one-year Non-Practicing Extended Reporting Period for an additional
                             premium of 100% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (b)     a two-year Non-Practicing Extended Reporting Period for an additional
                             premium of 150% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (c)     a three-year Non-Practicing Extended Reporting Period for an additional
                             premium of 185% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (d)     a five-year Non-Practicing Extended Reporting Period for an additional
                             premium of 210% of the Annual Premium set forth in Item 6. of the
                             Declarations;
                     (e)     an unlimited Non-Practicing Extended Reporting Period for an
                             additional premium of 300% of the Annual Premium set forth in Item 6.
                             of the Declarations.

             4.      WAIVER OF PREMIUM                 FOR     NON-PRACTICING            EXTENDED
                     REPORTING PERIOD

                     (a)     Waiver Upon Death

                             If an individual Insured lawyer, as described in Section V.F.3. above,
                             dies during the Policy Period, such Insured shall be provided with a


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                           Non-Practicing Extended Reporting Period Endorsement, commencing
                           after the termination of the Policy Period, at no additional premium,
                           until the executor or administrator of the estate of such individual
                           Insured lawyer is discharged, provided always that the death did not
                           result from an intentionally self-inflicted injury, suicide or alcohol or
                           drug abuse. Written notification and written proof of death of the
                           Insured must be provided prior to the termination of the Policy Period.
                           Such Non- Practicing Extended Reporting Period shall extend the period
                           for reporting Claims first made against such Insured after the
                           termination of the Policy Period for any actual or alleged Wrongful Act
                           occurring prior to the Insured’s date of death and otherwise covered by
                           this Policy.

                     (b)   Waiver Upon Disability

                           If an individual Insured lawyer, as described in Section V.F.3. above,
                           becomes Totally and Permanently Disabled during the Policy Period,
                           such Insured shall be provided with a Non-Practicing Extended
                           Reporting Period Endorsement, commencing after the termination of the
                           Policy Period, at no additional premium. It shall be a condition
                           precedent to the Non-Practicing Extended Reporting Period that: (1) the
                           disability did not result from intentionally self-inflicted injuries, or from
                           attempted suicide, or from alcohol abuse or from drug abuse; (2) the
                           Named Insured has had continuous coverage with the Insurer for at
                           least three (3) consecutive prior full years; (3) the Insured or his or her
                           legal guardian provides written notice of the disability to the Insurer
                           prior to the termination of the Policy Period; and (4) the Insured or the
                           Insured’s legal guardian provides a physician’s written certification of
                           the disability, including the date it began. Such Non-Practicing
                           Extended Reporting Period shall extend the period for reporting Claims
                           first made against such Insured after the termination of the Policy
                           Period for any actual or alleged Wrongful Act occurring prior to the
                           date the Insured is deemed Totally and Permanently Disabled and
                           otherwise covered by this Policy.

                     (c)   Waiver For Continuous Coverage

                           If an individual Insured lawyer, as described in Section V.F.3. above,
                           retires or otherwise ceases the performance of Legal Services during the
                           Policy Period, then such Insured has the right, upon notification to the
                           Insurer, to elect an unlimited Non-Practicing Extended Reporting
                           Period Endorsement, commencing after the termination of the Policy
                           Period, at no additional premium. A condition precedent to the Non-
                           Practicing Extended Reporting Period shall be that the Named Insured
                           has had continuous coverage with the Insurer for at least three (3)
                           consecutive prior full years. The Insured must provide written notice of
                           his or her request to elect the Non-Practicing Extended Reporting Period
                           prior to the termination of the Policy Period. Such Non-Practicing
                           Extended Reporting Period shall extend the period for reporting Claims
                           first made against such Insured after the termination of the Policy
                           Period for any actual or alleged Wrongful Act occurring prior to the



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                             Insured’s date of retirement or cessation of the performance of Legal
                             Services and otherwise covered by this Policy.

                     The Aggregate Limit of Liability applicable to each Extended Reporting Period
                     subject to a Waiver of Premium in Condition F.4. will be the Limit of Liability
                     listed on Item 3. III of the Declarations. If the Named Insured as listed in Item
                     1. of the Declarations is no longer an Insured, the maximum aggregate Limit of
                     Liability provided by this Extended Reporting Period shall not exceed the lesser
                     of the Limit of Liability set forth in Item 3. of the Declarations or $1,000,000, for
                     each and all Claims.

             5.      CONDITIONS APPLICABLE TO ALL EXTENDED REPORTING
                     PERIOD OPTIONS

                    (a)      The right to any of the Extended Reporting Period Endorsement options
                             is not available to any Insured if:

                             (i)     cancellation or nonrenewal by the Insurer is due to either:
                                     nonpayment of premium, Retention or other money due to the
                                     Insurer; or misrepresentation in the Application; or the failure
                                     to comply with the terms and conditions of this Policy; or

                             (ii)    an Insured’s right or license to practice law is suspended,
                                     surrendered or revoked; however, this provision 5.(a)(ii) shall not
                                     apply to an Insured who retires from the performance of Legal
                                     Services while in good standing.

                     (b)     The Limit of Liability available for any Extended Reporting Period is
                             part of, and not in addition to, the Limit of Liability shown in Item 3. of
                             the Declarations of the Policy.

                     (c)     The Retention, as shown on the Declarations, which is applicable to
                             Claims first made during any Extended Reporting Period, will apply
                             separately to each and every Claim. The Retention will be waived for
                             Claims first made during a Non-Practicing Extended Reporting Period in
                             the event that an individual Insured lawyer qualifies for a Non-
                             Practicing Extended Reporting Period based on: (i) the death of such
                             Insured; or (ii) such Insured becoming Totally and Permanently
                             Disabled.

                     (d)     None of the Extended Reporting Period options are cancelable or
                             renewable. Any additional premium, if applicable, for the Extended
                             Reporting Period Endorsement is fully earned at the inception of the
                             Extended Reporting Period.

      G.     POLICY TERRITORY

             The coverage afforded by this Policy applies to any Wrongful Acts that occur anywhere
             in the world, and Claims brought anywhere in the world.

      H.     ASSISTANCE AND COOPERATION OF THE INSURED



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             All Insureds shall cooperate with the Insurer, including providing all information
             requested by the Insurer regarding any Claim or potential Claim, and cooperating fully
             with the Insurer in the defense, investigation and settlement of any Claim. Upon the
             Insurer’s request, all Insureds shall submit to examination by a representative of the
             Insurer, under oath if required. In addition, upon the Insurer’s request, all Insureds
             shall attend hearings, depositions, mediations, settlement conferences, arbitrations and
             trials, and shall assist in effecting settlements, securing and giving evidence, obtaining the
             attendance of witnesses, and in the conduct of suits, all without charge to the Insurer.

             The Insured shall follow the Insurer’s direction regarding whether to accept or reject a
             demand for arbitration of any Claim and shall not voluntarily agree to arbitrate a Claim
             without the Insurer’s written consent. No Insured shall, except at the Insured’s own
             cost, make any payment, make any admission, admit liability, waive any rights, settle any
             Claim, assume any obligation or incur any expense without the prior written consent of
             the Insurer.

      I.     SUBROGATION

             The Insurer shall be subrogated to all Insureds’ rights of recovery against any person or
             organization. All Insureds shall assist the Insurer in effecting any rights of indemnity,
             contribution and apportionment available to any Insured, including the execution of such
             documents as are necessary to enable the Insurer to pursue claims in the Insureds’
             names and shall provide all other assistance and cooperation which the Insurer may
             reasonably require. All Insureds shall cooperate with the Insurer and do nothing to
             jeopardize, prejudice or terminate in any way such rights.

             The Insurer shall not exercise any such rights against any Insured except as provided
             herein. Notwithstanding the foregoing, however, the Insurer reserves the right to
             exercise any rights of subrogation against any Insured with respect to any Claim brought
             about or contributed to by the dishonest, fraudulent, criminal, malicious, or intentional act
             or omission, or any willful violation of any statute, of such Insured.

      J.     CANCELLATION; NO OBLIGATION TO RENEW

             1.      This Policy shall terminate upon the Expiration Date set forth in Item 2. of the
                     Declarations, or upon any earlier cancellation.

             2.      This Policy may be canceled by the Named Insured by mailing advance written
                     notice to the Insurer stating when such cancellation shall take effect. If canceled
                     by the Named Insured, the Insurer shall retain the earned premium, which shall
                     be computed in accordance with the customary short rate table and procedure.

             3.      This Policy may be canceled by the Insurer by written notice mailed to the
                     Named Insured at its last known address at least sixty (60) days before the
                     effective date of such cancellation, if for reasons other than nonpayment of
                     premium. The Insurer may cancel this Policy for nonpayment of premium by
                     written notice mailed to the Named Insured at its last known address at least ten
                     (10) days before the effective date of such cancellation. The notice will state the
                     reason for and the effective date of the cancellation. If the Policy is canceled by
                     the Insurer, the Insurer shall retain the earned premium, which shall be
                     computed on a pro rata basis.



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             4.        Premium adjustment may be made at the time cancellation is effected or as soon
                       as practicable thereafter. Failure to pay any premium adjustment at, on, or
                       around the time of the effective date of cancellation shall not alter the
                       effectiveness of cancellation.

             5.        The Insurer will not be required to renew this Policy upon its expiration. If the
                       Insurer elects not to renew this Policy, the Insurer will deliver or mail written
                       notice, to the Named Insured at its last known address, to that effect, at least
                       sixty (60) days before the Expiration Date set forth in Item 2. of the Declarations.
                       Such notice shall state the specific reason(s) for non-renewal.

      K.     CHANGE IN RISK

                  1.   If, during the Policy Period, any of the following events occur:

                       (a)     the merger into or acquisition of the Named Insured by another entity
                               such that the Named Insured is not the surviving entity, or the
                               acquisition of substantially all of the assets of the Named Insured;

                       (b)     the dissolution of, or appointment of a receiver, conservator, trustee,
                               liquidator or rehabilitator or similar official for the Named Insured;

                       the Named Insured shall report the event to the Insurer within thirty (30) days
                       of such event occurring.

                       Coverage under this Policy will continue in full force and effect with respect to
                       Claims for Wrongful Acts committed before such event, but coverage will cease
                       with respect to Claims for Wrongful Acts committed on or after such event.
                       After any such event, this Policy may not be canceled by the Insured and the
                       entire premium for this Policy will be deemed fully earned.

                  2.   If, during the Policy Period, the number of lawyers or professional corporations
                       performing Legal Services on behalf of the Named Insured increases by 34% or
                       more, the Named Insured shall notify the Insurer in writing within thirty (30)
                       days. The Insurer shall have the right to modify the terms and conditions of the
                       Policy, including premium, as it determines in its sole discretion is appropriate.

      L.     OTHER INSURANCE

             The insurance provided by this Policy shall apply only as excess over any other valid and
             collectible insurance, whether such insurance is stated to be primary, contributory,
             excess, contingent or otherwise, unless such other insurance is written specifically as
             excess insurance over the applicable Limit of Liability provided by this Policy. This
             Policy shall not be subject to the terms and conditions of any other insurance policy.

      M.     ASSIGNMENT

             Neither this Policy nor any Insured’s interest under this Policy may be assigned.

      N.     LEGAL ACTION AGAINST THE INSURER




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             No action may be taken against the Insurer unless, as a condition precedent thereto, there
             has been full compliance with all of the terms and conditions of this Policy and the
             amount of all the Insured’s obligations to pay have been fully and finally determined
             either by judgment against all Insureds after actual trial, or by written agreement of the
             Named Insured, the claimant and the Insurer.

             Nothing contained in this Policy shall give any person or organization any right to join
             the Insurer as a defendant in the action against any Insured.

      O.     APPLICATION

             By acceptance of this Policy, all Insureds affirm or reaffirm as of the Inception Date of
             this Policy that:

             1.      the statements in the Application are true and accurate and are specifically
                     incorporated herein, and are all Insureds’ agreements, personal representations
                     and warranties;
             2.      all such communicated information shall be deemed material to the Insurer’s
                     issuance of this Policy;
             3.      this Policy is issued in reliance upon the truth and accuracy of such
                     representations;
             4.      this Policy embodies all agreements existing between the Insureds and the
                     Insurer, or any of its agents, relating to this insurance; and
             5.      if any representation is false or misleading, this Policy shall be void from the
                     inception.

      P.     CHANGES

             No change or modification of this Policy shall be effective except when made by a
             written endorsement to this Policy signed by an authorized representative of the Insurer.
             No representations by any person shall have any force or effect except as included in such
             endorsement.

      Q.     WAIVER

             The Insurer’s failure to insist on strict compliance with any terms, provisions or
             conditions to coverage of this Policy or the failure to exercise any right or privilege shall
             not operate or be construed as a waiver thereof or of any subsequent breach thereof or a
             waiver of any other terms, provisions, conditions, privileges or rights.

      R.     ENTIRE AGREEMENT

             The Insureds agree that this Policy, including the Application and any endorsements,
             constitutes the entire agreement between them and the Insurer or any of its agents
             relating to this insurance.

      S.     HEADINGS

             The descriptions in the headings and sub-headings of this Policy are solely for
             convenience and form no part of the terms and conditions of coverage.

      T.     SANCTIONS


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             The Insurer shall not be deemed to provide cover nor be liable to pay any claim or
             provide any benefit under this Policy to the extent that the provision of such cover,
             payment of such claim or provision of such benefit would expose the Insurer to any
             sanction, prohibition or restriction, including under United Nations resolutions, or the
             trade or economic sanctions, laws or regulations of the European Union, United Kingdom
             or United States of America.




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                                                           C. SMITH




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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                      CIVIL DIVISION
                              COVER SHEET

Plaintiff(8)
Sheila K. Peterson, as
Administratrix of the Estate of             CaseNumber :
Brandon C. Peterson, deceased
                                               GD          22           006642
and in her own right

                                           Type ofpleading :


                                            Complaint


                                           Code and Classification : 001
                                            001-Trespass MotorVehicle
                                           Filed on behalf of
                                            Plaintiff, Sheila K. Peterson
                                            as Administratrix of the
                                            Estate of Brandon C. Peterson,
                 Vs                         deceased
Defendant(s)
Murrow's Transfer, Inc. and                 (Name ofthe filing party)
MT Fairfield, LLC and
Logan J. Denny
                                                  CounselofRecord
                                                 Individual, IfPro Se

                                            Name, Address and Telephone Number :
                                            Edward S. Goldis
                                            Feldman Shepherd Wohlgelernter
                                            Tanner Weinstock & Dodig, LLP
                                            1845 Walnut St., 21st Fl.
                                            Philadelphia, PA 19103


                                            Attomey's State ID : 88233


                                            Attomey's Firm ID :


                                                                                 Case ID: 240501357
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FELDMAN SHEPHERD WOHLGELERNTER TANNER WEINSTOCK & DODIG, LLP
By: ALAN M. FELDMAN/DANIEL J. MANN/EDWARD S. GOLDIS
IdentificationNo.: 23210/77639/88233     Attomeys for Plaintiffs
21stFloor
1845WalnutStreet
Philadelphia, PA 19103
(215)567-8300

 SHEILA K. PETERSON, as Administratrix               COURT OF COMMON PLEAS
 ofthe Estate ofBRANDON C. PETERSON,                 ALLEGHENY COUNTY
 deceased, and in her own right
 2095 Kingview Road
 Scottdale,PA 15683                                  No. GD-22-006642
                Plaintiff
                                                     Jury Trial Demanded
         V.

 MURROW'S TRANSFER, INC.
 1660BlairStreet
 Thomasville, NC 27360
        and
 MT FAIRFIELD, LLC
 1660BlairStreet
 Thomasville, NC 27360
        and
 (continued on next page)

                                             NOTICE

         You have been sued in court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this complaint and notice are
served, by entering a written appearance personally or by attomey and filing in writing with the
court your defenses or objections to the claims set forth against you. You are wamed that ifyou
fail to do so the case may proceed without you and ajudgment may be entered against you by the
court without further notice for any money claimed in the complaint or for any other claim or relief
requested by the plaintiff. You may lose money or property or other rights important to you.

     YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

                                      Lawyer Referral Service
                                Allegheny County Bar Association
                                       400 Koppers Building
                                        436 Seventh Avenue
                                       Pittsburgh, PA 15219
                                     Telephone:(412)261-5555
                             https ://www. getapittsburghlawyer. com/


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LOGAN J. DENNY
3124 Crossing Way Court
High Point, NC 27262

            Defendants




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                                CIVIL ACTION COMPLAINT

        PlaintiffSheilaK.. Peterson, Administratrix ofthe Estate ofBrandon C. Peterson, deceased,

and in her own right, by and through her attomeys, Feldman, Shepherd, Wohlgelemter, Tanner,

Weinstock & Dodig, LLP, hereby files the instant Complaint and avers as follows:

I.     PARTIES

        1.      Plaintiff Sheila K. Peterson is an adult individual and citizen of the State of

Pennsylvania residing therein at 2095 Kingview Road, Scottdale, PA 15683.

       2.       Plaintiff Sheila K. Peterson and her husband, Brook Peterson, are the surviving

parents ofBrandon C. Peterson. Plaintiff Sheila K. Peterson is the Administratrix ofthe Estate of

Brandon C. Peterson having been so appointed by the Register of Wills for Fayette County,

Pennsylvania.

       3.       Defendant Murrow's Transfer, Inc. ("Murrow's") is a corporation organized and

existing under the laws ofthe State ofNorth Carolina, with principal place ofbusiness located at

1660 Blair Street, Thomasville, NC 27360.

       4.       Defendant MT Fairfield, LLC ("MT Fairfield") is a corporation organized and

existing under the laws ofthe State ofNorth Carolina, with principal place ofbusiness located at

1660 Blair Street, Thomasville, NC 27360.

       5.       At all times relevant hereto, defendants Murrow's Transfer and MT Fairfield
                                         "Murrow's" and/or the "Murrow's defendants")
(hereinafter collectively described as                                                    provided

transportation services for the shipment offumiture and other freight throughout the United States,

including to the Commonwealth ofPennsylvania and within Allegheny County.




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          6.       According to its website, "Murrow's is family owned and operated and today we

have 155 dedicated employees, a custom built 145,200 square foot warehouse, 115 Drivers and

420 Trailers."

          7.       Defendant Logan J. Denny ("Denny") is a resident ofthe State ofNorth Carolina,

residing therein at 3124 Crossing Way Court, High Point, NC 27262.

          8.       At all times relevant hereto, defendant Deimy was an employee and/or agent ofthe

Murrow's defendants, and was acting within the course and scope of his employment and/or

agency.

          9.       At all times relevant hereto, all defendants regularly and continuously conducted

business in the Commonwealth ofPennsylvania, including in Allegheny County.

II.       JUMSDICTION AND VENUE

          10.      Plaintiffhereby incorporates the preceding paragraphs as ifthe same were fully set

forth at length.

          11.      Jurisdiction and venue are proper in the Commonwealth of Pennsylvania and in

Allegheny County in accordance with Pa.R.C.P. 1006(c)(l) and 2179(a), as one or more ofthe

defendants regulariy and continuously conducts business in the Commonwealth of Pennsylvania

and in the County ofAllegheny.

III.    FACTS

          12.      On December 22, 2020, defendant Denny was operating a 2013 Freightliner

Cascadia tractor and Hyundai semi-trailer (the "Murrow's tractor and trailer" and/or "tractor-

trailer") owned by the Murrow's defendants.




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        13.    At all times relevant hereto, the Murrow's tractor and trailer was not properly

inspected, maintained and/or repaired by the defendants, was in a state ofdisrepair, and was not in

a safe condition to operate.

        14.    At all times relevant hereto, The Murrow's defendants failed to ensure that the

Murrow's tractor and trailer were equipped with available, proper, adequate, appropriate and

functional crash waming and avoidance technologies.

        15.    At all times relevant hereto, the Murrow's defendants failed to have and enforce

proper and appropriate policies for the use ofcellular phones and personal GPS devices by drivers

in order to prevent driver distraction. To the extent that the Murrow's defendants did have such

policies in effect, defendant Denny did not follow those policies.

        16.    At all times relevant hereto, the Murrow's defendants failed to have and enforce

proper and appropriate policies to ensure that drivers, including defendant Denny were not

operating commercial motor vehicles while fatigued.

        17.    At all times relevant hereto, the Murrow's defendants failed to have and enforce

proper and appropriate policies to ensure that drivers, including defendant Denny were not

operating commercial motor vehicles while over the hours of service limitations.

        18.    At all times relevant hereto, defendant Denny was on an assignment to transport

and deliver fumiture to various companies for the Murrow's defendants, including companies in

the Commonwealth of Pennsylvania and within Allegheny County.

        19.    On December 22, 2020, defendant Denny delivered fumiture to Rustic Acres

Fumiture in Indiana, PA, and afterward took the Murrow's tractor-trailer to Marty's Diesel Garage

for automotive service, including the replacement ofan air line and quick release valve repair.




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       20.      Once the tractor-trailer was released from automotive service at approximately 2:19

P.M., defendant Denny resumed his assignment and operated the Murrow's tractor and trailer

southbound on State Route 119 in East Huntingdon Township, Westmoreland County,

Pennsylvania.

       21.      Also on December 22, 2020, plaintiffs decedent Brandon Peterson was operating

his vehicle southbound on State Route 119 in East Huntingdon Township.

       22.      It is believed that Brandon Peterson's vehicle suffered a flat tire. When Brandon

Peterson became aware ofthe issue with his vehicle, he moved his vehicle to the right shoulder of

the highway and exited the vehicle to assess the situation.

       23.      At all times relevant hereto, Brandon Peterson and his disabled vehicle were easily

visible to other drivers travelling on the roadway for a great distance.

       24.      As Brandon Peterson stood immediately adjacent to his disabled vehicle that was

parked within the shoulder ofthe roadway, defendant Denny was operating the Murrow's tractor

and trailer southbound on State Route 119 north ofBrandon Peterson's disabled vehicle.

       25.      As defendant Denny approached the location of Brandon Peterson's disabled

vehicle, he took his eyes off of the roadway to reportedly look at the GPS system in his vehicle

and while distracted failed completely to observe the point and position ofBrandon Peterson and

his visible disabled vehicle ahead, both ofwhich were in plain view to defendant Denny and other

motonsts.

       26.      Defendant Denny continued to negligently and recklessly operate the Murrow's

tractor and trailer southbound on State Route 119 so as to cause the tractor-trailer to enter the

shoulder ofthe roadway and violently collide first with Brandon Peterson's plainly visible disabled




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vehicle and then with the equally plainly visible Mr. Peterson, causing him to sustain catastrophic

and ultimately fatal injuries.

        27.        At no time prior to the collision did defendant Denny take any evasive action or

attempt to slow or stop the Murrow's tractor and trailer in order to avoid the collision with the

plainly visible Brandon Peterson or his plainly visible disabled vehicle.

        28.        By his own admission, defendant Denny failed to observe Brandon Peterson's

plainly visible disabled vehicle or the plainly visible Mr. Peterson himselfuntil after the occurrence

ofthe crash which killed Mr. Peterson.

        29.        Defendant Denny's operation of the Murrow's tractor and trailer in causing this

fatal crash was negligent and reckless in that his intentional decision to take his eyes off the

roadway for an extended period of time while operating a loaded commercial motor vehicle at

highway speeds, his consequent failure to observe Brandon Peterson's stopped and plainly visible

disabled vehicle, and his failure to take any evasive action to avoid this fatal crash, demonstrates

a total disregard for the safety, health and well-being of other motorists, including plaintiffs

decedent Brandon Peterson.

IV.     CAUSES OF ACTION

                         CQUNT I - NEGLIGENCE and RECKLESSNESS

 SHEILA K. PETERSON, as Administratrix ofthe Estate ofBRANDON C. PETERSON,
              deceased, and in her own risht v. ALL DEFENDANTS


        30.        Plaintiffhereby incorporates the preceding paragraphs as ifthe same were fiilly set

forth at length.

        31.        The fatal injuries sustained by plaintiffs decedent Brandon Peterson and the

injuries, damages and losses sustained by plaintiff and plaintiffs decedent were caused by the




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negligence, carelessness, negligence per se and recklessness of defendant Denny, both generally

and in the following particular respects:

       a. Failing to operate the vehicle with due regard for the safety of others;

       b. Failing to maintain a proper and adequate look out;

       c. Failing to operate the vehicle with due care and due regard for road conditions;

       d. Failing to operate the vehicle at a safe and reasonable speed;

       e. Failing to timely brake the vehicle;

       f.   Failing to maintain control ofthe vehicle;

       g. Operating the vehicle at a speed in excess ofthe posted speed limit;
       h. Operating at an unsafe rate of speed under the circumstances;

       i.   Failing to properly observe and react to conditions existing at the time ofthe incident;

       j.   Failing to brake and timely stop the vehicle;

       k. Failing to take other avoidance measures;

       1.   Failing to remain attentive;

       m. Intentionally and deliberately taking his eyes offofthe roadway for an extended
          periodoftime;
       n. Operating a commercial motor vehicle while distracted;

       o. Operating a commercial motor vehicle while over the hours of service limit;

       p. Operating a commercial motor vehicle while fatigued;

       q. Operating a commercial motor vehicle with an unstable load;
       r.   Acting with conscious disregard for the rights and safety of other motorists;

       s. Causing the tractor-trailer to travel into the shoulder ofthe roadway so as to bring about
          a fatal collision with plaintiffs decedent and his disabled vehicle;

       t.   Violating the laws, statutes, regulations, rules and standards of the General Assembly
            ofthe Commonwealth ofPennsylvania conceming the operation ofmotor vehicles and
            commercial motor vehicles, including the Pemisylvania Motor Vehicle Code;




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       u. Violating the laws, statutes, regulations, rules and standards of the Federal Motor
          Carrier Safety Administration goveming or relating to the operation ofmotor vehicles
          and commercial motor vehicles;

       v. Failing to drive at a safe speed and failing to stop, in violation of75 Pa.C.S.A. §3361;

       w. Driving in careless disregard for the safety of other persons, such as plaintiffs
          decedent, in violation of75 Pa. C.S.A §3714;

       x. Driving in a state of low mental arousal and/or fatigue at the time of the incident in
          violation of49 C.F.R. §392.3;

       y. Failing to properly maintain a log book;
       z. Operating the commercial motor vehicle with log book violations;

       aa. Failing to maintain an accurate log in accordance with 49 C.F.R. §395.8;

       bb. Violating the hours ofseryice under 49 C.F.R. §395.3;

       cc. Failing to properly inspect the tractor-trailer; and

       dd. Failing to comply with policies and procedures conceming the safe operation of
           commercial motor vehicles.

       32.      The fatal injuries sustained by plaintiffs decedent Brandon Peterson and the

injuries, damages and losses sustained by plaintiff and plaintiffs decedent were caused by the

negligence, carelessness, negligence per se and recklessness of the Murrow's defendants,

individually, jointly and/or severally, both generally and in the following particular respects:


       a. Failing to properly inspect, maintain and repair the tractor-trailer;

       b. Placing an unsafe driver and commercial motor vehicle on the roadway;

       c. Failing to equip the tractor-trailer with available, proper, adequate, appropriate and
          functional crash waming and avoidance technologies;

       d. Negligently and recklessly entmsting the tractor-trailer to defendant Denny;

       e. Failing to investigate the fitness of defendant Denny to operate the tractor-trailer;

       f.    Negligently and recklessly retaining and hiring defendant Denny;

       g. Failing to perform an appropriate background check on defendant Denny;



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h. Failing to determine whether defendant Denny was competent to operate tractor-trailers
   on roads and highways in the United States;

 i.   Failing to properly train defendant Denny;

j.    Failing to comply with accepted standards and practices with respect to hiring and
      retaining drivers;

k. Failing to ensure that defendant Denny had an appropriate level of skill and/or
   expenence;

1.    Failing to recognize the danger to which others would be exposed by allowing
      defendant Denny to operate a tractor-trailer on roads and highways in the United States;

m. Failing to create, adopt, enforce and comply with policies and procedures to assure that
   drivers hired, retained or otherwise engaged to drive were not a menace to public safety;

n. Failing to create, adopt, enforce and comply with policies and procedures to assure that
   drivers hired, retained or otherwise engaged to drive were not distracted or fatigued
   while operating a commercial motor vehicle;

o. Failing to create, adopt, enforce and comply with policies and procedures to assure that
   drivers hired, retained or otherwise engaged to drive were not operating a commercial
   motor vehicle while over the hours ofservice limitations;

p. Violation ofapplicable statutes, ordinances, regulations, rules and standards related to
   the operation of motor vehicles including commercial motor vehicles, and the hiring,
   retention or other engagement ofdrivers to operate commercial motor vehicles;

q. Failing to properly maintain a log book;
r.    Operating the commercial motor vehicle with log book violations;

s. Failing to maintain an accurate log in accordance with 49 C.F.R. §395.8;

t.    Violating the hours ofservice under 49 C.F.R. §395.3;

u. Failing to comply with applicable standards and recommended practices issued by the
   National Highway Traffic Safety Administration, U.S. Dept. ofTransportation, Federal
   IVIotor Carrier Safety Administration, the Vehicle Equipment Safety Commission, the
   American National Standards Institute, the Society ofAutomotive Engineers and other
   generally recognized standards in violation of75 Pa. C.S.A. §4103(a)-(b); and
v. Failing to create, institute, adopt, enforce and comply with policies and procedures
   conceming the safe operation ofcommercial motor vehicles.




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        33.        The aforementioned acts of the defendants were not only negligent, but were

deliberate, intentional and reckless, and were undertaken without due regard for the safety ofothers

on the roadway.

        34.        The foregoing conduct ofthe defendants increased the risk ofharm, injuries, death,

damages and losses sustained by plaintiffs decedent and plaintiff, and was a substantial

contributing factor in causing the death ofplaintiffs decedent and the injuries, damages and losses

sustained by plaintiffand plaintiffs decedent.

        35.        The Murrow's defendants are vicariously liable for the conduct oftheir employees,

agents and servants, including defendant Denny, who were at all times relevant hereto acting in

the course and scope oftheir employment or agency.

        WHEREFORE, plaintiff Sheila K. Peterson, Administratrix ofthe Estate ofBrandon C.

Peterson, deceased, and in her own right, demands judgment in favor of plaintiff and against all

defendants for compensatory and punitive damages in an amount in excess of the jurisdictional

limit for arbitration, together with interest and costs.


                                    COUNT II - PUNITIVE DAMAGES

 SHEILA K. PETERSON, as Administratrix ofthe Estate ofBRANDON C. PETERSON,
              deceased, and in her own risht v. ALL DEFENDANTS

        36.        Plaintiffhereby incorporates the preceding paragraphs as ifthe same were fully set

forth at length.

        37.        Defendants' acts and omissions were outrageous in that the conduct ofdefendants

amounted to a reckless indifference to the safety ofothers.

        38.        All defendants knew or had reason to know that their conduct created a risk of

physical harm or death to others.



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        39.        The actions of the defendants as set forth herein constitute willful and wonton

misconduct in reckless disregard for the rights and safety ofplaintiffand plaintiffs decedent, and

warrant the imposition ofpunitive damages against the defendants.

        40.        The Murrow's defendants are vicariously liable for the reckless conduct of their

employees, agents and servants, including defendant Denny, who were at all times relevant hereto

acting in the course and scope oftheir employment or agency.

        WHEREFORE, plaintiff Sheila K. Peterson, Administratrix ofthe Estate ofBrandon C.

Peterson, deceased, and in her own right, demands judgment in favor of plaintiff and against all

defendants for compensatory and punitive damages in an amount in excess of the jurisdictional

limit for arbitration, together with interest and costs.


V.      DAMAGES

A.      Wrongful Death Action - Plaintiff v. All Defendants

        41.        Plaintiff hereby incorporates the preceding paragraphs as if the same were fully set

forth at length.

        42.        This action is brought on behalf of all persons entitled to recover damages for the

death of Brandon Peterson, deceased, pursuant to the Pennsylvania Wrongful Death Act, 42

Pa.C.S.A. §8301.

        43.        The wrongful death beneficiaries are as follows:

                   Name                          Relationship                   Address


                   Sheila K. Peterson            Mother                         2095 Kingview Road
                                                                                Scottdale, PA 15683

                   Brook Peterson                Father                        2095 KLingview Road
                                                                               Scottdale, PA 15683



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        44.        Brandon Peterson did not bring any claim for the matters set forth in this Complaint

during his lifetime.

        45.        Plaintiff Sheila K. Peterson, as Administratrix ofthe Estate ofher son, Brandon C.

Peterson, deceased, and in her own right, claims all lawful damages for all persons entitled by law

to recover such damages, including but not limited to medical expenses, funeral expenses,

expenses of administration, loss of expected pecuniary contributions and loss of the decedent's

companionship, guidance and tutelage.

        WHEREFORE, plaintiff Sheila K. Peterson, Administratrix ofthe Estate ofBrandon C.

Peterson, deceased, and in her own right, demands judgment in favor of plaintiff and against all

defendants for compensatory and punitive damages in an amount in excess of the jurisdictional

limit for arbitration, together with interest and costs.

B.      Survival Action - Plaintiffv. All Defendants

        46.        Plaintiffhereby incorporates the preceding paragraphs as ifthe same were fully set

forth at length.

        47.        Plaintiffbrings this action on behalfofthe Estate ofBrandon C. Peterson, deceased,

pursuant to the Pennsylvania Survival Act, 42 Pa.C.S.A. §8302, and claims on behalfofthe Estate

all damages recoverable by law, including but not limited to the decedent's pain and suffering, loss

ofeamings and eaming capacity and the total limitation and deprivation ofthe decedent's normal

activities, pursuits and pleasures.

        WHEREFORE, plaintiff Sheila K. Peterson, Administratrix ofthe Estate ofBrandon C.

Peterson, deceased, and in her own right, demands judgment in favor of plaintiff and against all

defendants for compensatory and punitive damages in an amount in excess of the jurisdictional

limit for arbitration, together with interest and costs.


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C.      Punitive Damages - Plaintiff v. All Defendants

        48.        Plaintiffhereby incorporates the preceding paragraphs as ifthe same were fully set

forth at length.
        49.        The actions of the defendants as set forth herein constitute willful and wonton

misconduct in reckless disregard for the rights and safety ofplaintiffand plaintiffs decedent, and

warrant the imposition ofpunitive damages against the defendants.

        WHEREFORE, plaintiff Sheila K. Peterson, Admimstratrix ofthe Estate ofBrandon C.

Peterson, deceased, and in her own right, demands judgment in favor of plaintiff and against all

defendants for compensatory and punitive damages in an amount in excess of the jurisdictional

limit for arbitration, together with interest and costs.


                                         FELDMAN SHEPHERD WOHLGELERNTER
                                         TANNER WEINSTOCK & DODIG, LLP


                                           ^r^-
                                         ALAN M. FELDMAN
                                         DANIEL J. MANN
                                         EDWARD S. GOLDIS
                                         Attomeys for Plaintiffs

DATE: 12/22/22




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                                       VERIFICATION

         1, Sheila Peterson, plauiliffin Ihe foregoing pleading, state thal the facts set forth are true

  and correct to thc best ofour kiiowledge, infonnation and belief; and that this statement is madu

  subjecl lo the penalties of 18 Pa.C.S. Seclion 4904, which relates to unsworn falsification to

  authorities.



                                                               ^ t^I^vL
                                                 SHEILA PETERSON




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


SHEILA K. PETERSON as                         )              Civil Division
Administratrix of the Estate of Brandon       )
C. Peterson, deceased and in her              )
own right,                                    )
                                              )
               Plaintiff,                     )
                                              )              C.A. No. 2:23-cv-136-CCW
       v.                                     )
                                              )
MURROW’S TRANSFER, INC., and                  )
LOGAN J. DENNY,                               )              JURY TRIAL DEMANDED
                                              )
               Defendants.                    )

                            ANSWER AND AFFIRMATIVE DEFENSES

       AND NOW, come the Defendants, Murrow’s Transfer, Inc. and Logan J. Denny, by and

through their attorneys, Pion, Nerone, Girman, Winslow & Smith, P.C. and James M. Girman,

Esquire and file the following Answer and Affirmative Defenses to Plaintiff’s Complaint and in

support thereof aver as follows:

       1.      After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 1 of Plaintiff’s

Complaint.

       2.      After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 2 of Plaintiff’s

Complaint.

       3.      Admitted.

       4.      Admitted.




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       5.      Admitted in part and denied in part. It is admitted that Murrow’s Transfer, Inc.

provides transportation services for the shipment of furniture and other freight throughout the

United States, including the Commonwealth of Pennsylvania and within Allegheny County. It is

denied that MT Fairfield, LLC provides transportation services.

       6.      Admitted.

       7.      The averments set forth in paragraph 7 of Plaintiff’s Complaint are admitted in part

and denied in part. It is admitted that Logan Denny is a resident of the state of North Carolina. It

is denied that he resides at 3124 Crossing Way Court, High Point, NC 27262. To the contrary, Mr.

Denny resides at 3433 Greenhill Drive, High Point, NC 27265.

       8.      The averments set forth in paragraph 8 of Plaintiff’s Complaint are admitted in part

and denied in part. It is admitted that at the time of this accident Logan Denny was an employee

of Murrow’s Transfer, Inc. and was acting within the course and scope of his employment and/or

agency. It is denied that Logan Denny was an employee of MT Fairfield, LLC.

       9.      The averments set forth in paragraph 9 of Plaintiff’s Complaint state conclusions

of law to which no response is required. To the extent that the averments are factual, Defendant,

Murrow’s Transfer, Inc., admits that it is an interstate motor carrier that conducts business in

Pennsylvania, including Allegheny County.

                             II.    JURISDICTION AND VENUE

       10.     Defendants incorporate herein by reference thereto paragraphs 1-9 of this Answer

as though more fully set forth herein at length.




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       11.     The averments set forth in paragraph 11 of Plaintiff’s Complaint state conclusions

of law to which no response is required. To the extent that the averments are factual, Defendant,

Murrow’s Transfer, Inc., admits that it is an interstate motor carrier that conducts business in the

Commonwealth of Pennsylvania and in Allegheny County.

                                          III.    FACTS

       12.     After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 12 of Plaintiff’s

Complaint except insofar as the following matter therein averred is denied. It is denied that Logan

Denny was operating a tractor trailer unit owned by MT Fairfield, LLC. To the contrary, the tractor

trailer unit operated by Logan Denny is owned by Murrow’s Transfer, Inc.

       13.     Denied.

       14.     Denied.

       15.     Denied.

       16.     Denied.

       17.     Denied.

       18.     After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 18 of Plaintiff’s

Complaint except insofar as the following matter therein averred is denied. It is denied that Logan

Denny was on an assignment to transport and deliver furniture on behalf of MT Fairfield, LLC.

       19.     The averments set forth in paragraph 19 of Plaintiff’s Complaint are admitted

except insofar as the following matters therein averred are denied. It is denied that Logan Denny

took the tractor trailer to Marty’s Diesel Garage for automotive service.




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       20.     After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 20 of Plaintiff’s

Complaint.

       21.     After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 21 of Plaintiff’s

Complaint.

       22.     After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 22 of Plaintiff’s

Complaint.

       23.     After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 23 of Plaintiff’s

Complaint.

       24.     After reasonable investigation Defendants are without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 24 of Plaintiff’s

Complaint.

       25.     Denied.

       26.     Denied.

       27.     Denied.

       28.     Denied.

       29.     Denied.




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                                 IV.     CAUSES OF ACTION

                     COUNT I – NEGLIGENCE and RECKLESSNESS

    Sheila K. Peterson as Administratrix of the Estate of Brandon C. Peterson, deceased
                           and in her own right v. All Defendants

       30.     Defendants incorporate herein by reference thereto paragraphs 1-29 of this Answer

as though more fully set forth herein at length.

       31.     The averments set forth in paragraph 31 of Plaintiff’s Complaint including it

multiple subparts (a) through (dd) are denied.

       32.     The averments set forth in paragraph 32 of Plaintiff’s Complaint including its

multiple subparts (a) through (v) are denied.

       33.     Denied.

       34.     Denied.

       35.     Denied.

       WHEREFORE, Defendants deny that they are indebted to the Plaintiff in the sum or sums

demanded or in any sum whatsoever and request judgment in their favor together with costs.

       JURY TRIAL DEMANDED.

                             COUNT II – PUNITIVE DAMAGES

   Sheila K. Peterson, as Administratrix of the Estate of Brandon C. Peterson, deceased,
                           and in her own right v. All Defendants

       36.     Defendants incorporate herein by reference thereto paragraphs 1-35 of this Answer

as though more fully set forth herein at length.

       37.     Denied.

       38.     Denied.

       39.     Denied.




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       40.     Denied.

       WHEREFORE, Defendants deny that they are indebted to the Plaintiff in the sum or sums

demanded or in any sum whatsoever and request judgment in their favor together with costs.

       JURY TRIAL DEMANDED.

                                        V.     DAMAGES

                   A. Wrongful Death Action – Plaintiff v. All Defendants

       41.     Defendants incorporate herein by reference thereto paragraphs 1-40 of this Answer

as though more fully set forth herein at length.

       42.     Denied.

       43.     After reasonable investigation Defendant is without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 43 of Plaintiff’s

Complaint.

       44.     After reasonable investigation Defendant is without knowledge or information

sufficient to form a belief as to the truth of the averments contained in paragraph 44 of Plaintiff’s

Complaint.

       45.     Denied.

       WHEREFORE, Defendants deny that they are indebted to the Plaintiff in the sum or sums

demanded or in any sum whatsoever and request judgment in their favor together with costs.

       JURY TRIAL DEMANDED.

                       B. - Survival Action – Plaintiff v. All Defendants

       46.     Defendants incorporate herein by reference thereto paragraphs 1-45 of this Answer

as though more fully set forth herein at length.




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        47.     Denied.

        WHEREFORE, Defendants deny that they are indebted to the Plaintiff in the sum or sums

demanded or in any sum whatsoever and request judgment in their favor together with costs.

        JURY TRIAL DEMANDED.

                       C – Punitive Damages – Plaintiff v. All Defendants

        48.     Defendants incorporate herein by reference thereto paragraphs 1-47 of this Answer

as though more fully set forth herein at length.

        49.     Denied.

        WHEREFORE, Defendants deny that they are indebted to the Plaintiff in the sum or sums

demanded or in any sum whatsoever and request judgment in their favor together with costs.

        JURY TRIAL DEMANDED.

                                   AFFIRMATIVE DEFENSES

        50.     Plaintiff’s Complaint fails to state a claim against these Defendants for which relief

can be granted.

        51.     Defendants raise the comparative negligence of Plaintiff’s decedent as a complete

and/or partial bar to Plaintiff’s claims.

        52.     To the extent justified by the facts developed during discovery or the evidence

introduced at the time of trial Defendants raise Plaintiff decedent’s assumption of a known risk as

a complete and/or partial bar to Plaintiff’s claims.

        53.     Defendants raise the terms and provisions of the Pennsylvania Motor Vehicle

Financial Responsibility Law as a complete and/or partial bar to Plaintiff’s claims.




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       WHEREFORE, Defendants deny that they are indebted to the Plaintiff in the sum or sums

demanded or in any sum whatsoever and request judgment in their favor together with costs.

       JURY TRIAL DEMANDED.



                                    Respectfully submitted,

                                    PION, NERONE, GIRMAN, WINSLOW & SMITH


                                    BY:             /s/ James M. Girman
                                                   James M. Girman, Esquire
                                                   Pa. I.D. #58825
                                                   jgirman@pionlaw.com
                                                   Brian L. Shepard, Esquire
                                                   Pa. I.D. #319322
                                                   bshepard@pionlaw.com

                                                   Attorneys for Defendants,
                                                   Murrow’s Transfer, Inc. and
                                                   Logan J. Denny.




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                                 CERTIFICATE OF SERVICE

       I, James M. Girman, Esquire, hereby certify that a true and correct copy of the foregoing

ANSWER and AFFIRMATIVE DEFENSES was served upon counsel of record by CM-ECF

electronic service, this 9th day of February, 2023, as follows:



                                    Edward S. Goldis, Esquire
                                        Feldman, Shepard
                                       1845 Walnut Street
                                            21st Floor
                                     Philadelphia, PA 19103
                                  egoldis@feldmanshepard.com




                                      PION, NERONE, GIRMAN, WILSOW & SMITH



                                      BY:          /s/ James M. Girman
                                                      James M. Girman, Esquire
                                                      Pa. I.D. #58825
                                                      jgirman@pionlaw.com
                                                      Brian L. Shepard, Esquire
                                                      Pa. I.D. #319322
                                                      bshepard@pionlaw.com

                                                      Attorneys for Defendants,
                                                      Murrow’s Transfer, Inc. and
                                                      Logan J. Denny.




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                                                                   22757 Woodward Avenue
                                                                                    Suite 220
                                                                             P.O. Box 20103
                                                                   Ferndale, Michigan 48220
                . ORLOWSKI AND ASSO(;IATES                                    (248) 398-4960
                                                                         (248) 398-4963 Fax
                                                             mail@orlowskiandassociates.com
                                                              www.orlowskiandassociates.com

November 01,2022

Feldman Shepherd Wohlgelemter Tanner Weinstock Dodig
1845 Walnut 250
Philadelphia P A 19103
Att. Jenna Hough
You're File Estate ofBrandon Peterson
Our File 110122-01-A
Assignment
Your office requested that we conduct a snapshot investigation of Murrows Transfer Inc to determine possible
attachable assets and evaluate their collect ability. You further requested that handle this on a rush basis.
Results
Murrows Transfer Inc
1660 Blair
Thomasville NC 27360
North Carolina Corporation records
The subject corporation is a North Carolina for profit corporation in good standing. There are no financials
available for this small closely held corporation. This closely held family corporation was formed in 1947.
Commercial Credit Check
The subject concern has an excellent payment history We made a search of Dun and Bradstreet, Hoovers ,and
Experian commercial credit reporting sources and It was learned that there are no financials available for this
small closely held family corporation. They are reported to have 97 employees and they operate a Trucking
company over multiple states. They also offer on their site warehousing.
Bank Accounts
The subject was last reported to bank at Fidelity Bank. We were unable to obtain balances and this information
was dated.
Real Estate
We made a search of online real estate and assessors records and found multiple real estate properties at their
business location. We did not collect details, but they included a warehouse building and Garage.
UCC Filings
We made a search ofUCC financing filings under the name of the subject concern and found three .Two of
which were Orix credit and IBM on specific equipment. The other was an all-encompassing lien to Fidelity
Bank.
Other Assets
The various equipment furniture supplies, vehicles, trailers associated with this type of business. I would like to
note that these assets are likely encumbered by the blanket lien to Fidelity Bank.




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PAGE TWO


Internet Presence
The subject corporation maintains and active internet and Facebook presence, website, .murrows.com. They
provided an illustrated description of the corporation history, nature, scope, and assets.
Comments and Summary
There are no fmancials available for this small closely held family corporations. It would appear that there
financing is primarily done through one source Fidelity Bank. Based on available information we feel that if
the subject concern has failed to maintain adequate insurance, they would have additional assets.

We would like to thank you for this opportunity to be of service. If you have any questions or comments, feel
free to call.


Ve~~YJYY~
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Licensed Private Detective




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                                                               Edward S. Goldis
                                                                                Partner
                                                                                Telephone: 215.567.8300
                                                                                Direct Fax: 215.599.1341
                                                                                egoldis@feldmanshepherd.com
                                                                                Also Member NJ Bar


                                                  January 09, 2023

    VIA EMAIL

    Mark A. Martini, Esquire
    Robb Leonard Mulvihill
    BNY Mellon Center
    500 Grant Street, Suite 2300
    Pittsburgh, PA 15219


           RE:     Peterson v. Murrow's Transfer, Inc., et al.
                   Your File No.: 22-27566MAM

    Dear Mr. Martini:

             I am writing in response to your January 4, 2023, status update letter on behalf of State
    Farm. I enclose a copy of the Complaint recently filed in the Alleghany County Court of
    Common Pleas. As you will note, the only defendants are the trucking company and its driver
    who are responsible for this crash. Accordingly, the available coverage is limited to the
    previously provided $2 million policy. There has been no settlement offer made to date and the
    litigation of this matter continues.

             State Farm previously provided declaration pages for several policies and indicated that
    the available underinsured motorist’s coverage for this claim is $600,000. Upon receipt of this
    letter, please confirm that our understanding of the available coverage is correct.

            As discovery in this matter is just beginning, we have not yet obtained an economic loss
    report. While I understand State Farm has requested an economic loss report, I am sure that we
    can both agree that the economic loss sustained by a young college student will far exceed the
    available coverage, setting aside any other available damages.

           Thank you for your attention to this matter and anticipated cooperation. I look forward to
    hearing from you.

                                                  Very truly yours,




                                                  Edward S. Goldis
    ESG/rh
    Enclosure


                                                                                   Case ID: 240501357
1845 Walnut Street ǀ 21st Floor ǀ Philadelphia ǀ Pennsylvania 19103 ǀ www.feldmanshepherd.com
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                             Robb Leonard Mulvihill
                                     ATTORNEYS AT LAW




March 9, 2023                                                                                 Mark A. Martini
                                                                                        mmartini@rlmlawfirm.com




Edward Goldis, Esquire
Feldman Shepherd
1845 Walnut Street, 21st Floor
Philadelphia, PA 19103

                       RE:     Brandon C. Peterson
                               Our File No.: 22-27566MAM

Dear Mr. Goldis:

       Please be advised that State Farm has provided me with authority to tender the $600,000.00
in Underinsured Motorist Coverage. Since this case involves a death, State Farm will require court
approval of this settlement. Please confirm that you will proceed to obtain same. If you need
anything additional from me, please let me know. Thank you.

                                                Very truly yours,

                                                /s/ Mark A. Martini

                                                Mark A. Martini

MAM/mjd




           Mulvihill LLP • BNY Mellon Center • 500 Grant Street • Suite 2300 • Pittsburgh, Pennsylvania 15219
                        Phone 412-281-5431 • Fax 412-281-3711 • rlmlawfirm.com                     Case ID: 240501357
                               Northern Regional Office • 724-779-5040
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SHEILA PETERSON, as Administratrix                    )       CIVIL ACTION
of the Estate of BRANDON C. PETERSON,                 )
deceased, and in her own right,                       )       No. 2:23-cv-00136-CCW
                                                      )
                      Plaintiff,                      )
       v.                                             )
                                                      )
MURROW’S TRANSFER, INC., and                          )
LOGAN J. DENNY,                                       )
                                                      )
                      Defendants.                     )

                           MOTION FOR EXTENSION OF TIME
       AND NOW, comes Richard C. Thiele, Esquire, George C. Miller Jr., Esquire, and Goldleaf

Law, PLLC, as counsel for Sheila Peterson, as Administratrix of the Estate of Brandon C. Peterson,

and individually, in the above referenced action, and submits the within Motion for Extension of

Time, and in support thereof states the following:

   1. Petitioners are new counsel for the plaintiff in this action.

   2. Due to a dispute between previous counsel for the plaintiff, Feldman Shepherd

       Wohlgelernter Tanner Weinstock Dodig LLP, previous counsel advised the plaintiff to seek

       the advice of counsel.

   3. Petitioners have attached a screen capture of an email from the plaintiff to previous counsel,

       Feldman Shepherd Wohlgelernter Tanner Weinstock Dodig LLP, discharging them from

       further services, on August 20, 2023.

   4. Petitioners were retained on August 21, 2023.

   5. Petitioners have also attached an Affidavit of the plaintiff in this matter, setting forth

       significant concerns regarding prior representation, which forms a significant part of the

       basis for the plaintiff’s decision to discharge prior counsel.



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   6. Unfortunately, due to the plaintiff’s concerns as expressed in the attached Affidavit and

       otherwise, it did take the plaintiff some time to retain counsel to represent her interests.

   7. Petitioners desire to obtain the plaintiff’s file from previous counsel.

   8. Petitioners desire time to respond to the Motion for Settlement (Doc. 28), and otherwise as

       directed and applicable in this Court’s Order of August 15, 2023 (Doc. 30).

   9. Under the circumstances, no undue prejudice will result from a short extension in this

       matter.

       WHEREFORE, Petitioners, as counsel for the plaintiff, Sheila K. Peterson, in her capacity

as Administratrix of the Estate of Brandon C. Peterson, and individually, do hereby respectfully

request that this Court grant the plaintiff an extension of twenty (20) days in which to respond to

the Motion for Settlement, of Feldman Shepherd Wohlgelernter Tanner Weinstock Dodig LLP,

filed on August 11, 2023.

                                                      Respectfully submitted,

                                                      /s/ Richard C. Thiele
                                                      Richard C. Thiele, Esquire
                                                      PA ID #94484

                                                      110 E Pittsburgh Street
                                                      Greensburg, PA 15601
                                                      Phone: (724) 838-8600
                                                      Fax: (724) 838-8601
                                                      Email: richard@goldleaflaw.com




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                              CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Entry of Appearance was served upon the following
persons by electronic service using the CM/ECF system:

                                 Brian L. Shepard, Esquire
                               Email: bshepard@pionlaw.com

                                James M. Girman, Esquire
                               Email: jgirman@pionlaw.com

                       Pion, Nerone, Girman, Winslow & Smith, P.C.
                                1500 One Gateway Center
                                 420 Fort Duquesne Blvd
                                   Pittsburgh, PA 15222
                                       412-281-2288
                                    Fax: 412-281-3388

                             Counsel for Murrow’s Transfer, Inc.



                                 Alan M. Feldman, Esquire
                          Email: afeldman@feldmanshepherd.com

                                  Daniel J. Mann, Esquire
                           Email: dmann@feldmanshepherd.com

                                Edward S. Goldis, Esquire
                           Email: egoldis@feldmanshepherd.com

              Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig, LLP
                              1845 Walnut Street, 21st Floor
                                 Philadelphia, PA 19103
                                      215-567-8300
                                   Fax: 215-567-8300

                               Previous Counsel for Plaintiff



                                                  By: /s/ Richard C. Thiele
                                                  Richard C. Thiele, Esquire
                                                  PA ID #94484




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SHEILA PETERSON, as Administratrix                  )       CIVIL ACTION
of the Estate of BRANDON C. PETERSON,               )
deceased, and in her own right,                     )       No. 2:23-cv-00136-CCW
                                                    )
                      Plaintiff,                    )
       v.                                           )
                                                    )
MURROW’S TRANSFER, INC., and                        )
LOGAN J. DENNY,                                     )
                                                    )
                      Defendants.                   )

                                            ORDER
       AND NOW, following consideration of a Motion for Extension of Time, together with

attachments thereto, relating to this Court’s Order of August 15, 2023 (Doc. 30), and the pending

Motion for Settlement (Doc. 28), it is hereby ORDERED that the said Motion for Extension of

Time is GRANTED, and newly-retained counsel for the plaintiff shall, on or before September 11,

2023, file a response to the Motion for Settlement (Doc. 28).




Dated: _________________                            BY THE COURT:


                                                    __________________________, J.
                                                    CHRISTY CRISWELL WIEGAND




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SHEILA K. PETERSON, as Administratrix                )      CIVIL ACTION
of the Estate of BRANDON C. PETERSON,                )
deceased, and in her own right,                      )      No. 2:23-cv-00136-CCW
                                                     )
                      Plaintiff,                     )
        v.                                           )
                                                     )
MURROW’S TRANSFER, INC., and                         )
LOGAN J. DENNY,                                      )
                                                     )
                      Defendants.                    )

         VERIFIED BRIEF IN OPPOSITION TO MOTION FOR SETTLEMENT

        AND NOW, comes Sheila Peterson, as Administratrix of the Estate of Brandon C. Peterson,

and individually, in the above referenced action, by and through her counsel, Richard C. Thiele,

Esquire, George C. Miller Jr., Esquire, and Goldleaf Law, PLLC, and submits the within Verified

Brief in Opposition to the Motion for Settlement (ECF No. 28) of Feldman Shepherd

Wohlgelernter Tanner Weinstock Dodig LLP [hereinafter “Feldman Shepherd”], and also in

opposition to the Brief in Support of Motion for Settlement (ECF No. 40) of Defendants, Murrow’s

Transfer, Inc. and Logan J. Denny, and in support thereof states the following.

   I.        FACTUAL AND PROCEDURAL BACKGROUND

        This action was commenced by Writ of Summons on June 3, 2022, in the Allegheny County

Court of Common Pleas. A Complaint in civil action was then filed on December 22, 2022. This

action was removed to the Federal District Court for the Western District of Pennsylvania on

January 27, 2023. (ECF No. 1). This case stems from the tragic death of a teenaged young man,

Brandon C. Peterson, who was struck and killed by an eighteen-wheel tractor-trailer, owned and

operated by Defendants, Murrow’s Transfer, Inc. and Logan J. Denny, that veered over the white

line on the side of the road, striking and killing the victim, Brandon, on December 22, 2020.

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        The only person who is a Plaintiff in this case is Sheila Peterson, who is Brandon’s mother,

and the sole Administratrix of the Estate of Brandon C. Peterson (“Plaintiff” or “Mrs. Peterson”),

and Brook Peterson is Brandon’s father, a nonparty to the action [collectively, the “Petersons”]. At

the time of his death, Brandon Peterson was a freshman engineering student at Penn State, a recent

Southmoreland High School Honors Student Graduate, a multiple sports letterman athlete, of only

eighteen years of age. It is alleged that Brandon’s death resulted, in part, because the defendant

driver of the eighteen-wheeler tractor-trailer was looking at his GPS rather than the road, despite

clear visibility and significant opportunity to avoid the fatal accident. Following their son’s tragic

death, as a mother, and as the Administratrix of her son’s estate, it has been and remains Sheila

Peterson’s pursuit to seek justice on behalf of her son.

        Soon after Brandon’s death, Mrs. Peterson sought attorneys with demonstrated experience

and, she thought, a commitment to seek justice and hold all accountable parties firmly responsible

for the death of her child. Mrs. Peterson made it abundantly clear to her counsel that her case is

not about the money, it is about justice. It was, and remains, her goal that the defendant driver, and

the trucking company, be held liable to the fullest extent, including a maximum sum of money that

would cause defendants to prevent any future innocent people from being victimized. In addition,

Mrs. Peterson desires criminal charges against the driver for his reckless conduct.

        Sheila Peterson, selected the law firm of Feldman Shepherd, entering into a 33 1/3%

percentage contingent contractual fee agreement.1 In doing so, she relied on Feldman Shepherd’s

promises to seek justice in every way possible, and Attorney Alan Feldman expressly informed

Sheila Peterson, before traveling from Philadelphia on the phone, and at the time of executing the



1
 A copy of this agreement was not supplied to the Petersons until much later. The later-supplied copy is attached
hereto as Exhibit A, although that copy bears an increase in the fee that the Petersons were not aware of and never
agreed to accept.

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fee agreement that her son’s case was an eight- (8) figure case (ten million, plus), which led Sheila

Peterson to believe that Feldman Shepherd was capable of delivering the kind of result warranted

by her son’s death, which would also hopefully protect other mothers and families from having to

suffer the unthinkable torture that she and her family continue to endure on a daily basis. It was

under these conditions that Plaintiff retained Feldman Shepherd and continued to use their services,

because she believed they would fulfil their promise to fight for justice.

           After retention, Feldman Shepherd had minimal contact with Plaintiff. Although Brook

Peterson is not a party or the legal representative of his son’s estate, he recalled minimal contacts,

approximately four or five phone calls from Feldman Shepherd. Feldman Shepherd expressly

stated that there were some required steps to be taken in order to get their case to trial, even

declaring repeatedly to the Petersons that the Judge would force them to make a demand for policy

limits. These express statements, along with the prior statements by Feldman Shepherd, led Sheila

Peterson to firmly believe that all actions taken by Feldman Shepherd were necessary steps in

progressing the case towards trial, to hold the defendants accountable. On or about March 6, 2023,

Feldman Shepherd had a phone conference with the Petersons. During that phone call, Feldman

Shepard informed the Petersons that the Judge2 would force the Petersons to make a demand and

the same was therefore a necessary step in progressing the case to trial.3 While mediation was

ordered on the case and set to occur less than two weeks in the future, the Petersons also have no

recollection that they were informed of the upcoming mediation, nor were they even apprised of

the concept up mediation, or the opportunities and purposes of attending mediation.


2
    Being this Honorable Court.
3
  To wit: “If we just proceeded to go through the discovery phase and to trial without a policy limits demand, it is very
likely that the Judge would essentially force us to accept the policy limits at a later point in time in the case.” From
the Peterson’s perspective, Feldman Shepherd painted this action as matter of course, or routine, for this Court to
“force” plaintiffs to make certain demands, and that this was nothing more than a necessary step prior to proceeding
to trial. This is reflected in in the letter of March 10, 2023.

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         On March 10, 2023, again mere days before mediation was to occur, Feldman Shepherd

sent correspondence to both the Petersons and to counsel for the defendants, expressing a “policy

limits” demand.4 On March 15, 2023, Feldman Shepherd did follow up with a text message,

indicating that a demand letter had been sent to the Petersons and to the defense attorney. Sheila

Peterson understood from the March 6, 2023 phone call with Feldman, based on the explanation

of how Plaintiff was required and would even be forced to take the steps in the case, but Sheila

Peterson felt that this meant the case was finally moving forward.5 Mrs. Peterson thought she was

beginning to take long-awaited action she had been waiting for, and the text on March 15, 2023

about a demand being sent only brought further relief to her, because she believed that the case

was progressing after years of limited correspondence with or explanation from her attorneys.

         While Sheila Peterson was being told by her own attorneys that they must take certain

steps, which she understood to be formalities in moving to trial, and otherwise that this Court

would literally force her to make a demand. Of course, Mrs. Peterson’s mindset always was that

the case to hold the Defendants maximally responsible was tremendously strong. She had an

underlying core belief they would prevail at trial and get justice that was bolstered not only by her

own attorneys at Feldman Shepherd but other attorneys with other firms whom Mrs. Peterson




4
  Plaintiff and Mr. Peterson dispute receipt of this letter due to issues with Mrs. Peterson’s email, and the letter was
also never received by mail, but they have reviewed the letters as part of this dispute. A copy of the letter to the
Petersons is attached hereto as Exhibit B.
5
  As the chronology of documents demonstrates, Sheila Peterson retained Feldman Shepherd on January 5, 2020, but
the action was not filed, via a writ of summons, until June 2022, then via complaint in December 2022. In other words,
from Mrs. Peterson’s perspective, minimal action had been taken for over two years, when Feldman Shepherd then
informed Mrs. Peterson that certain steps were needed to move the case forward.


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learned had yet another case concurrently against the same defendant trucking company. 6 The

facts known or at least believed based upon the representations of her attorneys and others only

galvanized Sheila Peterson’s fundamental belief that her day in court was coming and she would

prevail for her son.7

        Considering her views on this case, Mrs. Peterson never understood or agreed that her case

was to be resolved as alleged by her former counsel. She never understood any conversation or

correspondence to mean the provision of insurance coverage would prevent the case from moving

forward, nor that under any circumstances would the responsible defendants no longer be parties

to the case, and she never dreamed that the pursuit of justice for her son would be over in this

manner. Feldman Shepherd painted the demand being made as a necessary and even forced step

to get to trial, and had they explained that outcome, Sheila Peterson never would have knowingly

consented to the alleged settlement. Mrs. Peterson is of course a layperson, but she understands

the fundamental premise that everybody will get their day in court, especially when it is her choice

as the Administratrix of her son’s Estate.

        Feldman Shepherd also did not request, prior to reaching the alleged settlement, that Mrs.

Peterson give any affirmation of her alleged agreement. Had that been done together with a clear


6
  Prior to the filing of her case, Mrs. Peterson was contacted in December of 2021 by a lawyer from another firm who
informed her that he was progressing against the same defendant trucking company, among others, in a multi vehicle
accident case. A copy of excerpts from their text messages are attached as Exhibit C. This attorney wished to provide
alleged evidence that he stated would assist in her case. The attorney provided spreadsheets with evidence against
Murrow’s trucking company to Feldman Shepherd. When Mrs. Peterson reached out to that same attorney later for
assistance with this very issue, he advised that he had since become co-counsel with Feldman Shepherd in another
case and could not help her. He then forwarded that communication to Feldman Shepherd. A copy of that text exchange
and email is attached as Exhibit D. Feldman Shepherd never reviewed the evidence provided, or indeed any other
evidence, with Sheila Peterson. They never disclosed or discussed the upcoming mediation with her. Finally, Feldman
Shepherd never disclosed to Sheila Peterson that they had co-counsel who concurrently had a multi-vehicle accident
case involving the very same defendant, and whether that separate representation would have any potential impact
upon her case, how it was handled, or the representation.
7
 There were other facts, for example, that an eyewitness who previously passed Brandon’s track on the roadway was
able to easily avoid hitting Brandon, just prior to the accident. There was nothing in Mrs. Peterson’s mind that
suggested this was not a case for trial.

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explanation as to the actual result, it would have been extremely clear to Feldman Shepherd that

Plaintiff had no intention of doing anything but going to trial with the defendants. The first effort

to fully and clearly communicate the impact of the alleged settlement came when Feldman

Shepherd delivered the release to Mrs. Peterson. After she indicated that she would not execute

the release, Feldman Shepherd began requesting via text message that Plaintiff give her affirmative

written consent to the alleged settlement. Mrs. Peterson did communicate her grave concerns and

contrary beliefs to Feldman Shepherd, as evidenced by an email attached hereto as Exhibit E.

        On April 10, 2023, Feldman Shepherd sent a text message to Brook Peterson, advising that

the demand for policy limits had been accepted and also noting the UIM carrier had agreed to

tender the policy limits. A copy is attached hereto as Exhibit F. On or about April 25, 2023,

Feldman Shepherd again reached out to Brook Peterson, this time noting that they did not have

much time to speak but that, for the first time, “we really need to make sure that you guys (Sheila)

understands the process.” A copy of that text is attached as Exhibit G.

        On or about May 24 2023, Feldman Shepherd indicated that various documents including

a settlement and release would be sent to Brook Peterson, via text message. A copy of that text

message is attached hereto as Exhibit H. Upon review of the settlement and release, several issues

in contention were made immediately clear to Plaintiff: (1) Feldman Shepherd had allegedly settled

the entire case and wanted Plaintiff to release the defendants from all further liability, without trial;

(2) Feldman Shepherd was claiming a contingency fee of 37.5%, when Plaintiff executed a retainer

agreement setting forth 33 1/3%; and (3) Feldman Shepherd believed they were entitled not only

to 37.5% of the settlement with the defendants in this matter, but also 37.5% of an additional

$600,000.00 under a policy of underinsured motorists coverage held by the Petersons. Sheila

Peterson completely disagreed with all of these things, most critically, the alleged settlement and



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release, and therefore immediately refused to execute the release. Tellingly, when Feldman

Shepherd followed up via text message with the documents on May 31, 2023, Brook Peterson

flatly responded “We need [to] talk.” A copy of an affidavit from Brook Peterson is attached hereto

as Exhibit I.

    II.       ISSUES BEFORE THE COURT

           First Issue: Whether there is an enforceable settlement before the court.

           Short Answer: No. Feldman Shepherd, as former counsel to Plaintiff, did not have
           Plaintiff’s express authority to enter a full and final settlement.

           Second Issue: If there is an enforceable settlement, is Feldman Shepherd entitled to a fee
           of 37.5% of $2,600,000.00?

           Short Answer: No. Plaintiffs never agreed to a contingency fee of 37.5% and also never
           agreed, nor would have agreed, that Feldman Shepherd should recover from the Peterson’s
           underinsured motorist policy.

    III.      ARGUMENT

              a. There is no enforceable settlement in this case because Feldman Shepherd did not
                 obtain and ensure Plaintiff’s express consent to full and final settlement, and under
                 the circumstances Plaintiff did not acquiesce in the settlement.

           “Authority is the power of the agent to affect the legal relations of the principal by acts

done in accordance with the principal's manifestations of consent to him.” Restatement (Second)

of Agency § 7 (1958) (emphasis added). While authority may take several forms, in looking to

Pennsylvania precedent, federal and state courts have “stated in no uncertain terms that an attorney

must have express authority to settle a cause of action.” Covington v. Cont'l Gen. Tire, Inc., 381

F.3d 216, 219 (3d Cir. 2004) (citation and internal quotation omitted).

                  The law in this jurisdiction is clear and well-settled that an attorney
                  must have express authority in order to bind a client to a settlement
                  agreement. The rationale for this rule stems from the fact that parties
                  settling legal disputes forfeit substantial legal rights, and such rights
                  should only be forfeited knowingly. As such, a client's attorney may
                  not settle a case without the client's grant of express authority, and

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               such express authority can only exist where the principal
               specifically grants the agent the authority to perform a certain task
               on the principal's behalf.

               As a result, if the existence of a settlement is in dispute because it is
               claimed that the attorney lacked authority to bind his client, the
               attorney's authority ... to bind [his] client by way of agreement or
               compromise is not inferred, but must be proven.

       King v. Driscoll, 296 A.3d 1178, 1184 (Pa. Super. Ct. 2023) (citation and internal quotation

omitted) (emphasis added). Where the existence of express authority to settle is in dispute, “that

determination belongs to the trial court.” Id. at 1185. Where, as here, the case stands to be reopened

and there is a dispute concerning settlement, the trial court must hold a hearing. See Garabedian

v. Allstates Eng'g Co., Div. of Allstates Design & Dev. Co., Inc., 811 F.2d 802, 803-04 (3d Cir.

1987); Brannam v. Reedy, 906 A.2d 635, 638-641 (Pa.Cmwlth. 2006).

       Express authority is more than apparent or implied authority. While apparent or implied

authority may give attorneys some autonomy in making more routine judgments on behalf of their

clients, the settlement of a dispute always requires the client’s extension of express authority. See

Covington v. Cont'l Gen. Tire, Inc., 381 F.3d 216, 219, 220 (3d Cir. 2004) (“Although . . . the

authority granted an attorney by virtue of his/her office is broad and includes the authority to bind

his/her clients by admissions and acts in the course of suit or in the management of the regular

course of litigation, . . . such apparent or implied authority does not extend to unauthorized acts

which will result in the surrender of any substantial right of the client, or the imposition of new

liabilities or burdens upon him.”). Apparent authority only applies where, rather than

communicating express authority to settle to their own counsel, the client communicates their

attorney’s authority to settle to the opposing counsel. See id. at 220 (“[I]n order for the doctrine of

apparent authority to apply, the facts must show that the plaintiffs (principals)

communicated directly with defense counsel, making representations that would lead defense

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counsel to believe that the plaintiffs' attorney had authority to settle the case.”). In any event, the

ability of an attorney to settle must always proceed from the client’s expressly cloaking her counsel

with such authority.

         In like manner to the above, absent fraud by former counsel, a settlement cannot be found

merely because the defendant relied upon the perceived authority of former counsel in entering

settlement, and where settlement has not be finalized. See Brannam v. Reedy, 906 A.2d 635, 639

(Pa.Cmwlth. 2006); Reutzel v. Douglas, 870 A.2d 787, 793 (Pa. 2005).8 Ultimately,

“[e]xpress authority exists         [only]     where      the     principal     deliberately       and     specifically

grants authority to the agent as to certain matters.” Walton v. Johnson, 66 A.3d 782, 786 (Pa. Super.

Ct. 2013) (emphasis added) (bracketed text added). See Tiernan v. Devoe, 923 F.2d 1024, 1033 (3d

Cir. 1991) (“Express authority empowers an attorney to settle a client's claim; it does not arise

merely from the fact of representation, but must be the result of explicit instructions regarding

settlement.”).9

         In interpreting the extension of authority, or not, two interpretative principals may also

control – acts and acquiescence. See Restatement (Second) of Agency § 42 (1958) (“If the

authorization is ambiguous, the interpretation acted upon by the parties controls.”) and id. at § 43

(“Acquiescence by the principal in conduct of an agent whose previously conferred authorization




8
 The case law appears to separate questions related to contract formation and enforcement from the question of express
authority to enter the settlement in the first place. See Baribault v. Zoning Hearing Bd. of Haverford, 236 A.3d 112,
122 (Pa. Cmwlth. 2020) (separately discussing meeting of the minds and other principals of contract formation from
express authority of counsel to settle). This approach is supported by the other case law cited above, which appears to
hold the innocent opposing party as more of a third party to the dispute between former counsel and former client
concerning authority to settle, absent a showing that former counsel committed fraud and or that former client
acquiesced in the settlement for a significant period of time. See Brannam, supra and Reutzel, supra.
9
  The decision in Tiernan, supra was likely abrogated by Reutzel, supra, but only because Tiernan allowed for the
injection of apparent authority in the settlement of cases, because Reutzel clarified that only express authority will do,
that holding in Tiernan is not good law. The Tiernan court’s pronouncement regarding express authority remains good
law.

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reasonably might include it, indicates that the conduct was authorized; if clearly not included in

the authorization, acquiescence in it indicates affirmance.”).

        Plaintiff did not locate any case law specifically concerning a lack of express authority for

settlement based upon Plaintiff’s lack of understanding concerning the impact of a policy limits

demand to an insurer. However, this fact alone makes certain things clear. First, Feldman Shepherd

did not adequately explain the impact of a policy limits demand to Plaintiff. Second, if Feldman

Shepherd did not make an adequate explanation of the impact of a policy limits demand, especially

given the rights being lost, then there is no way that Plaintiff could have manifested to Feldman

Shepherd the requisite expression of authority to settle this case fully and finally. Third, if Plaintiff,

in relying on her former counsel, understood that a “policy limits demand” did not mean a full and

final settlement with the defendants, then Plaintiff could not acquiesce in such settlement until the

full impact was apparent. In this case, that is exactly what happened when Plaintiff received the

release and, upon reviewing the same, she understood for the first time what was occurring, and

voiced her disagreement.

            b. Even if a settlement exists, Feldman Shepherd is not entitled to a 37.5% fee and or
               is not entitled to take any fee from the proceeds of the Peterson’s underinsured
               motorist policy, because the Peterson’s did not agree to a 37.5% fee or to any fee to
               be taken from their underinsured motorist policy.

        This Court has previously recognized jurisdiction to address contingent fee disputes. See

ECF No. 51 (citing Novinger v. E. I. Du Pont de Nemours & Co., 809 F.2d 212, 217 (3d Cir. 1987)).

Here, there is simply a dispute of fact regarding what the contract signed by the Peterson’s said at

the time it was signed. First, the contract presented to the Peterson’s clearly did not start out saying

37.5%. That was added. Second, that material alteration was not made by the Petersons. Third, that

material alteration was not agreed to and not initialed by the Petersons. Fourth, the Petersons met

with Feldman Shepherd in person, but were never supplied with a copy of their agreement. Fifth,

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the agreement says nothing about the Petersons underinsured motorist coverage and given the

magnitude of the loss suffered by the Petersons, they would never have agreed, nor did they agree,

to include the significant sum of that coverage under the agreement with Feldman Shepherd.

Finally, Feldman Shepherd is obviously the scrivener of this agreement.

         The Petersons agree that they signed a contingency fee with Feldman Shepherd for the sum

of 33 1/3% with regard to the proceeds of the wrongful death case, nothing more and nothing less.

   IV.      CONCLUSION

         Plaintiff, Sheila K. Peterson, in her capacity as Administratrix of the Estate of Brandon C.

Peterson, and individually, does hereby respectfully request that this Court:

            a. schedule an evidentiary hearing upon the Motion for Settlement and, following that

                hearing, that this Court find that Feldman Shepherd did not have Plaintiff’s express

                authority to settle, and as such, there is no settlement in this case; or

            b. schedule an evidentiary hearing and, if the court should find that a settlement

                occurred, that the Court reduce the fee of Feldman Shepherd to 33 1/3% and further

                declare that Feldman Shepherd has no right to any of the proceeds, however or

                whenever obtained, of Plaintiff’s UIM policy.


                                                        Respectfully submitted,

                                                        /s/ George C. Miller Jr.
                                                        George C. Miller Jr., Esquire
                                                        PA ID #316191

                                                        110 E Pittsburgh Street
                                                        Greensburg, PA 15601
                                                        Phone: (724) 838-8600
                                                        Fax: (724) 838-8601
                                                        Email: george@goldleaflaw.com




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                              CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Brief was served upon the following persons by

electronic service using the CM/ECF system:

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                                 James M. Girman, Esquire
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                                   Fox Rothschild LLP

                               Counsel for Feldman Shepherd




                                                  By: /s/ George C. Miller Jr.
                                                  George C. Miller Jr., Esquire
                                                  PA ID #316191




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                                                                  Daniel J. Mann
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                                                                                  Shareholder
                                                                                  Telephone: 215.567.8300
                                                                                  Fax: 215.567.8333
                                                                                  dmann@feldmanshepherd.com
                                                                                  Also Member NJ, TX Bar




                                                   March 10, 2023

    VIA EMAIL AND REGULAR MAIL

    Mr. and Mrs. Brook Peterson
    2095 Kingview Road
    Scottdale, PA 15683

           RE:     Estate of Brandon Peterson

    Dear Sheila and Brook:

            We just wanted to confirm in writing the discussions that we recently had regarding the
    available insurance coverage applicable to this case, the upcoming court required mediation, and
    issuing a demand for the available policy limits, which total $2 million.

            As we mentioned, this case has been removed to Federal Court and assigned to Judge
    Christy Wiegand. Judge Weigand requires all civil litigants to enter into a mediation process
    within sixty days of our initial conference with the Court, which has been scheduled for March 17,
    2023. As we previously discussed, we do not believe the amount of available insurance from the
    trucking company provides adequate coverage for this claim. In advance of mediation, where we
    will be required to issue a demand for resolution of this case, the most effective way of potentially
    achieving a result in excess of the available insurance coverage is to make a “policy limits demand”
    and require that the policy limits be tendered within a relatively brief period of time. The window
    of time within which they must be tendered must be “reasonable;” thus, at a minimum, we believe
    that the policy limits demand must remain open for at least a minimum of forty-five to sixty days.

            As we discussed, if Hudson Insurance (the insurance carrier for Murrow’s Transfer and
    Logan Denny) does not tender their policy limits, there is a possibility of recovering additional
    sums from the insurance company directly in the event the case went to trial and we achieved a
    verdict in excess of the available coverage. But, as we discussed, there is always a chance that the
    carrier will end up tendering the policy limits in response to our demand. If they choose to tender
    the policy limits if they are tendered within the window of time that we represent the policy limits
    demand to be available, we must agree to accept the policy limits to settle the case.

            We also discussed with you the available options of what could occur if we chose not to
    make a policy limits demand. If we just proceeded to go through the discovery phase and to trial
    without a policy limits demand, it is very likely that the Judge would essentially force us to accept
    the policy limits at a later point in time in the case. Additionally, if we achieve a verdict in excess
    of the policy limits at trial, without ever making a policy limits demand and having it been rejected




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by the carrier, it is doubtful that Murrow’s Transfer would have assets that would satisfy such a
verdict and we would not have the opportunity to pursue a claim against the carrier.

         Per your request, we enclose a copy of the policy limits demand letter that we intend to
send to counsel for Murrow’s and Mr. Denny. We appreciate your trust and faith in us, and believe,
as we discussed, that this course of action is the most prudent one to follow given all of the facts
and circumstances of this tragic case. Either we end up with a failure of the carrier to tender the
policy limits, and essentially have the possibility of recovering a greater amount following trial, or
we end up with the policy limits being tendered, and a savings to you of the rather significant costs
of litigation (especially when trial in this matter, coupled with expert depositions, will likely run
into the hundreds of thousands of dollars).

       We will keep you apprised of any developments.



                                               Very truly yours,


                                               Daniel J. Mann

DJM/ch
Enclosure




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From: Alan M. Feldman <afeldman@feldmanshepherd.com>
Sent: Monday, August 14, 2023 4:41 PM
To: Edward Ciarimboli <ejc@fclawpc.com>
Subject: RE: Estate of Paterson v. Murrow

Thanks for letting me know, Ed.

From: Edward Ciarimboli <ejc@fclawpc.com>
Sent: Monday, August 14, 2023 4:36 PM
To: Alan M. Feldman <afeldman@feldmanshepherd.com>; Edward Ciarimboli <ejc@fclawpc.com>
Subject: Estate of Paterson v. Murrow

Alan,
I hope that you are doing well. I received this from Ms. Paterson. If she reaches out again I will let you know.




Ed Ciarimboli
Fellerman & Ciarimboli
ejc@fclawpc.com

Sent from my iPad



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Cheryl Herling

From:                       Daniel J. Mann
Sent:                       Tuesday, August 8, 2023 7:44 PM
To:                         AMF Team
Subject:                    Fwd: Allan


CH psis

Sent from my PDA. Please pardon brevity and typographical errors.


                                        Daniel J. Mann
                                        Shareholder
                                        Also Member NJ, TX Bar
                                        dmann@feldmanshepherd.com
                                        1845 Walnut Street - 21st Floor
                                        Philadelphia, Pennsylvania 19103
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                                        P. 215.567.8300 F. 215.567.8333


 This electronic mail transmission contains confidential information intended only for the person(s) named. Any use, distribution, copying, or
 disclosure by another person is strictly prohibited.



Begin forwarded message:

From: S P <sheilakpeterson@yahoo.com>
Date: August 7, 2023 at 8:41:18 AM EDT
To: S P <sheilakpeterson@yahoo.com>, "Daniel J. Mann" <dmann@feldmanshepherd.com>
Subject: Re: Allan


   This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and know the
   content is safe.




Sent from Yahoo Mail for iPhone

On Sunday, August 6, 2023, 10:34 PM, S P <sheilakpeterson@yahoo.com> wrote:


          So where to start, when I met you my life was in shambles I just had the most traumatic thing that could
          ever happen to any parents. The life of my child, was taken from me.
          I met with you when I was still traumatized and wasn’t able to make decisions as to any ordinary life
          activities.
          I remember talking to you, initially on the phone stating you would do everything that you could to
          make the trucking company be held accountable for
          Us to get justice for a Brandon. You went on and on telling me that Brandon was a person and that he
          deserves a fight. You told me you wasn’t about the insurance money that a company carries but you
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were seen that all of the things that Brandon should of been able to enjoy and life and to have would be
compensated for. You said the livelihood that he would of made in his life you would be asking for.
Remind you he was 18, far from the expected lifespan of a male. You told us you would make sure we
were compensated for the years we were at a loss from not having the love and companionship of our
child and his offspring.I was relieved that an attorney was going to fight for my family.
So we agreed to meet.We did. We thought we were in good hands.
Well months went by and the only contact I ever truly had from you or your firm was we need the
phone, we need you to sign release form and we need you open an estate. Which I did. And I know I did
these things probably not as fast as you wanted. Each item you wanted me to do was hurting me in my
mental state more and more. Each thing I was burying my son over and over again. I did finally get all
those things done for you. And then nothing was heard for months at a time. I remember always telling
you I want the man who took my son’s life to be charged and you told me this is how you need to do it.
We need to win your case so that you could have that chance.
I believed you, why wouldn’t I, after all you promised to do everything to get us justice or some
type closure. I spoke to you or a part of your team I can say about 4‐6 times after you received
everything from me.
Wow, not a lot. I still had hope. You said you would be letting us show a video how our life has been
devastated by the loss of our son, the loss of my other children brother. You said we would be able to
give our testimony in court. We never went to court.
Why, didn’t we go to court. You said it’s not in our best interest. You could get us a settlement of 2
million that would be the best option. Of course I still was opposed to that. And just to state no talk up
to this who point was ever stated about our insurance. And the few times I was on a call I always stated
when do we contact State Farm again and you meaning who ever was on the call would brush me off by
saying don’t worry about that. Well the reason I stated that multiple times was I didn’t need you taking
a portion out of our insurance money that we had paid into for years.
By the way my initial phone call with you and the in person meeting with you you stated 8 figure
settlement you would be getting us. Money was never want I was concern about in this at all. But I lost
my son. You didn’t lose your son and I don’t believe that my attorneys should be profiting off of the loss
of my son.
Do I feel that you should be getting an amount from our insurance company absolutely not. I never
believed you were handling that. The contract that I finally receive only this month had edits made that I
didn’t even initial all modifications or alterations of a contract needs to be initial, and then when you
spoke to me you said that the fee of 331/3 would not of been my fee because that wasn’t the contract
you normally use. What that’s the contract you brought. I have no recollection of giving you a 4.167%
increase in pay from the start. That’s ludicrous. Also, my whole intent since the start was to press
charges against the man, that destroyed my life and by signing the release not only am I giving you more
fees than I believe we hired you for but also releasing him from any other consequences.
You also so you would have the company reimburse the fees of our burial services yet I never heard of
that.
I didn’t have this money 31 months ago , what I did have was my son.
So yes there are some issues we need to come to agreement. I hope you understand my views on this.



Sent from Yahoo Mail for iPhone




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                                                           C. SMITH




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                            December 13, 2023

Re: Sheila Peterson, as Adminsitratrix of the Estate
    of Brandon C. Peterson v. Murrow’s Transfer, Inc., et al.
    Docket No.: 2:23-cv-136-CCW (PAWD)

         WRITTEN REPORT BY RYAN H. JAMES, ESQUIRE
             PURSUANT TO FED.R.CIV.P. 26(a)(2)(B)

  1. Introduction.

     The Court and the parties are familiar with the factual and
procedural background of the case. I do not rehash that here. For my
purposes, the relevant facts for this report follow.

      On March 10, 2023, two years, two months, and five days after the
Petersons signed a contingency-fee agreement with Feldman Shepherd
pertaining to the wrongful death of their son, Brandon, Feldman
Shepherd shareholder, Daniel J. Mann, Esquire, writes a confirmatory
letter to the Petersons memorializing discussions “recently had” about
(1) “available insurance coverage,” (2) “the upcoming court required
mediation,” and (3) “issuing a demand for the available policy limits.”
This letter is a day after Attorney Mark A. Martini, counsel for the
Petersons’ insurer, State Farm, tenders $600,000 in UIM coverage.

      The March 10 letter is sent to the Petersons via e-mail and
regular mail. It purports to include another letter, dated the same day,
addressed to defendants’ counsel, James M. Girman, Esquire, which is
said to be “the policy limits demand letter.”

      These letters follow 78 days after a Complaint is filed in the
Allegheny County Court of Common Pleas; 42 days after removal of
that suit to this Court; and 1 day after filing the Stipulation Selecting



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ADR Process. Additionally, these letters post-date by 129 days an
assets-evaluation report conducted by Orlowski and Associates, on a
“rush basis,” informing Feldman Shepherd that—

      Based on available information we feel that if the subject
      concern [Murrow’s Transfer, Inc.] has failed to maintain
      adequate insurance, they would have additional assets.

     The March 10 letter, in relevant part, communicates to the
Petersons the following, which informs my opinion:

   1) The Petersons “will be required to issue a demand for resolution.”

   2) The “most effective way of potentially achieving a result in excess
      of the available insurance coverage is to make a ‘policy limits
      demand’ and require that the policy limits be tendered within a
      relatively brief period of time.”

   3) “[T]here is always a chance that the carrier will end up tendering
      the policy limits in response to our demand. If they choose to
      tender the policy limits if they are tendered within the window of
      time that we represent the policy limits demand to be available,
      we must agree to accept the policy limits to settle the case.”

   4) “If we just proceeded to go through the discovery phase and to
      trial without a policy limits demand, it is very likely that the
      Judge would essentially force us to accept the policy limits at a
      later point in time in the case.”

   5) “Additionally, if we achieve a verdict in excess of the policy limits
      at trial, without ever making a policy limits demand and having it
      been rejected by the carrier, it is doubtful that Murrow’s Transfer
      would have assets that would satisfy such a verdict and we would
      not have the opportunity to purse a claim against the carrier.”

     The question to be resolved by the Court as the factfinder, after
assessing the credibility of the competing witnesses, is whether Sheila



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Peterson made a decision to settle. This report does not tread into the
Court’s domain or express an opinion on what events transpired or
whether Mrs. Peterson, in fact, decided to settle. What this report
offers an opinion about, however, is whether Mrs. Peterson was
possessed with “reasonably adequate” information to make an informed
decision as to settlement and to negate any otherwise stated objective to
proceed to trial.

      Bearing the above material facts in mind, I now offer my opinion.
   2. Statement of Opinions and Reasons for Them.

   A. Feldman Shepherd’s letter of March 10, 2023, to Mr. and
      Mrs. Peterson, is a less-than-clear communication
      complicating the client’s ability “to make informed
      decisions regarding the representation.”

      The Rules of Professional Conduct (RPC) instruct that lawyers are
obligated to “abide by a client’s decisions concerning the objectives of
representation and, as required by Rule 1.4, shall consult with the
client as to the means by which they are to be pursued.” RPC 1.2(a).
Tied up in the lawyer’s obligations to the client’s objectives of
representation, it is fundamental that “a lawyer shall abide by a client’s
decision whether to settle a matter.” Id.

      Communication is key in all of this. The sort of communication
necessary is not a communication foreign to the client—be it
linguistically or technically—but a communication “reasonably
necessary to permit” the client to make “informed decisions.” RPC
1.4(b).

     The Comments to Rule 1.4 of the Rules of Professional Conduct
elaborate on what that sort of communication looks like.




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                                Explaining Matters

      [5] The client should have sufficient information to participate
      intelligently in decisions concerning the objectives of the
      representation and the means by which they are to be
      pursued, to the extent the client is willing and able to do so.
      Adequacy of communication depends in part on the kind of
      advice or assistance that is involved. For example, when there
      is time to explain a proposal made in a negotiation, the lawyer
      should review all important provisions with the client before
      proceeding to an agreement. In litigation a lawyer should
      explain the general strategy and prospects of success and
      ordinarily should consult the client on tactics that are likely
      to result in significant expense or to injure or coerce others.
      On the other hand, a lawyer ordinarily will not be expected to
      describe trial or negotiation strategy in detail. The guiding
      principle is that the lawyer should fulfill reasonable client
      expectations for information consistent with the duty to act in
      the client's best interests, and the client's overall
      requirements as to the character of representation. In certain
      circumstances, such as when a lawyer asks a client to consent
      to a representation affected by a conflict of interest, the client
      must give informed consent, as defined in Rule 1.0(e).

      [6] Ordinarily, the information to be provided is that
      appropriate for a client who is a comprehending and
      responsible adult. However, fully informing the client
      according to this standard may be impracticable, for example,
      where the client is a child or suffers from diminished capacity.
      See Rule 1.14. When the client is an organization or group, it
      is often impossible or inappropriate to inform every one of its
      members about its legal affairs; ordinarily, the lawyer should
      address communications to the appropriate officials of the
      organization. See Rule 1.13. Where many routine matters are
      involved, a system of limited or occasional reporting may be
      arranged with the client.

RPC 1.4, Comments [5], [6].


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     Under Rule 1.4(b), the phrase “informed decisions” is not specially
defined under the Rules of Professional Conduct like “informed
consent.” See RPC 1.0(e) (“Informed consent” denotes the consent by
a person to a proposed course of conduct after the lawyer has
communicated adequate information and explanation about the
material risks of and reasonably available alternatives to the proposed
course of conduct.”). However, the two phrases share commonality with
one another. Indeed, the Comments to the Rules of Professional
Conduct intertwine the phrase “informed decisions” when elaborating
upon the term of art, “informed consent.”

                              Informed Consent

      [6] Many of the Rules of Professional Conduct require the
      lawyer to obtain the informed consent of a client or other
      person (e.g., a former client or, under certain circumstances,
      a prospective client) before accepting or continuing
      representation or pursuing a course of conduct. See, e.g.,
      Rules 1.2(c), 1.6(a), 1.7(b), 1.8(a)(3), (b), (f) and (g), 1.9(a) and
      (b), 1.10 (d), 1.11(a)(2) and (d)(2)(i), 1.12(a) and 1.18(d)(1). The
      communication necessary to obtain such consent will vary
      according to the Rule involved and the circumstances giving
      rise to the need to obtain informed consent. The lawyer must
      make reasonable efforts to ensure that the client or
      other person possesses information reasonably
      adequate to make an informed decision. Ordinarily,
      this will require communication that includes a
      disclosure of the facts and circumstances giving rise to
      the situation, any explanation reasonably necessary to
      inform the client or other person of the material
      advantages and disadvantages of the proposed course
      of conduct and a discussion of the client's or other
      person's options and alternatives. In some circumstances
      it may be appropriate for a lawyer to advise a client or other
      person to seek the advice of other counsel. A lawyer need not
      inform a client or other person of facts or implications already
      known to the client or other person; nevertheless, a lawyer


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      who does not personally inform the client or other
      person assumes the risk that the client or other person
      is inadequately informed and the consent is invalid. In
      determining whether the information and explanation
      provided are reasonably adequate, relevant factors include
      whether the client or other person is experienced in legal
      matters generally and in making decisions of the type
      involved, and whether the client or other person is
      independently represented by other counsel in giving the
      consent. Normally, such persons need less information and
      explanation than others, and generally a client or other
      person who is independently represented by other counsel in
      giving the consent should be assumed to have given informed
      consent.

RPC 1.0, Comment [6] (emphasis added).

      On the whole, for a client to provide either “informed consent” or
to make an “informed decision,” “a discussion of the client’s . . . options
and alternatives” is necessary. See id. And whether that discussion is
“reasonably adequate,” it must be considered whether the client “is
experienced in legal matters generally and in making decisions of the
type involved.” Id.

      With the Petersons being legally untrained and unaccustomed to
the matters at hand, as I understand it, the letter of March 10, 2023,
provided the false impression that their “options and alternatives” were
really none—other than to make a “policy limits demand.” I say that
because of these excerpts of that letter:

            In advance of mediation, where we will be required to
      issue a demand for resolution of this case, the most effective
      way of potentially achieving a result in excess of the available
      insurance coverage is to make a “policy limits demand.”

                              *     *     *
           If we just proceeded to go through the discovery phase
      and to trial without a policy limits demand, it is very likely


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      that the Judge would essentially force us to accept the
      policy limits at a later point in time in the case.

                                  *     *      *
             [I]f we achieve a verdict in excess of the policy limits at
      trial, . . . it is doubtful that Murrow’s Transfer would have
      assets that would satisfy such a verdict . . . .

      In the first instance, the Petersons are being told that they “will
be required to issue a demand for resolution.” They’re told the most
effective way of getting “a result in excess of the available insurance” is
“to make a policy limits demand.” Then, in the next instance, the
Petersons are told that if they proceed “without a policy limits demand,”
then the authority figure presiding over the whole process—i.e. “the
Judge”—will “essentially force” the acceptance of policy limits later. All
of that is conveyed in a context where the Petersons are told that it's
doubtful that Murrow’s Transfer would have assets that would satisfy a
verdict in excess of the policy limits demand.1

      Apart from the portion of the letter stating what the Judge would
“force” in terms of accepting policy limits being legally incorrect,
because “a Plaintiff’s right to jury trial is guaranteed by the Seventh
Amendment . . . . [and] a judge may not coerce a settlement, or force a
party to make an offer at a settlement conference,” see Griego v.
Douglas, 264 F.Supp.3d 1109, 1112 (D.N.M. 2017) (citations omitted),
the impression given—even to the legally trained (including the
undersigned)—is that there is really but one option: to make a policy
limits demand.

      This is not a clear communication discussing “options and
alternatives” which empower laypersons, like Mrs. Peterson, with
“reasonably adequate” information “to make informed decisions

1 Feldman Shepherd’s own assets-evaluation report of November 1, 2022, albeit

rushed, signaled that Murrow’s Transfer “would have additional assets.” The
Petersons seemingly were not apprised of that fact but were told otherwise—i.e.,
that it’s doubtful that Murrow’s Transfer “would have assets that would satisfy
such a verdict” (in excess of the policy limits).


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regarding the representation.” See RPC 1.0, Comment [6]; RPC 1.4(b).
The communication, in my opinion, falls short of the sort of
communication envisioned by Rule 1.4(b), leaving the distinct
impression that a “policy limits demand” is just an inevitable part of the
process. That failure of communication, of course, serves to undermine
the allocation of authority inherent in the attorney-client relationship,
whereby the client (principal) sets the objectives, and the lawyer (agent)
abides accordingly.

      The instant communication has the effect of obfuscating the
Petersons’, but specifically Mrs. Peterson’s, “options and alternatives,”
and, insofar as it does, it runs afoul of Rule 1.4(b) and accordingly
impacts Mrs. Peterson’s ability “to make informed decisions regarding
the representation.” That, in turn, ultimately affects, in my opinion,
the allocation of authority envisaged by Rule 1.2

   3. Facts and Data Considered.

     I have thoroughly reviewed the following docket entries, exhibits
attached thereto, and other ancillary materials as noted:

         • Docket Report, 2:23-cv-136-CCW (as of 12/7/23)

         • ECF 1: Notice of Removal

         • ECF 10: Answer and Affirmative Defenses

         • ECF 14: Stipulation Re: ADR Process

         • ECF 17: Order Referring Case to Mediation

         • ECF 22: Notice of Settlement, 5/26/23

         • ECF 24: Joint Status Report

         • ECF 26: Joint Status Report

         • ECF 28: Motion for Settlement, 8/11/23


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         • ECF 32: Motion for Extension of Time

         • ECF 35: Br. in Support of Petition to Settle (Feldman
           Shepherd)

         • ECF 38: Motion for Extension of Time

         • ECF 40: Br. in Support of Petition to Settle (Murrow’s
           Transfer)

         • ECF 42: Br. in Opposition to Plaintiff’s Motion to Compel

         • ECF 47: Br. in Support of Motion for Extension

         • ECF 48: Motion to File a Sur-Reply in Opposition to Motion
           to Compel

         • ECF 49: Response to Motion to File a Sur-Reply

         • ECF 52: Response to Motion for Settlement

         • ECF 53: Br. in Opposition to Motion for Settlement

         • ECF 55: Motion for Leave to File Reply Brief in Support of
           Motion for Settlement

         • ECF 57: Reply Brief in Support of Motion for Settlement

         • ECF 63: Correspondence of Fox Rothschild, 11/21/23

         • ECF 66: Feldman Shepherd Witness List

         • ECF 67: Plaintiff Witness List

         • ECF 70: Motion to Extend Deadline




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         • Plaintiff’s Confidential Position Letter to the Hon. Christy
           Criswell Wiegand, 3/14/23

         • E-mail Thread between Atty. James M. Girman and Atty.
           Edward Goldis, 4/7/23 to 4/12/23, with Affidavit Re: Policy
           Limits

         • E-mail from Sheila Peterson to Atty. Daniel J. Mann, 8/6/23

         • Text Message Thread, beginning 3/6/23 to 7/14/23, between
           Atty. Daniel J. Mann and Mr. Brook Peterson

         • Letter from Atty. Alan M. Feldman to Brook and Sheila
           Peterson, 7/25/23

         • Revised Statement of Distribution, 7/27/23


   4. Relevant Exhibits

       I have considered the following documents relevant to this report,
all of which are exhibits contained within the above docket entries
except the Assets Evaluation:

         • Contingent Fee Agreement, 1/5/20

         • Assets Evaluation by Orlowski and Associates, 11/1/22

         • Feldman Shepherd Letter to Atty. James M. Girman, 3/10/23

         • Feldman Shepherd Letter to Mr. and Mrs. Brook Peterson,
           3/10/23


   5. Qualifications.

      My curriculum vitae accompanies this report.



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   6. Cases Qualified as Expert (past 4 years).

      None.

   7. Statement of Compensation for Study and Testimony.

      I have requested a retainer of $3,000.00 to be billed against at an
hourly rate of $300/hour for my study relative to the case materials,
legal research, and testimony to be provided in this case.

     I hold the opinions recited herein to a reasonable degree of
professional certainty.

                                    Respectfully submitted.



                                    _____________________________
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                                    412-896-1321 (Fax)
                                    ryan@rhjameslaw.com




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PROFESSIONAL EXPERIENCE

James Law, LLC, White Oak, Pennsylvania                                           July 2012-Present

                               Owner/Trial & Appellate Lawyer

• Represent clients in state and federal courts, in both criminal and civil proceedings pending
  before trial and appellate tribunals.

Representative matters include:

   • Sole or chief trial counsel in 24 jury and non-jury trials tried to verdict. Sole or chief trial
     counsel in at least eight “significant cases,” which are cases tried to verdict before a jury in
     matters where the highest graded offenses is punishable by a minimum of 10 years’
     imprisonment.

   • Capital-qualified counsel in the Commonwealth of Pennsylvania. Presently, capital
     counsel in the Court of Common Pleas of Washington County.

   • Member of the Criminal Justice Act (CJA) Panel, PAWD, since 2019. CJA counsel in over
     45+ matters. Tried two jury trials to verdict in the Western District of Pennsylvania: USA v.
     Landfried, 2021 (Ranjan, J.); USA v. Peters, 2022 (Schwab, J).

   • Represented 1,000+ clients in 19 separate counties throughout the Commonwealth of
     Pennsylvania.

   • Court-appointed counsel in approximately 80+ petitions for post-conviction relief, four of
     which resulting new trials.

   • Appellate counsel in approximately 60 matters, involving the original and appellate
     jurisdictions of the Pennsylvania Supreme, Superior, and Commonwealth Courts, as well as
     the U.S. Supreme Court and the Third Circuit.

           Representative cases: Commw. v. Hamilton, 303 A.3d 823 (Pa. Super.
           2023); Commw. v. Trainer, 287 A.3d 960 (Pa. Commw. 2022); T.S. v.
           PSP, 231 A.3d 103 (Pa. Commw. 2020) (en banc); Interest of MYC, 230

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           A.3d 500 (Pa. Super. 2020); Commw. v. Green, 203 A.3d 250 (Pa. Super.
           2019)(en banc); Commw. v. Durrett King, 195 A.3d 255 (Pa. Super.
           2018); Commw. v. Luketic, 162 A.3d 1149 (Pa. Super. 2017).

   • Chief trial counsel in two Disciplinary hearings before hearing committees of the
     Disciplinary Board of the Supreme Court of Pennsylvania; and chief counsel in four
     Character & Fitness hearings before the Board of Law Examiners.

   • Advise and consult with attorneys, judges, and law students on ethical issues involving the
     Rules of Professional Conduct, Rules of Disciplinary Enforcement, Disciplinary Board
     Rules and Procedures, and the Code of Judicial Conduct.

   • Fmr. Solicitor for East McKeesport ZHB; Fmr. Solicitor for White Oak Borough.

• Responsible for day-to-day business operations, maintenance of 1,000+ client files, and
  supervision of staff.

Law Offices of Patricia L. McGrail, LLC, White Oak, Pennsylvania           Aug. 2011-July 2012

                          Certified Legal Intern/Associate Attorney

• Represented and provided legal counsel to local municipalities, school boards, zoning boards,
  and private clients as part of the firm’s practice areas in Municipal & School Law, Criminal
  Defense, and Civil Litigation.

Michigan Supreme Court, Detroit, Michigan                                   Jan. 2011-Apr. 2011

                   Semester Clerk to the Fmr. Justice Diane M. Hathaway

• Assisted Justice Hathaway and her staff with research and writing needs on cases pending
  before the Supreme Court.

• Responsible for screening Applications for Leave to Appeal, providing analysis for Grant/Deny
  conferences, preparing bench memos for oral argument, and the general opinion-writing
  process.




RECOGNITIONS & INVOLVEMENT

Legal
 • Super Lawyers, Pennsylvania Rising Stars List Selectee, 2018-2024

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 • ACBA, Judiciary Committee Rating (Superior Court), 2019: Recommended, meaning that
   the candidate “possesses the legal ability, experience and temperament to excel as a judge” of
   said court.
 • ACBA Judiciary Committee, 3-Yr. Term, 2023
 • Local Rules Advisory Committee, U.S. District Court, Western District of Pennsylvania,
   2023

Community
 • Pittsburgh City Paper, Pittsburgh’s Finest Profile Series, 2017
 • Trib Total Media Readers’ Choice Silver Award Winner (Mon-Yough)—Best Attorney, 2015
 • The Daily News Readers’ Choice Gold Award Winner—Best Attorney, 2014
 • Pittsburgh’s 50 Finest, Cystic Fibrosis Foundation (Western PA), 2013

Law School
 • Ross Wilkins Graduating Class—Alumni Ass’n Distinguished Student Award
 • Ross Wilkins Graduating Class—The President’s Achievement Award
 • Thomas M. Cooley Student Bar Association—Fitzgerald Student Award
 • Thomas M. Cooley Law Review—John D. Voelker Award
 • Thomas M. Cooley Grade Appeals Board—Earl Dayton Award
 • Certificates of Merit: Adv. Mediation, Adv. Writing, Scholarly Writing, Contracts II


BAR ADMISSIONS

Pennsylvania, 2012
Michigan, 2017
United States Supreme Court, 2021
United States Court of Appeals, Third Circuit, 2014
United States District Court, Western District of Pennsylvania, 2012
United States District Court, Eastern District of Michigan, 2022


EDUCATION

Thomas M. Cooley Law School, Lansing, Michigan                     Degree Conferred: Sept. 2011
Juris Doctor, magna cum laude
       Mng. Assoc. Ed., Law Review

Allegheny College, Meadville, Pennsylvania                         Degree Conferred: May 2007
Bachelor of Arts (Poli. Sci./Phil.), cum laude



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               EXHIBIT
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          23.            Counterparts

          This Agreement may be signed in one or more counterparts, each of which, when signed,

shall be deemed to be an original and all of which taken together shall constitute one Agreement.

Electronic or facsimile signatures shall be treated as original signatures.

          24.            Successors and Assigns

          The Parties agree that this Agreement shall be binding upon any successors and assigns of

any Party.

          IN WITNESS WHEREOF, the Parties have signed this Agreement on the date(s) written

below and the Parties agree to be legally bound by the terms and conditions of this Agreement.



ACKNOWLEDGED AND AGREED:


Sheila K. Peterson, individually and                   Brook P. Peterson
as Administratrix of the Estate of
Brandon C. Peterson

Dated:.                                                Dated:


ACKN            LEDGED        AGREED:


Feldman Shepherd Wohlgelemter
Tanner Weinstock Dodig LLP
By:      /^- 4/v      /^7 -

Title:

Date




                                               16 of 16
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                                                                                          Case ID: 240501357
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                                                           C. SMITH




               EXHIBIT
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                                                               Case ID: 240501357
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                                                               Alan M. Feldman
                                                                               Co-Managing Shareholder
                                                                               Telephone: 215.567.8300
                                                                               Direct Fax: 215-599-1291
                                                                               afeldman@feldmanshepherd.com
                                                                               Certified Civil Trial Advocate,
                                                                               National Board of Trial Advocacy



                                                 October 3, 2023

    VIA EMAIL – CONFIDENTIAL
    COMMUNICATION



           RE:     Estate of Brandon Peterson, deceased v. Murrow’s Transfer, Inc., et al.

    To Whom it May Concern:

    We write to advise of a potential claim pursuant to the terms of our professional liability
    policy.

    On January 5, 2021, our firm was retained by Sheila and Brook Peterson pursuant to a written
    contingent fee agreement to represent them in an action arising from the death of their son,
    Brandon Peterson, on December 22, 2020. On that date, Brandon Peterson was struck by a
    tractor trailer while standing on the shoulder of a roadway next to his pick-up truck which
    had become disabled.

    After litigating the case for more than two years, in March of 2023, and following a series of
    discussions with the clients, both Sheila (the formally appointed Administrator of Brandon
    Peterson’s Estate) and Brook Peterson authorized us to demand the insurance policy limits of
    $2 million from the trucking company defendants to settle the case. Thereafter, we wrote to
    the clients on March 10, 2023, confirming that they had authorized us to demand the $2
    million policy limits to settle the case. The letter was sent by email and first-class mail and
    also enclosed the demand letter sent to defense counsel. Neither Sheila nor Brook Peterson
    contacted us to object to or challenge the content of either letter.

    Shortly thereafter, counsel for the defendants notified us that, in response to our settlement
    demand, the full amount of the $2 million policy limits was being tendered, resulting in a
    settlement of the case against the trucking defendants. Separately, in March of 2023, the
    $600,000 policy limits of Brandon Peterson’s underinsured motorist coverage were tendered.
    Accordingly, by March of this year we had resolved both the third-party trucking case and the
    UIM claim for 100% of the available insurance coverage.

    In July of 2023, the Petersons, for the first time, disputed our entitlement to a fee for recovery
    of UIM insurance benefits. There was no dispute concerning the settlement with the third-
    party trucking company raised at that time. After we advised the clients of our position that
    we were entitled, under the terms of our fee agreement, to a fee on the recovery of the UIM
    proceeds, in August or September, the Petersons then also disputed our entitlement to the full
    contingent fee of 37.5% of the net amount of the third-party recovery from the trucking



                                                                                   Case ID: 240501357
1845 Walnut Street ǀ 21st Floor ǀ Philadelphia ǀ Pennsylvania 19103 ǀ www.feldmanshepherd.com
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October 3, 2023
Page 2

defendants, as provided in the Contingent Fee Agreement. On August 20, 2023, Sheila
Peterson sent an email to us, abruptly discharging our firm as counsel. The following day,
new counsel for Sheila Peterson entered their appearance and submitted an Affidavit from
Ms. Peterson in which she contended, for the first time, that she had not authorized a
settlement with the trucking defendants. Sheila Peterson also now apparently disputes receipt
of our letter to her and Brook Peterson of March 10, 2023 confirming that they had authorized
us to settle the case, even though it was sent by email and first-class mail.

The issue of whether the case has been settled with the Defendants and/or whether our firm
had authority from the plaintiff to settle the case is now before the Honorable Christy Criswell
Wiegand of the United States District Court for the Western District of Pennsylvania, Civil
Action 2:23-CV-00136-CCW. Presently before the Court is our Petition for Approval of the
Settlement, which was filed before we became aware that Ms. Peterson was disputing our
authority to settle the case. Judge Weigand has ordered us to provide our entire case file to
new counsel for plaintiff, which we expect will be accomplished in the next week. We await
further instructions from Judge Weigand as to how the matter will proceed thereafter.

We believe the evidence supports our position that Sheila Peterson and her husband Brook
Peterson expressly authorized us to settle the third-party claim for the policy limit of $2
million. We further believe that the contingent fee agreement providing for a 37.5% net fee
was and is valid. However, because plaintiff is now contending that authority to settle was
not given, and is suggesting at least the possibility of a “professional malpractice action” in
the future (see Plaintiff’s Motion for Extension of Time and Other Relief filed on September
7, 2023), we are providing this notice of a potential claim in the event that the Court
determines that the settlement was not authorized by our former client(s).


                                            Very truly yours,




                                            Alan M. Feldman


AMF/tp
Enclosure
cc:




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                                                  Filed and Attested by the
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                                                           C. SMITH




               EXHIBIT
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Louis Bove

From:                                  Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Sent:                                  Thursday, December 21, 2023 4:18 PM
To:                                    Alan M. Feldman
Cc:                                    charles.caruso@assuredpartners.com; michelle.coleman@assuredpartners.com
Subject:                               Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig LLP/Sheila and Brook
                                       Peterson/AW Ref 2023024408
Attachments:                           Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig LLP-Sheila and Brook
                                       Peterson-NOPC 12.21.2023-AW Ref 2023024408.pdf



   This email originated from outside of the organiza on. Do not click links or open a achments unless you recognize the sender and know the
   content is safe.


Good A ernoon A orney Feldman,

A ached please ﬁnd Allied World’s coverage posi on trea ng this ma er as a No ce of Poten al Claim under your
Policy. We are aware the Firm has retained Fox Rothschild as counsel and there is an eviden ary hearing scheduled for
February 2024. While this does not arise to a Claim under your Policy based on the informa on known at this me, we
agree to reduce the Fox Rothschild legal fees (from the date of tender and going forward) from your SIR in the event this
ma er turns into a covered Claim. Please let me know how the eviden ary hearing in February goes and let me know if
you need anything else in the interim. Have a nice holiday and a happy new year.

Sincerely,
Jaclyn

Jaclyn L. Adorno, Esq.
AVP, North American Claims Group
Allied World Insurance Company
Allied World Specialty Insurance Company
1690 New Britain Avenue, Suite 101
Farmington, CT 06032
T: 860.284.1542
E: jaclyn.adorno@awac.com
W: www.awac.com



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intended recipient, you must not use or disseminate any of this information. If you have received this e-
mail in error, please immediately notify the sender by reply e-mail and permanently delete the original e-
mail (and any attachments hereto) and any copies or printouts thereof. Although this e-mail and any
attachments hereto are believed to be free of any virus or other defect that might affect any computer
system into which it is received and opened, it is the responsibility of the recipient to ensure that it is
virus free and no responsibility is accepted by Allied World Assurance Company Holdings, Ltd or its
subsidiaries or affiliates, either jointly or severally, for any loss or damage arising in any way from its use.




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                                                                                           Jaclyn Adorno, Esq.
                                                                                           AVP, NA Claims Group

                                                                                           V (860)284-1542
                                                                                           F (860)284-1301
                                                                                           E Jaclyn.Adorno@awac.com


VIA E-MAIL AND VIA CERTIFIED MAIL

December 21, 2023

Alan M. Feldman
Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig LLP
1845 Walnut Street, 21st Floor
Philadelphia, PA 19103
afeldman@feldmanshepherd.com

Re:            Insured:             Feldman Shepherd Wohlgelernter Tanner Weinstock &
                                    Dodig LLP
               Insurer:             Allied World Insurance Company
               Policy No.:          0310-8385
               Policy Period:       07/24/2023 to 07/24/2024
               Limit:               $5,000,000
               Retention:           $50,000
               Subject:             Sheila and Brook Peterson
               Ref. No.:            2023024408

Dear Attorney Feldman:

I am writing on behalf of Allied World Insurance Company in connection with the above
referenced matter. As a member of the Allied World group of insurance companies, the
Insurer named in the caption above will be referred to in this letter as “Allied World.” The
purpose of this letter is to provide our initial coverage evaluation under the Lawyers
Professional Liability Policy that Allied World issued to Feldman Shepherd Wohlgelernter
Tanner Weinstock & Dodig LLP (“Firm” or “Insured”) for the Policy Period of July 24, 2023
to July 24, 2024 (the “Policy”). As set forth below, we are treating this matter as Notice of a
Potential Claim.

Your name has been provided as the contact for the Firm in connection with this matter. If
you are not the appropriate person to whom we should be communicating, please provide
us with the name and contact information of the appropriate representative.

To assist you in understanding this letter, we recommend that you review the Policy
together with this letter, which does not modify any terms and conditions of the Policy.
ALLIED WORLD INSURANCE COMPANY              1690 New Britain Avenue   T. 860 284 1300   E. info@awac.com
                                            Suite 101                 F. 860 284 1301   www.awac.com
                                            Farmington, CT 06032
                                            U.S.A.



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    Please note that the words that appear in bold print within this correspondence are
    defined in the Policy.

    SUMMARY OF FACTS:

    On October 3, 2023, the Firm reported this matter to Allied World and advised:

          We write to advise of a potential claim pursuant to the terms of our professional
          liability policy.

          On January 5, 2021, our firm was retained by Sheila and Brook Peterson pursuant to
          a written contingent fee agreement to represent them in an action arising from the
          death of their son, Brandon Peterson, on December 22, 2020. On that date, Brandon
          Peterson was struck by a tractor trailer while standing on the shoulder of a roadway
          next to his pick-up truck which had become disabled.

          After litigating the case for more than two years, in March of 2023, and following a
          series of discussions with the clients, both Sheila (the formally appointed
          Administrator of Brandon Peterson’s Estate) and Brook Peterson authorized us to
          demand the insurance policy limits of $2 million from the trucking company
          defendants to settle the case. Thereafter, we wrote to the clients on March 10, 2023,
          confirming that they had authorized us to demand the $2 million policy limits to
          settle the case. The letter was sent by email and first-class mail and also enclosed
          the demand letter sent to defense counsel. Neither Sheila nor Brook Peterson
          contacted us to object to or challenge the content of either letter.

          Shortly thereafter, counsel for the defendants notified us that, in response to our
          settlement demand, the full amount of the $2 million policy limits was being
          tendered, resulting in a settlement of the case against the trucking defendants.
          Separately, in March of 2023, the $600,000 policy limits of Brandon Peterson’s
          underinsured motorist coverage were tendered. Accordingly, by March of this year
          we had resolved both the third-party trucking case and the UIM claim for 100% of
          the available insurance coverage.

          In July of 2023, the Petersons, for the first time, disputed our entitlement to a fee for
          recovery of UIM insurance benefits. There was no dispute concerning the settlement
          with the third-party trucking company raised at that time. After we advised the
          clients of our position that we were entitled, under the terms of our fee agreement,
          to a fee on the recovery of the UIM proceeds, in August or September, the Petersons
          then also disputed our entitlement to the full contingent fee of 37.5% of the net
          amount of the third-party recovery from the trucking defendants, as provided in the
          Contingent Fee Agreement. On August 20, 2023, Sheila Peterson sent an email to us,
          abruptly discharging our firm as counsel. The following day, new counsel for Sheila
          Peterson entered their appearance and submitted an Affidavit from Ms. Peterson in
          which she contended, for the first time, that she had not authorized a settlement



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           with the trucking defendants. Sheila Peterson also now apparently disputes receipt
           of our letter to her and Brook Peterson of March 10, 2023 confirming that they had
           authorized us to settle the case, even though it was sent by email and first-class
           mail.

           The issue of whether the case has been settled with the Defendants and/or whether
           our firm had authority from the plaintiff to settle the case is now before the
           Honorable Christy Criswell Wiegand of the United States District Court for the
           Western District of Pennsylvania, Civil Action 2:23-CV-00136-CCW. Presently before
           the Court is our Petition for Approval of the Settlement, which was filed before we
           became aware that Ms. Peterson was disputing our authority to settle the case.
           Judge Weigand has ordered us to provide our entire case file to new counsel for
           plaintiff, which we expect will be accomplished in the next week. We await further
           instructions from Judge Weigand as to how the matter will proceed thereafter.

           We believe the evidence supports our position that Sheila Peterson and her husband
           Brook Peterson expressly authorized us to settle the third-party claim for the policy
           limit of $2 million. We further believe that the contingent fee agreement providing
           for a 37.5% net fee was and is valid. However, because plaintiff is now contending
           that authority to settle was not given, and is suggesting at least the possibility of a
           “professional malpractice action” in the future (see Plaintiff’s Motion for Extension
           of Time and Other Relief filed on September 7, 2023), we are providing this notice of
           a potential claim in the event that the Court determines that the settlement was not
           authorized by our former client(s).

    SUMMARY OF COVERAGE

    The Policy provides a $5,000,000 maximum Limit of Liability per Claim and a $5,000,000
    maximum aggregate Limit of Liability for all Claims subject to a $50,000 Retention per
    Claim.

    Insuring Agreement I. of the Policy provides in pertinent part that Allied World:

           … will pay on behalf of an Insured, all amounts in excess of the Retention shown in
           the Declarations, that an Insured becomes legally obligated to pay as Damages and
           Claim Expenses because of a Claim first made during the Policy Period or any
           applicable Extended Reporting Period and reported in accordance with the terms of
           this Policy, for a Wrongful Act.

           It is a condition precedent to coverage under this Policy that any Wrongful Act
           upon which a Claim is based occurred:

           1.     during the Policy Period; or




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           2.     on or after the Retroactive Date and prior to the Policy Period, provided
                  that all of the following three conditions are met:

                  (a)    the Insured did not notify any prior insurer of such Wrongful Act or
                         Related Act or Omission;

                  (b)     prior to the date listed in Item 8. of the Declarations, no Insured had
                          any basis: (1) to believe that any Insured had breached a professional
                          duty; or (2) to foresee that any fact, circumstance, situation,
                          transaction, event or Wrongful Act might reasonably be expected to
                          be the basis of a Claim against any Insured; and (c) there is no policy
                          that provides insurance to the Insured for such liability or Claim.
           The Insurer shall have the right and duty to defend any Claim seeking Damages
           that are covered by this Policy and made against an Insured even if any of the
           allegations of the Claim are groundless, false or fraudulent.

    Policy Section III.C. defines Claim to mean:

           1. any written notice or demand for monetary relief or Legal Services;

           2. any civil proceeding in a court of law;

           3. any administrative proceeding, other than a Disciplinary Proceeding; or

           4. a request to toll or waive a statute of limitations;

           made to or against any Insured seeking to hold such Insured responsible for any
           Wrongful Act.

           A Claim does not include criminal proceedings of any type, or any proceeding that
           seeks injunctive, declaratory, equitable or non-pecuniary relief or remedies of any
           type.

           A Claim will be deemed to have been first made when an Insured receives written
           notice of the Claim.

    Pursuant to Policy Section III.JJ., a Wrongful Act means, in pertinent part, “a Legal
    Services Wrongful Act”. Pursuant to Policy Section III.Q., Legal Services Wrongful Act
    means “an actual or alleged act, error or omission by an Insured, solely in the performance
    of or failure to perform Legal Services.”

    Legal Services, as per Policy Section III.P., includes those services performed on behalf of
    the Named Insured for others by an Insured as a licensed lawyer in good standing.




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    Policy Section III.N. defines Insured to mean:

           1.     the Named Insured;

           1.     any Predecessor Firm;

           3.     any lawyer or professional corporation listed in the Application, on the day
                  the Policy Period incepts until such time as the lawyer or professional
                  corporation ceases to be a member of the Named Insured subject to
                  paragraph 5. below, but only in the performance of or failure to perform
                  Legal Services on behalf of the Named Insured;

           4.     any lawyer or professional corporation who becomes a partner, officer,
                  director, stockholder or shareholder or employee of the Named Insured
                  during the Policy Period until such time as the lawyer or professional
                  corporation ceases to be a member of the Named Insured subject to
                  paragraph 5. below, but only in the performance of or failure to perform
                  Legal Services on behalf of the Named Insured;

           5.     any lawyer or professional corporation who is a former partner, officer,
                  director, stockholder or shareholder or employee of the Named Insured or
                  Predecessor Firm but only in the performance of or failure to perform Legal
                  Services on behalf of the Named Insured or Predecessor Firm;

           6.     any person or entity who is designated by the Named Insured as counsel or
                  of counsel in the Application, but only in the performance of or failure to
                  perform Legal Services on behalf of the Named Insured;

           7.      any other person who is employed or retained by the Named Insured as a
                  legal secretary, paralegal, contract attorney or other legal office staff
                  member, but only in the performance of or failure to perform Legal Services
                  on behalf of the Named Insured and also only within the scope of such
                  employment or retention agreement; and

           8.     the estate, heirs, executors, administrators, assigns and legal representatives
                  of any Insured in the event of such Insured’s death, incapacity, insolvency
                  or bankruptcy, but only to the extent that such Insured would otherwise be
                  provided coverage under this Policy.

    Based on the foregoing, it does not appear as though a Claim has been made at this time.
    As such, Allied World will treat this matter as a Notice of a Potential Claim that may give
    rise to a Claim as per Policy Section V.E.3, which provides:

           If, during the Policy Period, the Insured first becomes aware of a Wrongful Act
           which may reasonably be expected to be the basis of a Claim against an Insured,



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           and the Insured, as soon as practicable, but in no event later than the termination of
           the Policy Period, gives the Insurer written notice of the Wrongful Act including a
           description of the Wrongful Act, allegations anticipated, and the reasons for
           anticipating such a Claim, with full particulars as to dates, persons and entities
           involved, then the Insurer will treat any subsequently resulting Claim as if it had
           first been made during the Policy Period.

    Any such Claim that is subsequently made against an Insured in connection with the
    above referenced facts and promptly reported to us shall be deemed to have been made
    and reported at the time notice was given.

    Allied World’s position with respect to this matter is based on the information provided to
    date, and is subject to further evaluation as additional information becomes available.
    Allied World respectfully reserves all of its rights and defenses under the Policy and
    available at law, including the right to assert additional Policy terms and provisions which
    may become applicable as new information is learned.

    Please keep us informed of any and all developments in this matter. Please ensure that we
    receive a copy of all significant correspondences and pleadings, should there be any. If you
    have any questions regarding the foregoing, please do not hesitate to contact me.


    If you have any questions or concerns, please do not hesitate to contact me.

    Sincerely,




    Jaclyn Adorno, Esq.

    Cc:    charles.caruso@assuredpartners.com
           michelle.coleman@assuredpartners.com




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                                                           C. SMITH




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Louis Bove

From:                              Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Sent:                              Wednesday, January 17, 2024 8:53 AM
To:                                Colvin, David H.
Cc:                                Alan M. Feldman; Reich, Abraham C.
Subject:                           [EXT] RE: Confidential Settlement/Mediation Discussion - AW 2023024408


Good Morning David,

I do not have any objection to your response to the Peterson’s attorney. Your prior email referenced a statement that
the Petersons will be filing a malpractice claim regardless of the current settlement/fee dispute. I do agree that if the
mediation is not successful, we at least will have insight into what is coming. If mediation can be successful, the goal
would be a global resolution.

We should speak soon about this matter as well. Let me know if you have time this afternoon (after 1 pm) or
Thursday/Friday (my days are currently pretty open).

Thanks,
Jaclyn

Jaclyn L. Adorno, Esq.
AVP, North American Claims Group
Allied World Insurance Company
Allied World Specialty Insurance Company
1690 New Britain Avenue, Suite 101
Farmington, CT 06032
T: 860.284.1542
E: jaclyn.adorno@awac.com
W: www.awac.com


From: Colvin, David H. <DColvin@foxrothschild.com>
Sent: Tuesday, January 16, 2024 4:26 PM
To: Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Cc: Alan M. Feldman <afeldman@feldmanshepherd.com>; Reich, Abraham C. <AReich@foxrothschild.com>
Subject: Fwd: Confidential Settlement/Mediation Discussion

CAUTION: External Email




Jaclyn,

The Petersons' counsel have confirmed they have authority to go to mediation. Below is my proposed response - are
you ok with this? Need to keep this moving forward given the tight deadlines. Thanks.

Richard and George:

Thank you for your email. Provided that (i) you represent to us in writing that the Petersons are prepared to be
reasonable and mediate in good faith, and (ii) the Court's order referring the parties to mediation states that "at least

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one week before the mediation date the Petersons will make a written demand to Feldman Shepherd," you may advise
the court that Feldman Shepherd consents to the motion. Assuming the above is acceptable, please send us a draft of
the motion to review and approve. Thanks.

DC

David H. Colvin
Partner
Fox Rothschild LLP
2000 Market Street, 20th Floor
Philadelphia, PA 19103-3222
(215) 299-2139 - direct
(610) 716-6389 - mobile
(215) 299-2150 - fax
DColvin@FoxRothschild.com
www.foxrothschild.com




From: George Miller <george@goldleaflaw.com>
Sent: Tuesday, January 16, 2024 3:15:04 PM
To: Colvin, David H. <DColvin@foxrothschild.com>; Reich, Abraham C. <AReich@foxrothschild.com>
Cc: Richard Thiele <richard@goldleaflaw.com>
Subject: [EXT] Confidential Settlement/Mediation Discussion

Dear David and Abraham:

This will confirm our authority to move for mediation in this matter. Please advise if we
may prepare a joint or uncontested motion to continue the pending hearing and request
that the matter be referred to mediation. If you agree, we are happy to get a draft to you
for review by tomorrow morning.

Thanks,
George

                            George C. Miller Jr., Esquire
                            Attorney at Goldleaf Law, PLLC

                            O : 724-838-8600
                            M : 724-858-0452
                            E : george@goldleaflaw.com
                            W : www.goldleaflaw.com
                            A : 110 E Pittsburgh Street
                                Greensburg, PA 15601



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to this email and delete the original and reply emails. Thank you.

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mail in error, please immediately notify the sender by reply e-mail and permanently delete the original e-
mail (and any attachments hereto) and any copies or printouts thereof. Although this e-mail and any
attachments hereto are believed to be free of any virus or other defect that might affect any computer
system into which it is received and opened, it is the responsibility of the recipient to ensure that it is
virus free and no responsibility is accepted by Allied World Assurance Company Holdings, Ltd or its
subsidiaries or affiliates, either jointly or severally, for any loss or damage arising in any way from its use.




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Louis Bove

From:                            Colvin, David H.
Sent:                            Saturday, January 20, 2024 3:36 PM
To:                              Adorno, Jaclyn
Cc:                              Alan M. Feldman; Reich, Abraham C.
Subject:                         Peterson / Feldman Shepherd - AW Ref. No. 2023024408 (Privileged)



Privileged

Hi Jaclyn,

My apologies for writing to you on a Saturday. The Petersons just demanded $1,653,168.00 to resolve all
issues, including the alleged malpractice claim.

Per my call with the Petersons’ counsel, here is how they got to that number:

     1. They started by taking an amount roughly in the middle of $4,500,000 to $7,000,000, which is the
          range of economic loss that Feldman Shepherd identified in its mediation statement provided to the
          Court on March 14, 2023. The number they start with is $5,250,000.
     2.   They then subtracted the insurance proceeds recovered of $2,600,000.
     3.   They then subtracted Feldman Shepherd’s out of pocket costs of $70,000.
     4.   They then subtracted another $100,000 in expected costs to take the case to trial.
     5.   They then multiplied the result by 66.66%.
                 = Demand of $1,653,168.

The Petersons’ demand does not appear to take into account any risk of (i) losing the malpractice action, (ii)
the time and costs associated with litigating a malpractice action, (iii) the lack of Defendants’ assets -- beyond
the insurance coverage already tendered – in the underlying case, and (iv) collectability issues in the
underlying case.

Please let me know when you can discuss. Thanks.

DC

David H. Colvin
Partner
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Louis Bove

From:                            Colvin, David H.
Sent:                            Wednesday, January 24, 2024 7:20 PM
To:                              Adorno, Jaclyn
Cc:                              Alan M. Feldman
Subject:                         FW: Peterson (Rule 408 - Not Admissible)



Privileged

Jaclyn,

Per your email today and Alan Feldman’s authority, please see below. I will keep you posted.

Thank you.

DC

David H. Colvin
Partner
Fox Rothschild LLP
2000 Market Street, 20th Floor
Philadelphia, PA 19103-3222
(215) 299-2139 - direct
(610) 716-6389 - mobile
(215) 299-2150 - fax
DColvin@FoxRothschild.com
www.foxrothschild.com




From: Colvin, David H.
Sent: January 24, 2024 7:19 PM
To: Richard Thiele <richard@goldleaflaw.com>; George Miller <george@goldleaflaw.com>
Cc: Reich, Abraham C. <AReich@foxrothschild.com>
Subject: Peterson (Rule 408 - Not Admissible)

Rule 408
Not Admissible

Richard,


                                                          1
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I write to propose a resolution to the current dispute that would obviate any risk to the Petersons and
Feldman Shepherd of an adverse ruling by Judge Wiegand at the evidentiary hearing. Please consider it. The
proposal is as follows:

     1. Plaintiff Sheila Peterson will withdraw her objection to the settlement of the civil case with the
        Defendants without waiver of her right to contend in a malpractice action that she did not authorize or
        consent to the settlement, along with whatever other allegations or claims she intends to raise in any
        such action.

     2. Feldman Shepherd would preserve and maintain all of its arguments that Sheila Peterson (and Brook
        Peterson) did, in fact, authorize the sending of the policy limits demand letter and the resulting
        settlement and/or ratified Feldman Shepherd’s authority by not objecting in a timely manner to the
        demand letter or the settlement, as well as all defenses to any claim for malpractice.

     3. Feldman Shepherd will receive a fee of 37.5% on the $2MM recovered from Defendants’ insurance
        carrier.

     4. Feldman Shepherd will agree to reduce its fee on the UIM recovery of $600,000 from 37.5% to 22.5%.

Please discuss this proposal with your clients and get back to me as soon as possible. Thank you.

DC

David H. Colvin
Partner
Fox Rothschild LLP
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Philadelphia, PA 19103-3222
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Louis Bove

From:                              Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Sent:                              Monday, January 29, 2024 11:02 AM
To:                                Colvin, David H.; Alan M. Feldman
Cc:                                Reich, Abraham C.; Cereijo, Kim
Subject:                           [EXT] RE: 408 Offer of Settlement; Expires 1/29/24 @ 11:00 a.m.


Dear Alan and David:

I’m writing to follow up on our telephone conversation this morning regarding this matter.

As explained during our call, at this juncture, Allied World is prepared to contribute $50,000 toward the proposed global
resolution of this dispute. In addition, Allied World will pay all reasonable and necessary defense costs that the Firm has
incurred in the defense of this matter, in excess of the Policy’s $50,000 Retention.

Allied World defers to the Firm and its counsel as to whether to move forward with this resolution. In the event that the
matter does not resolve, and the claimant proceeds with the pursuit of a legal malpractice claim, Allied World will
continue to provide the Firm with a defense, subject to a reservation of rights.

Please keep me posted as to the status of any further settlement discussions and any other material developments in
this matter. Allied World continues to reserve all rights under the Policy and applicable law.

Sincerely,
Jaclyn

Jaclyn L. Adorno, Esq.
AVP, North American Claims Group
Allied World Insurance Company
Allied World Specialty Insurance Company
1690 New Britain Avenue, Suite 101
Farmington, CT 06032
T: 860.284.1542
E: jaclyn.adorno@awac.com
W: www.awac.com


From: Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Sent: Monday, January 29, 2024 10:00 AM
To: Colvin, David H. <DColvin@foxrothschild.com>
Cc: Alan M. Feldman <afeldman@feldmanshepherd.com>; Reich, Abraham C. <AReich@foxrothschild.com>
Subject: RE: 408 Offer of Settlement; Expires 1/29/24 @ 11:00 a.m.

Good Morning,

I received your emails/VM this morning and have been actively working on this to try to meet this 11 am
deadline. Sending a teams invite for 10 am.

-Jaclyn

Jaclyn L. Adorno, Esq.
AVP, North American Claims Group
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Louis Bove

From:                                   Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Sent:                                   Monday, January 29, 2024 3:57 PM
To:                                     Alan M. Feldman
Cc:                                     areich@foxrothschild.com; DColvin@foxrothschild.com; Cereijo, Kim
Subject:                                RE: Peterson - Privileged



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   content is safe.


Dear Alan,

I refer you to Policy Section V.H., which provides in part, … No Insured shall, except at the Insured’s own cost, make any
payment, make any admission, admit liability, waive any rights, settle any Claim, assume any obligation or incur any
expense without the prior written consent of the Insurer.”

Please be advised that Allied World does not consent to a settlement on the terms proposed below, which would
allocate the “bulk of the settlement” amount towards the legal malpractice claim. As conveyed to you earlier today
during our call and via email, Allied World is prepared to contribute $50,000 toward the proposed global resolution of
this dispute.

Allied World reserves all rights under the Policy and applicable law.

Sincerely,
Jaclyn

Jaclyn L. Adorno, Esq.
AVP, North American Claims Group
Allied World Insurance Company
Allied World Specialty Insurance Company
1690 New Britain Avenue, Suite 101
Farmington, CT 06032
T: 860.284.1542
E: jaclyn.adorno@awac.com
W: www.awac.com


From: Alan M. Feldman <afeldman@feldmanshepherd.com>
Sent: Monday, January 29, 2024 2:58 PM
To: Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Cc: DColvin@foxrothschild.com; areich@foxrothschild.com
Subject: Peterson - Privileged

CAUTION: External Email

See the email below we have just received from counsel for the Petersons. They apportion the settlement amount
differently than I had, attributing almost all of it to the legal malpractice claim. Whether their allocation or mine (or
something in between) is correct, it is clear that most of the settlement amount is for resolving claims of legal
malpractice.

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I have not had any response to my email sent at 11:20 AM. Since then, we have had another unfavorable ruling from the
Court, and we are increasingly concerned that the Court’s decisions at the eviden ary hearing this week will eﬀec vely
ﬁnd us responsible for legal malprac ce. We have an opportunity to se le all claims against us for about $500K. As I
explained in my email earlier today, the fee reduc on por on of the claim is, at most, for $130K and perhaps much less.
The balance of at least $370K, and in the view of the Petersons virtually all of the se lement amount, is clearly and
unequivocally for asserted claims of legal malprac ce. Allied World’s oﬀer to contribute only $50K to resolve the legal
malprac ce claims is unreasonable and inconsistent with your obliga ons to my ﬁrm under the insurance contract.

Your refusal to cover all or even most of the legal malprac ce claims against us puts my ﬁrm in a diﬃcult posi on.
Because of our concern about the outcome of the hearing scheduled for this Thursday and Friday, and Allied World’s
refusal to par cipate with a fair contribu on to the proposed se lement, please be advised of our inten on to go
forward with a se lement of all claims for the amount of $500K, which will ini ally be funded by my ﬁrm. The
se lement agreement will reﬂect a fair and equitable alloca on of this amount between our modest fee reduc on and
the bulk of the se lement, which is plainly for resolu on of the legal malprac ce claims. We will therea er seek
reimbursement from Allied World of the full amount of our payment to resolve the legal malprac ce claims.

I am available to discuss. Keep in mind the Peterson’s oﬀer to se le expires at 4 PM today and we will proceed as
outlined above absent further communica on from you.


                                      Alan M. Feldman
                                      Co-Managing Shareholder
                                      afeldman@feldmanshepherd.com
                                      1845 Walnut Street - 21st Floor
                                      Philadelphia, Pennsylvania 19103
                                      www.feldmanshepherd.com
                                      P. 215.567.8300 F. Direct 215-599-1291


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From: Colvin, David H. <DColvin@foxrothschild.com>
Sent: Monday, January 29, 2024 2:40 PM
To: Alan M. Feldman <afeldman@feldmanshepherd.com>
Subject: FW: More Time

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   content is safe.




David H. Colvin
Partner
Fox Rothschild LLP
2000 Market Street, 20th Floor
Philadelphia, PA 19103-3222
(215) 299-2139 - direct
(610) 716-6389 - mobile


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(215) 299-2150 - fax
DColvin@FoxRothschild.com
www.foxrothschild.com




From: Richard Thiele <richard@goldleaflaw.com>
Sent: January 29, 2024 2:29 PM
To: Colvin, David H. <DColvin@foxrothschild.com>
Cc: George Miller <george@goldleaflaw.com>
Subject: [EXT] Re: More Time


Dear David,



Your client has asserted a claim for a 37.5% attorney’s fee in the amount of $950,712.70. In compromise
of her present and future clams, Mrs. Peterson has offered to pay Feldman Shepherd the sum of
$450,152.69.



The remainder sum of Feldman Shepherd’s claimed fee shall be payable to Mrs. Peterson. The amount is
$500,560.01, together with the remainder of all sums due pursuant to settlement of the underlying
action. To be clear, we feel the sum attributable to Feldman Shepherd’s malpractice far exceeds the
$500,560.01 payable to Mrs. Peterson, however, in the context of this confidential settlement effort, we
believe the following allocation applies:



Sum attributable to fee dispute: $20,873.35 (37.5% - 33.33% = 4.17% of $500,560.01)

Sum attributable to malpractice claim: $479,686.66 ($500,560.01 - $20,873.35).



Please call with any questions.




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                         Richard C. Thiele, Esquire
                         Attorney at Goldleaf Law, PLLC
                                                     From: Richard Thiele <richard@goldleaflaw.com>
                         O : 724-838-8600
                                                     Sent: Monday, January 29, 2024 11:03 AM
                         M : 724-972-2892            To: Colvin, David H. <DColvin@foxrothschild.com>
                         E : richard@goldleaflaw.com Cc: George Miller <george@goldleaflaw.com>; Reich,
                         W : www.goldleaflaw.com     Abraham C. <AReich@foxrothschild.com>
                         A : 110 E Pittsburgh Street Subject: Re: More Time
                             Greensburg, PA 15601
                                                          David,

                                                     In our discussions, you have indicated that Feldman
                                                     Shepherd has approved of the sum demanded for
                                                     settlement, you have further indicated, and i take
                                                     your email to mean, that you need additional time to
obtain final approval from the carrier. Based on that understanding, please get back to us at or before
4:00PM.

Thank you.

Richard

                         Richard C. Thiele, Esquire
                         Attorney at Goldleaf Law, PLLC
                                                     From: Colvin, David H. <DColvin@foxrothschild.com>
                         O : 724-838-8600
                                                     Sent: Monday, January 29, 2024 9:45 AM
                         M : 724-972-2892            To: Richard Thiele <richard@goldleaflaw.com>
                         E : richard@goldleaflaw.com Cc: George Miller <george@goldleaflaw.com>; Reich,
                         W : www.goldleaflaw.com     Abraham C. <AReich@foxrothschild.com>
                         A : 110 E Pittsburgh Street Subject: More Time
                             Greensburg, PA 15601



                                                          Richard,

                                                          I'm doing everything I can to get this done but I need more
                                                          time. Can you please extend the deadline to later today? 4
pm?


David H. Colvin

Partner
Fox Rothschild LLP
2000 Market Street, 20th Floor
Philadelphia, PA 19103-3222
(215) 299-2139 - direct
(610) 716-6389 - mobile



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subsidiaries or affiliates, either jointly or severally, for any loss or damage arising in any way from its use.




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From: Alan M. Feldman
Sent: Monday, February 5, 2024 4:06 PM
To: Adorno, Jaclyn <Jaclyn.Adorno@awac.com>
Cc: DColvin@foxrothschild.com; areich@foxrothschild.com
Subject: Peterson - Privileged

This email will summarize our video mee ng on February 1, 2024, concerning the legal malprac ce claims that have
been asserted against our ﬁrm by our former clients, Sheila and Brook Peterson. AWAC’s coverage counsel, Kim Cereijo
of the Wiley ﬁrm, also par cipated in the mee ng at your invita on.

The mee ng was requested by me to try to understand AWAC’s posi on with respect to coverage of the malprac ce
claims. As you know, our counsel, Dave Colvin, had wri en to you on January 27th and 28th to recommend a se lement
based upon our concerns about the eviden ary hearing that was supposed to take place on February 1 st and 2nd. In an
earlier video mee ng with you, Kim, Dave Colvin and me, you had said we were free to enter into the proposed
se lement for $500K, but that AWAC was only prepared to contribute $50K, and any balance would have to come from
us.

Over the succeeding days, I asked repeatedly why AWAC was only willing to contribute $50K, but never received an
answer. At our video mee ng on February 1st, I raised that and other issues with you and Kim. I will not recount every
word that was spoken, but here is what occurred:

       I asked if AWAC was now objec ng to our entering into a se lement. While Kim referred to AWAC’s objec on to
        what she termed a “unilateral” se lement, she seemed to have forgo en that AWAC had already told us, over
        and over, that they had no objec on to our entering into a se lement if we paid for it.
       I asked if there now was an objec on to the proposed se lement, what the nature of the objec on was. There
        was no answer.
       I asked if AWAC had an objec on to the amount of the se lement. There was no answer.
       I asked if AWAC was denying coverage for this claim. There was no answer, although Kim repeated AWAC’s
        willingness to contribute $50K.
       I asked how the $50K was arrived at and why AWAC was not providing coverage for the balance of this legal
        malprac ce se lement. There was no answer.
       Kim (who did all the talking for your side, although she did not say very much) referred several mes to the “fee
        dispute” we had with the Petersons. I asked how she concluded that this was a “fee dispute” rather than a
        reduc on in our fee based upon claims of legal malprac ce. No one answered.
       I asked why AWAC was not covering this claim (a er acknowledging that a claim had been made against us for
        legal malprac ce). Again, no answer.
       I renewed our earlier proposal to equally share responsibility for the $500K (i.e., $250K from AWAC and $250K
        from us.) Kim said we would receive AWAC’s response in wri ng, but otherwise just repeated the oﬀer to
        contribute $50K.
       I asked Kim if she wanted to see the se lement agreement we were nego a ng with the Petersons since AWAC
        apparently no longer had any interest in covering and nego a ng this claim. A er a pause, Kim said I could send
        it to both of you if I wished to. Since I do not want to burden you with paperwork that you have no interest in,
        please be advised that I stand ready, upon request, to send you the current form of the se lement agreement
        for your input and sugges ons.
       You agreed to con nue to pay our counsel’s legal fees at least up to our $50K deduc ble, but only at a much-
        reduced rate that you had never discussed with Dave Colvin or me.

I have not received the wri en statement of AWAC’s posi on that was promised in our video mee ng. While I s ll hope
you will explain your decisions instead of refusing to even discuss with us your inconsistent and prejudicial handling of
this claim, AWAC’s unexplained determina on not to cover more than $50K of this claim leaves us no choice but to
protect ourselves from our insurance carrier’s bad faith conduct.

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I am available to speak with you, Kim or any other AWAC representa ve if you have any ques ons.



                                      Alan M. Feldman
                                      Co-Managing Shareholder
                                      afeldman@feldmanshepherd.com
                                      1845 Walnut Street - 21st Floor
                                      Philadelphia, Pennsylvania 19103
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                                      P. 215.567.8300 F. Direct 215-599-1291


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                                                                                               Jaclyn L. Adorno, Esq.
                                                                                               AVP, North American Claims
                                                                                               Group

                                                                                               T 860-284-1524
                                                                                               E jaclyn.adorno@awac.com
January 31, 2024

VIA EMAIL

Alan M. Feldman
Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig LLP
1845 Walnut Street, 21st Floor
Philadelphia, PA 19103
afeldman@feldmanshepherd.com

Re:      Insured:       Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig LLP
         Insurer:       Allied World Insurance Company
         Policy No.:    0310-8385
         Policy Period: 07/24/2023 to 07/24/2024
         Limit:         $5,000,000
         Retention:     $50,000
         Subject:       Sheila and Brook Peterson (the “Peterson Matter”)
         Ref. No.:      2023024408

Dear Attorney Feldman:

As a member of the Allied World group of insurance companies, the Insurer named in the caption
above will be referred to as “Allied World” in this letter. Please note that the words that appear in
bold print within this correspondence are defined in the Policy. The purpose of this letter is to
address certain issues in connection with the defense of the Peterson Matter under LPL Assure
Lawyers Professional Liability policy number 0310-8385 issued to Feldman Shepherd Wohlgelernter
Tanner Weinstock & Dodig LLP (the “Firm”) for the Policy Period of July 24, 2023 to July 24, 2024
(the “Policy”). The Policy has a Limit of Liability of $5,000,000 per Claim and in the aggregate, subject
to a Retention of $50,000 per Claim. This letter does not address any issues pertaining to the Firm’s
unilateral settlement of the Peterson Matter. Allied World continues to reserve all rights in that
regard.

As previously explained, Allied World has accepted the Peterson Matter as a Claim, and agreed to
provide a defense to the Firm, subject to a complete reservation of rights. The Policy provides that,
“[t]he Insurer shall have the right and duty to defend any Claim seeking Damages covered under this
Policy. The Insurer shall select defense counsel for the investigation, defense or settlement of any
Claim and the Insurer shall pay all reasonable Claim Expenses arising from the Claim. However, the
Insurer shall not select defense counsel without the consent of the Named Insured, such consent not
to be unreasonably withheld.” Policy, Section V.C.1, as modified by Endorsement No. 2. The Policy
obligates the Insured to “cooperate with the Insurer, including providing all information requested
ALLIED WORLD INSURANCE COMPANY                  1690 New Britain Avenue   T. 860 284 1300   E. info@awac.com
                                                Suite 101                 F. 860 284 1301   www.awac.com
                                                Farmington, CT 06032
                                                U.S.A.



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     by the Insurer regarding any Claim, and cooperating fully with the Insurer in the defense,
     investigation and settlement of any Claim.” Id., Section V.H. In addition, “[n]o Insured shall, except at
     the Insured’s own cost, make any payment, make any admission, admit liability, waive any rights,
     settle any Claim, assume any obligation or incur any expense without the prior written consent of the
     Insurer.” Id.

     The Firm first notified Allied World of the Peterson Matter on October 3, 2023, describing the matter
     as a “potential claim.” At that point, the Firm had already retained David Colvin and Abraham Reich
     at Fox Rothschild LLP to represent the Firm’s interests in this matter. Based on the information
     presented, Allied World concluded that no Claim had been made at that time, however, Allied World
     agreed that, to the extent that the matter evolved into a Claim under the Policy, Allied World would
     agree to apply toward the Policy’s Retention reasonable fees and costs that the Firm incurred with
     Fox Rothschild from the date of notice onward. I further indicated that Allied World would need to
     reach an agreement with respect to Fox Rothschild’s hourly rates and requested that the Firm
     provide rate information.

     In January 2024, based on developments in connection with the Peterson Matter, Allied World agreed
     to treat this matter as a Claim under the Policy. Allied World again requested rate information for
     Fox Rothschild and also requested copies of all invoices so that Allied World could track satisfaction
     of the Policy’s Retention.

     Allied World first received information regarding Fox Rothschild’s rates on January 26, 2024. Allied
     World now understands that Fox Rothschild’s proposed rates for this matter are $860-$1,160 for
     partners, $450 for associates, and $325 for paralegals. Respectfully, Allied World does not view these
     rates as reasonable. These rates vastly exceed what Allied World typically pays counsel for the
     defense of similar cases in the relevant jurisdiction. At the high end, typical defense counsel rates in
     the jurisdiction are $260 for partners, $230 for associates, and $115 and paralegals. The proposed
     rates are also materially greater than the rates that Fox Rothschild itself charged for similar cases
     when acting as panel counsel representing Allied World’s insureds in other matters.

     Although Allied World cannot consent to Fox Rothschild’s retention at the proposed rates, Allied
     World will agree to pay the rates that Fox Rothschild previously charged as panel counsel for Allied
     World when defending similar matters – i.e., $350 for partners, $215 for associates, and $110 for
     paralegals (the “Agreed Rates”). Relatedly, Allied World will agree to credit toward the satisfaction
     of the Policy’s Retention fees that the Firm paid to Fox Rothschild in the Peterson Matter beginning
     on October 3, 2023 - the date of notice to Allied World - but only at the Agreed Rates.

     To date, Allied World has received only one defense invoice from Fox Rothschild in this matter, which
     pertains to its work in December 2023. Please promptly provide copies of all defense invoices for
     Allied World’s review so that it may determine satisfaction of the Policy’s Retention and calculate any
     amounts owed in excess of the Retention.




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     Allied World’s position with respect to this matter is based on the information provided to date and
     is subject to further evaluation as additional information becomes available. Allied World
     respectfully reserves all of its rights and defenses under the Policy and available at law, including the
     right to assert additional Policy terms and provisions. If you have any questions or concerns, please
     do not hesitate to contact me.

     Sincerely,




     Jaclyn L. Adorno, Esq.

     cc:     charles.caruso@assuredpartners.com
             michelle.coleman@assuredpartners.com




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                                                  Filed and Attested by the
                                                 Office of Judicial Records
                                                     10 MAY 2024 11:20 am
                                                           C. SMITH




               EXHIBIT
                  X




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February 14, 2024

VIA E-MAIL ONLY

Louis A. Bove, Esq.
Bodell Bove LLC
1845 Walnut Street
Suite 1100
Philadelphia, PA 19103
lbove@bodellbove.com

Re:     Insured:      Feldman Shepherd Wohlgelernter Tanner Weinstock & Dodig LLP
        Insurer:      Allied World Insurance Company
        Policy No.:   0310-8385
        Subject:      Sheila and Brook Peterson
        Claim No.:    2023024408

Dear Mr. Bove:

This firm represents Allied World Insurance Company (“Allied World”) in connection with the
above-referenced matter. Please direct all future correspondence to our attention. We are
sending this letter to you based on our understanding that you represent Feldman Shepherd
Wohlgelernter Tanner Weinstock & Dodig LLP (the “Firm”) in connection with issues of insurance
coverage for this matter. To the extent that this understanding is incorrect, please notify us
promptly so that we may forward this letter to the appropriate party.

Allied World issued LPL Assure Lawyers Professional Liability Policy number 0310-8385 to the
Firm for the Policy Period of July 24, 2023 to July 24, 2024 (the “Policy”). As potentially
applicable here, the Policy has a Limit of Liability of $5,000,000 per Claim and in the aggregate,
subject to a Retention of $50,000 per Claim.

Please note that, other than headings, terms in bold are defined under the Policy.

In October 2023, the Firm provided notice to Allied World of what it described as a “potential
claim” by Sheila and Brook Peterson (the “Petersons”), and Allied World agreed to accept the
matter as a notice of circumstances under the Policy. In January 2024, based on further
developments and at the Firm’s request, Allied World agreed to treat the matter as a Claim under
the Policy. Allied World confirmed that it would provide the Firm with a defense for the Claim,
subject to a reservation of rights.

Shortly thereafter, the Firm informed Allied World that it wished to settle its dispute with the
Petersons on an expedited basis. On January 29, 2024, the Firm presented proposed settlement
terms to Allied World and requested that Allied World consent to the settlement that same day.



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Allied World did not consent to the terms of the settlement as proposed. Allied World understands
that, notwithstanding Allied World’s lack of consent, the Firm settled with the Petersons on
January 29, 2024. The Firm is now demanding that Allied World reimburse the Firm in connection
with the settlement.

For the reasons discussed in detail below, Allied World has no obligation to pay any amounts in
connection with the settlement, which the Firm entered into unilaterally and which encompasses
terms that are not reasonable under any objective analysis of the circumstances presented. Allied
World also disputes the Firm’s allegations that Allied World has acted in bad faith, which are
refuted by the factual record.

We invite you to contact us to the extent that you have questions following your review of this
letter.

                                           BACKGROUND

The Firm represented the Petersons in connection with a wrongful death action against a trucking
company arising from the death of their son, Brandon Peterson (the “Wrongful Death Action”).
Brandon was killed when he was struck by a truck while standing on the side of the roadway
attending to his disabled vehicle. According to the Firm, when retaining the Firm, the Petersons
agreed to pay the Firm a contingent fee of 37.5% of the net amount of any third-party recovery,
which, according to the Firm, included both recovery from the trucking company and under
Brandon Peterson’s Uninsured/Underinsured Motorist (“UIM”) coverage.

Allied World understands that, in March 2023, the Firm made a demand on the trucking company
to settle the Wrongful Death Action for $2,000,000, which was the full limit of liability of the trucking
company’s insurance. The trucking company accepted the demand. According to the Firm, it
also secured for the Petersons $600,000 in UIM benefits under Brandon Peterson’s automobile
policy, for a total recovery of $2,600,000.

In July 2023, while in the process of finalizing the settlement, the Petersons disputed issues with
the Firm’s fee. As the Firm described in an October 3, 2023 letter to Allied World:

        In July of 2023, the Petersons, for the first time, disputed our entitlement to a fee
        for recovery of UIM insurance benefits. There was no dispute concerning the
        settlement with the third-party trucking company raised at that time. After we
        advised the clients of our position that we were entitled, under the terms of our fee
        agreement, to a fee on the recovery of the UIM proceeds, in August or September,
        the Petersons then also disputed our entitlement to the full contingent fee of 37.5%
        of the net amount of the third-party recovery from the trucking defendants, as
        provided in the Contingent Fee Agreement.

October 3, 2023 Letter at 1.

The Petersons terminated the Firm’s representation of them on August 20, 2023. On August 22,
2023, the Firm moved for approval of the settlement with the trucking company (the “Motion to
Enforce”). The Firm confirmed in the Motion to Enforce that there was a fee dispute with the
Petersons and that the Petersons had discharged the Firm. Motion to Enforce at 4-5.




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In response to the Motion to Enforce, the Petersons, through new counsel, submitted an Affidavit
from Ms. Peterson in which she testified that she had not authorized a settlement with the trucking
company. The Petersons opposed the Motion to Enforce but simultaneously argued that, if the
Motion to Enforce were granted, the Firm should not be entitled to its claimed contingency fee.

The Firm first notified Allied World of circumstances regarding its representation of the Petersons
by letter of October 3, 2023, describing the matter as a “potential claim.” In describing the dispute,
the Firm stated:

       We believe the evidence supports our position that Sheila Peterson and her
       husband Brook Peterson expressly authorized us to settle the third-party claim for
       the policy limit of $2 million. We further believe that the contingent fee agreement
       providing for a 37.5% net fee was and is valid. However, because plaintiff is now
       contending that authority to settle was not given, and is suggesting at least the
       possibility of a “professional malpractice action” in the future (see Plaintiff’s Motion
       for Extension of Time and Other Relief filed on September 7, 2023), we are
       providing this notice of a potential claim in the event that the Court determines that
       the settlement was not authorized by our former client(s).

Id.

By letter dated December 21, 2023, Allied World advised that, based on the information the Firm
had provided, no Claim had been made as defined under the Policy, but Allied World would
accept the matter as notice of circumstances that might lead to a Claim pursuant to Policy Section
V.E.3. Allied World also agreed that, to the extent the matter evolved into a Claim under the
Policy, Allied World would apply toward the Policy’s Retention reasonable fees and costs that the
Firm incurred in the matter from the date of notice onward.

Notwithstanding that the Firm itself had characterized the matter as a “potential claim” in its
October 3, 2023 letter to Allied World, the Firm contested Allied World’s position that no Claim
had been made, and it provided various documents in support of its position. In January 2024,
based on the additional information provided, and in light of the Firm’s request, Allied World
agreed to treat the matter as a Claim under the Policy. Allied World confirmed its position to the
Firm during a telephone call on January 16, 2024. During that call, Allied World specifically
advised the Firm that the Policy does not afford coverage for fee disputes and confirmed that any
reduction of the Firm’s fees would not qualify as covered Damages under the Policy.

The court in the Wrongful Death Action set an evidentiary hearing on the Motion to Enforce for
February 1, 2024. On January 16, 2024, the Firm filed a motion in limine seeking to limit the
scope of testimony at the evidentiary hearing to the following issues: “(i) did Feldman Shepherd
receive Mrs. Peterson’s express authority to send the policy limits demand letter to defendants;
(ii) did Mrs. Peterson ratify Feldman Shepherd’s authority to send the policy limits demand letter
by not objecting to the letter or the settlement in a timely manner; and (iii) if the answer to (i) or
(ii) is yes, are the Petersons contractually obligated to pay a fee equal to 37.5% of the net
settlement proceeds to Feldman Shepherd pursuant to the signed contingent fee agreement.”
The Firm argued that “[t]he evidentiary hearing is not an opportunity for Mrs. Peterson to test-
drive an alleged malpractice claim against Feldman Shepherd or to introduce evidence that
Feldman Shepherd did not adhere to the applicable standard of care.” The Firm made a second
motion in limine to exclude testimony by the Petersons’ expert on similar grounds.



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On or around January 20, 2024, the Petersons demanded $1,653,168 in connection with a global
resolution of all issues, which the Firm rejected.

On January 24, 2024, the Firm proposed a settlement structure to the Petersons whereby the
Firm would accept a reduced contingent fee on the UIM recovery, the Petersons would drop their
objections to the Motion to Enforce, and the Petersons would preserve a potential malpractice
claim against the Firm. The Petersons rejected the Firm’s offer on January 26, 2024. Later that
evening (a Friday), the Petersons offered to pay the Firm a reduced fee of $164,766.14 in
exchange for a global resolution, including with respect to any future potential legal malpractice
claims.

On January 27, 2024 (Saturday), the Firm’s defense counsel emailed Allied World regarding the
Petersons’ offer, confirming that it was not acceptable to the Firm. Counsel explained that the
Firm was contemplating a response as follows:

       Feldman Shepherd would like to make a one-time, take it or leave it, offer to pay
       $500,000 to the Petersons to resolve the settlement dispute and the malpractice
       claim. Feldman Shepherd would like Allied to contribute 50% of the settlement
       payment to resolve the malpractice claim. In other words, Feldman Shepherd
       would agree to compromise its fee by $250,000 and Allied would agree to
       compromise the malpractice claim for $250,000.

That night, the Petersons extended a new settlement proposal. In an email to Allied World on
January 28, 2024 (Sunday), defense counsel described the offer as follows:

       Feldman Shepherd’s fee for settling the case for $2.6MM is $950,712. The
       Petersons are offering to compromise the settlement dispute AND the malpractice
       action by offering to pay Feldman Shepherd a total of $450,152.69. The
       Petersons’ proposal results in a reduction of Feldman Shepherd’s fee by
       approximately $500,000 in exchange for settling the current dispute AND the future
       malpractice action.

The email further stated:

       In order to reach a resolution that is fair and reasonable, Feldman Shepherd is
       proposing to allocate $250,000 of the $500,000 reduction as a compromise of the
       [fee] dispute (for which Allied has said there is no coverage) and to allocate
       $250,000 of the $500,000 as a compromise of the malpractice action (for which
       there is coverage).

The Petersons’ offer purported to expire on Monday, January 29, 2024 at 11am, and the Firm
requested a response from Allied World as soon as possible. Defense counsel for the Firm sent
follow-up emails and left a voicemail over the course of the weekend. The Firm also had its
insurance broker contact Allied World on the morning of January 29, 2024. Allied World received
these communications at the opening of business on Monday morning, January 29, 2024, and
immediately reached out to the Firm and its defense counsel to schedule a call for 10:00 a.m.




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During the telephone conference on January 29, 2024, Allied World advised that it was not a in a
position to agree to contribute $250,000 to settle a “future” malpractice action but that it would
contribute $50,000 toward a global resolution of the Peterson Matter based on a “cost of defense”
consideration regarding any future legal malpractice claim. Allied World noted that it deferred to
the Firm and its counsel as to whether to proceed with the contemplated settlement and further
stated that, if the Firm wanted to settle the uncovered fee dispute and carve out from the release
a future malpractice claim, Allied World did not object and it would continue to provide the Firm
with a vigorous defense in any such future claim.

Meanwhile, the Firm requested more time to consider the Petersons’ offer. The Petersons agreed
to keep their offer open until 4pm that same day, stating that “In our discussions, [the Firm’s
defense counsel has] indicated that Feldman Shepherd has approved of the sum demanded for
settlement, [the Firm’s defense counsel has] further indicated, and i take your email to mean, that
[the Firm’s defense counsel] need[s] additional time to obtain final approval from the carrier.”

Later that day, the Firm forwarded Allied World an email from the Petersons stating that, with
respect to the $500,000 compromise amount, they now apportioned $20,873.35 to the fee dispute
and $479,686.66 towards the “malpractice claim.” The Firm forwarded the Petersons’ email to
Allied World and asserted that it was “evidence” that the “bulk of the settlement” was attributable
to the legal malpractice claim.

Allied World responded shortly thereafter, reiterating that its consent to settle was required under
the Policy and that, based on the available information, it could not consent to the settlement.

On January 30, 2024, the Firm’s defense counsel advised Allied World that the Firm had settled
the Peterson Matter. The Firm then emailed Allied World asking if it might be possible to “work
this out.” Allied World agreed to discuss the matter further, and a call was set for January 31,
2024. Shortly before the call, the Firm emailed Allied World accusing it of acting in bad faith. After
receiving that email, Allied World asked to reschedule the call so that a representative of this firm
could attend.

Allied World and the undersigned participated in call with Alan Feldman, of the Firm, on February
1, 2024. At the outset of the call, Allied World’s representatives explained that it would be
providing to the Firm a detailed written explanation of its position and that it did not believe that it
would be productive for the parties to argue about the issues during the call. Allied World
conveyed that it had invited the call to find out if the Firm had a proposal for how the parties could
“work this out” as suggested in the Firm’s email of January 30, 2024. It became clear early on
during the call that the Firm did not intend to propose a resolution but was intent on arguing about
Allied World’s position.

Mr. Feldman’s statements during the call grossly mischaracterized facts and events. Inexplicably,
Mr. Feldman asserted that there had never been any fee dispute with the Petersons. Rather, he
claimed that the dispute had always been about the Firm’s malpractice. Moreover, despite the
Firm’s prior characterizations of the malpractice allegations as baseless and unsupported by any
evidence, Mr. Feldman stated that the Firm had significant exposure in connection with a
malpractice claim by the Petersons.

Mr. Feldman also argued that Allied World had “denied coverage” for the malpractice claim, and
that it had refused to explain why. Mr. Feldman further stated that the Firm had consulted with



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coverage counsel and had been informed that it would win “100%” of the time in litigation against
Allied World. Following these and similar comments, Allied World concluded that further
discussion would not be productive. Allied World ultimately ended the call, reiterating that it would
be providing a detailed written statement conveying its position and asking Mr. Feldman to confirm
if coverage counsel was formally retained so that this firm could communicate with the Firm’s
counsel directly.

On February 5, 2024, the Firm followed up via email making more unsupported allegations and
mischaracterizing the discussion during the parties’ February 1, 2024 telephone call. In response,
Allied World disputed the Firm’s recitation of events and again reiterated that it would be providing
a written explanation of its position.

                                     COVERAGE ANALYSIS

   I.      The Policy does not afford coverage for fee disputes.

Subject to its terms and conditions, the Policy’s Insuring Agreement provides:

        The Insurer will pay on behalf of an Insured, all amounts in excess of the
        Retention shown in the Declarations, that an Insured becomes legally obligated
        to pay as Damages and Claim Expenses because of a Claim first made during
        the Policy Period or any applicable Extended Reporting Period and reported in
        accordance with the terms of this Policy, for a Wrongful Act.

        It is a condition precedent to coverage under this Policy that any Wrongful Act
        upon which a Claim is based occurred:

        1. during the Policy Period; or

        2. on or after the Retroactive Date and prior to the Policy Period, provided that
        all of the following three conditions are met:

               (a) the Insured did not notify any prior insurer of such Wrongful Act or
               Related Act or Omission;

               (b) prior to the date listed in Item 8. of the Declarations, no Insured had
               any basis: (1) to believe that any Insured had breached a professional
               duty; or (2) to foresee that any fact, circumstance, situation, transaction,
               event or Wrongful Act might reasonably be expected to be the basis of a
               Claim against any Insured; and

               (c) there is no policy that provides insurance to the Insured for such liability
               or Claim.

        The Insurer shall have the right and duty to defend any Claim seeking Damages
        that are covered by this Policy and made against an Insured even if any of the
        allegations of the Claim are groundless, false or fraudulent.




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Policy, Section I. In the event of a covered Claim, the Policy provides that Allied World has the
right and duty to defend. See id., Section V.C.1, as modified by Endorsement No. 2.

Based on Ms. Peterson’s accusations that the Firm did not obtain her consent to settle with the
trucking company in the Wrongful Death Action, Allied World agreed to treat the matter as a Claim
alleging Wrongful Acts by the Named Insured, and agreed to provide a defense to the Firm,
subject to a complete reservation of rights.

As Allied World has informed the Firm, the Policy does not afford coverage for fee disputes. The
Policy provides specified coverage for Damages and Claim Expenses because of Claims
alleging a Legal Services Wrongful Act. See id., Sections I, III.J. A Legal Services Wrongful
Act is defined as an “actual or alleged act, error or omission by an Insured, solely in the
performance of or failure to perform Legal Services,” which, in turn, means “those services
performed on behalf of the Named Insured for others by an Insured, whether or not performed
for a fee or other consideration, as a licensed lawyer in good standing… but only where such
services were performed in the ordinary course of an Insured’s activities as a lawyer.” Id.,
Sections III.Q, III.P (emphasis added). Fee setting and billing are administrative functions
inherent in any profession and are not solely in the Firm’s performance of Legal Services.

Additionally, the Policy defines Damages, in part, as “the monetary portion of any judgment,
award or settlement, including pre- and post- judgment interest.” Id., Section III.G, as modified by
Endorsement No. 4. However, the Policy provides that Damages do not include, among other
things: “the return or restitution of legal fees, costs and expenses, no matter how claimed’ or
“amounts deemed uninsurable by law.” Id. Thus, Allied World has no obligation to pay amounts
in connection with any return or reduction of the Firm’s fees, “no matter how claimed.”

Notwithstanding Mr. Feldman’s assertion during the February 1, 2024 call that this matter was
never about a fee dispute, the record clearly reflects the opposite. Indeed, in its original notice
letter to Allied World, the Firm described the matter as primarily a fee dispute. The Firm stated
that “because plaintiff is now contending that authority to settle was not given, and is suggesting
at least the possibility of a ‘professional malpractice action’ in the future … we are providing this
notice of a potential claim in the event that the Court determines that the settlement was not
authorized by our former client(s).” October 3, 2023 Letter at 2 (emphasis added). The Firm’s
Motion to Enforce likewise did not mention any issues beyond the fee dispute.

In fact, the record reflects that, until the point of the Firm’s unilateral settlement with the Petersons,
the parties’ dispute centered on the Firm’s entitlement to fees. More specifically, at issue was
whether the Firm was entitled to a 37.5% contingency fee calculated based on the total recovery
from the trucking company and the UIM coverage. The Petersons argued that the Firm was not
entitled to collect any contingency fee from the UIM coverage recovery and further contended that
they had never agreed to a 37.5% fee recovery on the settlement with the trucking company.

Pursuant to its express terms, the Policy does not cover fee disputes involving the return or
reduction of the Firm’s fees “no matter how claimed.”




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   II.      The Firm unilaterally settled with the Petersons on unreasonable terms and
            without Allied World’s consent, and the Policy therefore does not provide
            coverage.

The Policy affords Allied World with both the right and the duty to defend, which includes making
decisions regarding settlement. To that end, the Policy provides that “[n]o Insured shall, except
at the Insured’s own cost, make any payment, make any admission, admit liability, waive any
rights, settle any Claim, assume any obligation or incur any expense without the prior written
consent of the Insurer.” Id., Section V.H. By email of January 29, 2024, Allied World reminded
the Firm of this Policy provision and informed the Firm that it did not consent to the Firm’s
proposed settlement with the Petersons which would allocate the “bulk” of the settlement to
resolving allegations of legal malpractice and de minimus amounts to the fee dispute. Allied World
understands that the Firm proceeded with the settlement notwithstanding Allied World’s lack of
consent.

“Pennsylvania law requires that a settlement entered without the insurers’ knowledge or consent
must be reasonable and in good faith and non-collusive.” Dietz & Watson, Inc. v. Liberty Mut. Ins.
Co., No. CIV.A. 14-4082, 2015 WL 356949, at *9 (E.D. Pa. Jan. 28, 2015). Where, as here, an
insurance company defends an insured subject to a reservation of rights, the policy requires the
insurer’s consent to any settlement, and the insured settles without consent, the insurer can only
be held liable if the settlement is fair and reasonable in light of the totality of the circumstances.
Babcock & Wilcox Co. v. Am. Nuclear Insurers, 131 A.3d 445, 463 (Pa. 2015).

As an initial matter, the circumstances surrounding the Firm’s demand on Allied World to settle
were not reasonable. Allied World learned of the Firm’s proposed settlement on the morning of
January 29, 2024 and the Firm demanded a response by 4pm that same day.

That issue aside, the Firm’s self-serving allocation of the bulk of the settlement to resolving a
future legal malpractice claim was neither fair nor reasonable under the circumstances. As
explained above, at the time of the settlement, the Firm’s dispute with the Petersons centered on
the Firm’s entitlement to fees. Although the Petersons had made generalized statements that
they had not consented to the settlement with the trucking company and they had opposed the
Motion to Enforce on that basis, the legal malpractice allegations were undeveloped, as were the
Firm’s defenses to such allegations. Notably, prior to pressuring Allied World to settle on January
29, 2024, the Firm itself had taken the position that there was no validity to any such allegations.
The information that the Firm provided to Allied World supports this position, as it reflects that the
Petersons did not voice objections to the settlement at the time of the agreement and only later
asserted a lack of consent after the fee dispute with the Firm could not be resolved. In addition,
the record reflects that the Firm had a potentially strong causation defense to any legal
malpractice claim centering on the Petersons’ alleged failure to consent to the settlement. More
specifically, the record reflects that the Firm’s investigation had revealed that the trucking
company did not have collectible assets beyond its insurance coverage. As such, the Petersons
could not have collected more than the trucking company’s policy limits even if the matter had not
settled and the Petersons had gone on to secure a larger judgment against the company at trial.
The legal malpractice claim may also have been rendered moot if the court concluded that the
Petersons had not consented to the settlement and had refused to enforce the settlement on that
basis.




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In short, under these circumstances, it was neither fair nor reasonable for the Firm (or the
Petersons) to allocate the “bulk” of the settlement to a future legal malpractice claim that was
undeveloped and which appeared to be highly defensible. Putting aside the allocation, the
amount of the settlement purportedly attributed to the malpractice claim was excessive and
unreasonable on its face, considering not only the Firm’s position that it in fact had the Petersons’
consent to the settlement but also that the settlement required payment of the trucking company’s
full insurance limit of liability. Correspondingly, it was entirely reasonable for Allied World to refuse
to consent to a settlement on these terms, and Allied World was well within its rights under the
Policy to forego settling and to proceed with defending any future legal malpractice claim.

Allied World further points out that the purported allocation of the settlement is unreasonable on
its face because it provides for the Firm’s recovery of all but approximately $20,000 of its $950,000
contingent fee under circumstances where (1) the Firm was fired before the contingent event (i.e.,
the settlement) was confirmed; and (2) the Firm asserts that it faced significant exposure for
committing legal malpractice in connection with the representation. Put differently, as the Firm
describes the facts, the amount of its fee is grossly excessive and unreasonable.

Pennsylvania law supports Allied World’s position. Where, as here, the client terminates the
attorney-client relationship before the happening of the contingency (i.e., a recovery), the
terminated firm is not entitled to the previously-agreed-upon contingent fee percentage. See In
re Thorpe, 755 F. App'x 177, 180 (3d Cir. 2018) (“Because the contingency did not occur during
his representation of the Thorpes, Mirarchi is not entitled to collect the fee.”); Kelly v. Vennare,
No. 2069 WDA 2014, 2016 WL 1062819, at *1 (Pa. Super. Ct. Mar. 16, 2016) (“Precedent
establishes that an attorney cannot recovery on a contractual basis when discharged by a client”).
Rather, “a discharged contingency fee lawyer is entitled to just compensation and this is had
through quantum meruit.” Angino & Rovner v. Jeffrey R. Lessin & Assocs., 131 A.3d 502, 509
(Pa. Super. 2016). “Determining the appropriate attorney's fee award on a quantum meruit
basis… requires an exacting analysis, in which courts consider various factors, including: the
amount of work performed; the character of the services rendered; the difficulty of the problems
involved; the importance of the litigation; the amount of money or value of the property in question;
the degree of responsibility incurred; ... the results he was able to obtain; the ability of the client
to pay a reasonable fee for the services rendered; and, very importantly, the amount of money or
the value of the property in question.” Kang Haggerty LLC v. Hayes, No. CV 17-1295, 2023 WL
1862288, at *6 (E.D. Pa. Feb. 9, 2023) (internal citations and quotations omitted).

It follows that, where a law firm is accused of malpractice, and the law firm has asserted that it
faces significant exposure on such claim, it would not be “just” for the law firm to receive all but
$20,000 of its nearly $1,000,000 contingent fee. Yet that is exactly the result contemplated by
the Firm’s settlement with the Petersons. Under any objective analysis, the settlement is not
reasonable.




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                                        CONCLUSION

For the reasons discussed above, Allied World has no obligation to pay any amounts in
connection with the Firm’s unilateral settlement with the Petersons, which was unreasonable on
its face and which the Firm entered into without Allied World’s consent, as is required under the
Policy. Allied World reserves all rights under the Policy, applicable law, and in equity.

If you have any questions or concerns, please do not hesitate to contact us.

Sincerely,




Kimberly Cereijo
Joseph W. Gross

cc:    Jaclyn Adorno / Allied World (jaclyn.adorno@awac.com)




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                                  COMMERCE PROGRAM ADDENDUM
                                       TO CIVIL COVER SHEET

     This case is subject to the Commerce Program because it is not an arbitration matter and it falls within one or
more of the following types (check all applicable):


         1.       Actions relating to the internal affairs or governance, dissolution or liquidation, rights or obligations
                  between or among owners (shareholders, partners, members), or liability or indemnity of managers
                  (officers, directors, managers, trustees, or members or partners functioning as managers) of business
                  corporations, partnerships, limited partnerships, limited liability companies or partnerships,
                  professional associations, business trusts, joint ventures or other business enterprises, including but
                  not limited to any actions involving interpretation of the rights or obligations under the organic law
                  (e.g., Pa. Business Corporation Law), articles of incorporation, by-laws or agreements governing such
                  enterprises;


         2.       Disputes between or among two or more business enterprises relating to transactions, business
                  relationships or contracts between or among the business enterprises. Examples of such transactions,
                  relationships and contracts include:

                                a.     Uniform Commercial Code transactions;
                                b.     Purchases or sales of business or the assets of businesses;
                                c.     Sales of goods or services by or to business enterprises;
                                d.     Non-consumer bank or brokerage accounts, including loan, deposit cash
                                       management and investment accounts;

                                e.     Surety bonds;
                                f.     Purchases or sales or leases of, or security interests in, commercial, real
                                       or personal property; and

                                g.     Franchisor/franchisee relationships.

         3.       Actions relating to trade secret or non-compete agreements;

         4.       "Business torts," such as claims of unfair competition, or interference with contractual relations or
                  prospective contractual relations;

         5.       Actions relating to intellectual property disputes;

         6.       Actions relating to securities, or relating to or arising under the Pennsylvania Securities Act;

         7.       Derivative actions and class actions based on claims otherwise falling within these ten types, such as
                  shareholder class actions, but not including consumer class actions, personal injury class actions, and
                  products liability class actions;

         8.       Actions relating to corporate trust affairs;


  X      9.       Declaratory judgment actions brought by insurers, and coverage dispute and bad faith claims brought
                  by insureds, where the dispute arises from a business or commercial insurance policy, such as a
                  Comprehensive General Liability policy;

         10.      Third-party indemnification claims against insurance companies where the subject insurance policy
                  is a business or commercial policy and where the underlying dispute would otherwise be subject to
                  the Commerce Program, not including claims where the underlying dispute is principally a personal
                  injury claim.

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